       EXHIBIT B (contd.)

Copy of All Filings with State Court
                                                                                                8/30/2018 10:49 AM
                                                                                                                  Velva L. Price
                                                                                                                 District Clerk
                                                                                                                 Travis County
                                                NO. D-1-GN-r8-001835                                          D-1-GN-18-001835
                                                                                                                    Terri Juarez
NEIL HESLIN,                                                      $                 IN   THE DISTRICT COURT OF
                                                                  $
            Plaintffi                                             $
                                                                  $
V                                                                 $                 TRAVIS COLTNTY, TEXAS
                                                                  $
ALEX E. JONES, INFOV/ARS, LLC,                                    $
FREE SPEECH SYSTEMS, LLC, ANd                                     $
OWEN SHROYER,                                                     $
                                                                  $
            Defendants                                            $                 26 1't   JUDICIAL DISTRICT

               DEFENDANTS'SECOND SUPPLEMENT TO MOTION TO DISMISS
                   UNDER THE TEXAS C      PARTICIPATION ACT

            COME NOV/, Defendants Alex E. Jones, Infowars, l,LC, Free Speech Systems, LLC,

and Owen Shroyer (collectively, the "Defendants"), and hereby file this, their                                        Second

Supplement to Motion to Dismiss Under the Texas Citizens' Participation Act and in support

thereof would respectfully show this Honorable Court as follows:

            In Plaintiff s Response he attaches the declaration of Fred Zipp on which he relies                          and

argues on page 13 of his Response that                 it was only after the June video when he began to be

exposed to ridicule from "conspiracy fanatics." This is not true.

             lr/rr. Zipp states that after the June video,            Mr. Heslin was accused of being a fireman who

was killed in the        glll    attack He says this without any evidence and for good reason. Mr. Heslin

had been the subject of this claim long before the June video, since at least October of 2015.1

             Zipp also says that it was after fhe June video that Mr. Heslin was accused of being one

of the "illuminate." However this is again false as the very screenshot thatZipp uses to illustrate

this was published immediately after the Kelly interview and before the June video.2




I
    See   Affidavit of David   Jones and the attached Exhibit 1
2
    See   Affîdavit of David   Jones and the attached Exhibit 2



Defendants' Second Supplement to Motion to Dismiss under the Texas Çitizens Participation Act          -   Page   1
            Unfortunately, long before Defendants said anything about Mr. Heslin, he was already

the subject of conspiracy theory ridicule. Some said they even posted such claims on his own

Facebook page.3

            These and many other claims were posted and circulated by many people and on many

websites long before Mr. Heslin was ever mentioned by any of the Defendants. Thus, it is more

likely than not that whatever damages and injuries he has suffered from claims of conspiracy

theorists were caused long before the actions complained of in this suit. Mr. Heslin has not

submitted clear and convincing evidence that his damages and injuries were proximately caused

by anything that Defendants are accused of doing.

                                                         PRAYER

            V/HEREFORE PREMISES CONSIDERED, Defendants respectfully requests that this

honorable Court grant Defendants' Motion to Dismiss under the Texas Citizens Participation Act

in its entirety and the Court grant them such other and further relief              as the   Court deems equitable,

just and proper.

                                                           RESPECTFULLY SUBMITTED,

                                                           GLAST, PHILLPS & MIJRRAY, P.C.


                                                                  /s/   tuLarÊ C.
                                                           Mark C. Enoch
                                                           State Bar No. 06630360
                                                           14801 Quorum f)rive, Suite 500
                                                           Dallas, Texas 7 5254-1449
                                                           Telephone: 972-419-8366
                                                            Facsimile:       972-419-8329
                                                           flú3r:c@vsazss.nq!


                                                            ATTORNEY FOR DEFENDANTS


3
    See   Affidavit of David   Jones and the attached Exhibit 3



Defendants' Second Supplement to Motion to Dismiss under the Texas Citizens Participation Act       -   Page 2
                                    CERTIFICATE OF SERVICE

        I hereby certify that on this 30th day of August, 2018, the foregoing was sent via
efiletxcourts.gov's e-service system to the following:


Mark Bankston
Kaster l,ynch Farrar & Ball
1010 Lamar, Suite 1600
Houston, TX77002
713-22r-8300
mark@fbtrial-.com




                                                                 /s/ Mark C. Enoch
                                                           Mark C. Enoch




Defendants' Second Supplement to Motion to Dismiss under the Texas Citizens Participation Act   -   Page 3
                                       NCI, n-r-ÇN-18-tû1835

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,{LËX  Ë. JONËS, E-¡ËOW¡TRS" I,LC],                  l$

ITRIiH SPEËCI{ $YSl"[iMS. Lt"C], and                 $
üWHN SHROYËR".                                       $
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         ÐeJendunt.r                                 $              26 I        JUDICIAI, þIÍiTRICT

                                 AFFII}A.VTT T'F T}-{VTD JCINßS

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COUN'TY OIT'TRAVIS               $



         BEFORfr       Mll, the undersigned notary public, ûn thi$ day personally                appeared


David Jone$, knolqnn to me to he the person whc¡se ilame is subsoribeel below, and who on

his aath. depased and stnted as fbllorys:

          1.        fuly name is Ðavid.lones.    I   anr over the age of    ?l    years, hav$ never heen

ûonvicted of a {'elnny or crime involving ¡nörsl tury:itude, anr etf souncl mind, and om fully

*ompelenl to make this affìdavit"         I   have persr:nal kneiwledge of ths façts herEin stated

 ancl they are true and correct.

          ?,        In preparing f'ar this affîdavit" I revielved internet         r.vebsites, articles and

 vidcçs publishcd cn thç internet anrl frrund several that arc relet'*nt to the issues in fhis

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       3.      "I'his videu a¡ld thtse articleslscreenshots were downle¡nded and/or printed


direstly frorn the identi{.red intsmst u'ehsite. Á,ll ol'the attached Exhihits are true               and

correct capies of the online articles and videos.

       4.      ¡{tT¿¡cheil   tc tl}is aflìdavit   markecl ns   Exhibit   I is is fl true and conect cr;lpy
of' ¿r scrsen shot of' a web page article located at the url                                     address:

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        5.     Attachtd hc'reto marked as lixhibit 2 is a true and coffest copy of â sûreen

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       6.      Attached hereto rnarkEcl as [:xhibit 3 is a thwmb drivs containing a true and

rûïrect copy ol" a                          video pÛstecl ût                   the url           address:

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                                       NO. D-1-GN-18-001835                                       D-1-GN-18-001835
                                                                                                   Raeana Vasquez
NEIL HES[,IN,                                        $                    IN THE DISTRICT COURT OF
                                                     $
       Plaintffi                                     $
                                                     $
v                                                    $                    TRAVIS COLJ-NTY, TEXAS
                                                     $
ALEX E. JONES, INFOWARS, LLC,                        $
FREE SPEECH SYSTEMS, LLC, ANd                        $
OWEN SHROYER,                                        $
       Defendants                                    $                    261't JUDICIAL DISTRICT



    SUPPLEMENTAL AFFIDAVIT IN SUPPORT OF DEFENDANTS' FIRST AMENDED
      RESPONSE TO PLAINTIFF'S MOTION FOR SANCTIONS AND MOTION FOR
       EXPEDITED DISCOVERY AND DEFENDANTS' MOTION FOR SANCTIONS

        COME NOW, Defendants Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC,
                                    o'Defendantso'), and hereby file a supplemental affidavit in
and Owen Shroyer (collectively, the

support of their First Amended Response to Plaintiff s Motion for Sanctions and Motion for

Expedited Discovery and Defendants' Motion for Sanctions.
                                                                                                  ooA."
        Defendants hereby file the Affidavit of Kevin Brown attached hereto as Exhibit

                                                  RESPECTFULLY SUBMITTED,

                                                  GLAST, PHILLPS & MURRAY, P.C.


                                                          /s/ tuÍarÊ c.
                                                  Mark C, Enoch
                                                  State Bar No. 06630360
                                                  14801 Quorum Drive, Suite 500
                                                  Dallas, Texas   7   5254-1449
                                                  Telephone: 972-419-8366
                                                  Facsimile:       972-419-8329
                                                  fly63lc@:'grizon.net


                                                  ATTORNEY FOR DEFENDANTS




Supplemental Affidavit in Support of Defendants'First Amended Response to Plaintiffs Motion for Sanctions and
Motion for Expedited Discovery and Defendants' Motion for Sanctions - Page 1
                                    CERTIFI             OF'SERVICE

       I  hereby certify that on this 30th day of August, 2018, the foregoing was sent via
efiletxcourts.govos e-service system to the following:


Mark Bankston
Kaster Lynch Farrar & Ball
1010 Lamar, Suite 1600
Houston, TX77002
7t3-22t-8300
r,nark@fbtrial.corU




                                                                 /s/ Mark C. Enoch
                                                           Mark C. Enoch




Supplemental Affidavit in Support of Defendants' First Amended Response to Plaintiff s Motion for Sanctions and
Motion for Expedited Discovery and Defendants' Motion for Sanctions -Page 2
                                               NO. D-1-cN-18-001835

NEII. HESLIN,                                               $                  IN THE DISTRICT COURT OF
                                                            $
          Plaintffi                                         $
                                                            $
V                                                           $                   TRAVIS COUNTY, TEXAS
                                                            $
ALEX E. JONES, INFOWARS, LLC,                               $
FREE SPEECII SYSTEMS,LL.C, ANd                              $
OWEN SHROYER,                                               $
    Defendants                                              $                   261't JUDICIAL DISTRICT



                                         AX'FIDAVIT OF KEVIN BROWN

STATE OF TEXAS                                  $
                                                $
COUNTY OF TRAVIS                                $




          I, Kevin Brown, do hereby declare under penalty of perjury that the following                        is

true and correct.

           l.        My name is Kevin Brown. I arn fully competent and capable in all respects

to make this Affidavit.              I   am an attorney duly licensed to practice law in the State of

'Iexas, and practice in Travis County, Texas, with the firm of Waller Lansden Dortch &

Davis, LLP. Along with Eric Taube,                  I   am counsel of record for Defendants in the case

styled ooMarcel Fontaine v, Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC and

Kit Daniels, " Cause No. D-l-GN-18-001605,                      4591h   District Court, Travis County, Texas.

          2.         Mark Bankston and his flrrm represent the Plaintiff in the Fontaine matter

and I have met and spoken with Mr. Bankston and we have jointly attended a hearing in




03 1595-62102/4833-2213-3   105. 1



AFFIDAVIT OF KEVIN BROWN                                                                                Page   I
                                                        2   EXHIBIT.
                                                        â
                                                                It^
                                                        2
this matter on August 2,2018 for our clients' Motion to Dismiss Pursuant to the Texas

C   itizens Participation Act.

           3.        Mark Enoch has never been counsel of record or otherwise for our clients in

the Fontaine matter. To my knowledge, he did not attend the hearing on August 2 as he

is not involved in that proceeding.

           4.        I have been told that Mark Bankston has sent an email to Mr. Enoch on
August 12 in which Mr. Bankston requested confirmation as to whether or not                     Free

Speech Systems,            LLC,     Infowars, LLC and Alex Jones had deleted social media content,

I have     seen that email and note that       it mentions allegedly deleted material relating to the

Parkland School shooting and Mr. Fontaine,

           5.        I have searched     our firm's email records - including those of Mr. Taube's

and my own - and we do not show that we ever received any written communication from

Mr. Bankston requesting information about whether or not or clients had deleted any

social media content relating to the Parkland School shooting or Mr. Fontaine.

          6.         i   do not know why Mr. Bankston would have contacted Mr. Enoch about

our clients' document retention relating to Mr. Fontaine or Parkland,

          7.         I   also know that Mr. Bankston did not leave any voicemails for me or Mr.

Taube or our assistants requesting information regarding this claimed deletion of social

media material.

           L         The first time     I learned of any claims of Mr. Bankston of social media
deletion was when I later saw a copy of his email to Mr. Enoch.


03 159s-62102/4833"2213-3105,   1



AFFIDAVIT OF KEVIN BROWN                                                                       Page2
Further afftant sayeth not,



                                                HØ
                                              Kevin Brown



          SWORN TO and STJBSCRIBED before me by Kevin Brown on August 30, 2018



                                                          ú^
                          Comm.   07"2r2U21    Nçrtary Public in and for
                                                   the State of Texas

My Commission Expires:

       -1.)6.)ø>[




03 159s-62102/4833-2213:310s.1



AFFIDAVIT OF KEVIN BROWN                                                   Page 3
                                                                              9/11/2018 3:12 PM
                                                                                               Velva L. Price
                                                                                              District Clerk
                                                                                              Travis County
                                        NO. D-1-GN-18-001835                               D-1-GN-18-001835
                                                                                            Raeana Vasquez


NEIL HESLIN,                                   §                IN THE DISTRICT COURT OF
                                               §
       Plaintiff,                              §
                                               §
v.                                             §                TRAVIS COUNTY, TEXAS
                                               §
ALEX E. JONES, INFOWARS, LLC,                  §
FREE SPEECH SYSTEMS, LLC, and                  §
OWEN SHROYER,                                  §
                                               §
       Defendants                              §                261st JUDICIAL DISTRICT

                     DEFENDANTS’ REQUEST FOR RULINGS
             ON TIMELY FILED OBJECTIONS TO PLAINTIFF’S EVIDENCE

       COME NOW, Defendants Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC,

and Owen Shroyer (collectively, the “Defendants”), and hereby file this their Request for

Rulings on Timely Filed Objections to Plaintiff’s Evidence and in support of same would

respectfully show this Honorable Court as follows:

       Defendants filed their Motion to Dismiss Under the Texas Citizens Participation Act

(Act) in this case on July 13, 2018. Notice of the hearing date of August 30, 2018 on that motion

was sent to Plaintiffs on July 19, 2018. Plaintiffs filed their Response to Defendants’ Motion to

Dismiss under the Texas Citizens Participation Act and attached affidavits on August 27, 2018.

Prior to the date of the hearing, on August 29, Defendants served and filed their Objections to

Plaintiff’s Evidence Submitted in Response to Defendants’ Motion to Dismiss Under the Texas

Participation Act.

       On August 17, 2018 Plaintiff filed his Motion for Sanctions and Motion for Expedited

Discovery.    On August 23, 2018 Defendants filed their Response to these motions and

Defendants amended this Response on August 27, 2018 and the Court set those motions and

responses for hearing at the same time as it was to hear the Defendants’ TCPA motion. For all
these motions, the Court allotted each side approximately one hour to present argument and

evidence.

           Though prepared to argue at the hearing Defendants’ objections to Plaintiff’s evidence

submitted prior to the hearing, at the hearing on August 30 it was clear that there would be

insufficient time to argue the objections. Under §27.005 of the Act, this Court must rule on

Defendants’ motion no later than the thirtieth (30th) day after that hearing.

           Defendants formally request that this Honorable Court make its rulings on all of their

objections prior to its ruling on the motion.1

                                                       PRAYER

           Wherefore, Defendants pray that this Honorable Court make and enter its rulings on

Defendants’ Objections to Plaintiff’s Evidence Submitted in Response to Defendants’ Motion to

Dismiss before it rules on Defendants’ Motion to Dismiss under the Texas Citizens Participation

Act, that the Court sustain those objections and strike the related evidence and that the Court

make such other rulings as it deems just and equitable.




1
    A proposed order is attached hereto for the convenience of the Court.


DEFENDANTS’ REQUEST FOR RULINGS ON TIMELY FILED OBJECTIONS TO PLAINTIFF’S EVIDENCE       – Page 2
                                           RESPECTFULLY SUBMITTED,

                                           GLAST, PHILLIPS & MURRAY, P.C.


                                                  /s/ Mark C. Enoch
                                           Mark C. Enoch
                                           State Bar No. 06630360

                                           14801 Quorum Drive, Suite 500
                                           Dallas, Texas 75254-1449
                                           Telephone:     972-419-8366
                                           Facsimile:     972-419-8329
                                           fly63rc@verizon.net

                                           ATTORNEYS FOR DEFENDANTS



                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been served
upon the parties listed below via efile.txcourts.gov’s e-service system on September 11, 2018:

Mark Bankston
Kyle Farrar
Kaster, Lynch, Farrar & Ball, LLP.
1010 Lamar, Suite 1600
Houston, Texas 77002


                                                        /s/ Mark C. Enoch
                                                  Mark C. Enoch




DEFENDANTS’ REQUEST FOR RULINGS ON TIMELY FILED OBJECTIONS TO PLAINTIFF’S EVIDENCE   – Page 3
                                    NO. D-1-GN-18-001835

NEIL HESLIN,                                    §               IN THE DISTRICT COURT OF
                                                §
       Plaintiff,                               §
                                                §
v.                                              §               TRAVIS COUNTY, TEXAS
                                                §
ALEX E. JONES, INFOWARS, LLC,                   §
FREE SPEECH SYSTEMS, LLC, and                   §
OWEN SHROYER,                                   §
                                                §
       Defendants                               §               261st JUDICIAL DISTRICT

                 ORDER ON DEFENDANTS’ OBJECTIONS TO
 PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO DEFENDANTS’ MOTION
       TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT

       CAME ON TO BE HEARD on the 30th day of August, 2018, Defendants Alex E. Jones,

Infowars, LLC, Free Speech Systems, LLC, and Owen Shroyer’s Motion to Dismiss Under the

Texas Citizens Participation Act. The Court having considered the Defendants’ Objections to

Plaintiff’s Evidence submitted in response to Defendants’ Motion and having heard the argument

of counsel, the Court finds as to the Defendants’ Objections to Plaintiff’s Evidence submitted in

Response to Defendants’ Motion as follows:

                    1.    OBJECTIONS TO AFFIDAVIT OF FRED ZIPP

Zipp Affidavit Exhibits A-1        Objections                      Court’s Ruling on
to A-23                                                            Objection
     Exhibits A-1 to A-23          Hearsay Tex. R. Evid. R.        Overruled    Sustained
                                   802
     Exhibits A-1 to A-23          Not relevant – Tex. R.          Overruled       Sustained
                                   Evid. R. 402
     Exhibits A-1 to A-23          Prejudice outweighs             Overruled       Sustained
                                   relevance – Tex. R. Evid.
                                   403
     Exhibits A-1 to A-23          Violates best evidence rule     Overruled       Sustained
                                   Tex. R. Evid. R. 1002, 1003
     Exhibits A-1 to A-23          No authentication – Tex. R.     Overruled       Sustained
                                   Evid. R. 901
                              Objections to Specific Statements

       Affidavit              Objections                   Court’s Ruling on
Statements                                                 Objection
Page 1, First paragraph       Lack of                      Overruled    Sustained
under Scope of Review         foundation/predicate
“whether assertions could
be responsibly published”     Not Relevant                 Overruled    Sustained

                              Vague and Ambiguous          Overruled    Sustained

                              Hearsay                      Overruled    Sustained

8 bullet points under Scope   Lack of                      Overruled      Sustained
of Review                     foundation/predicate

                              Lack of identification of    Overruled      Sustained
                              materials reviewed

                              Hearsay                      Overruled      Sustained

Page 2, First paragraph       Not relevant                 Overruled      Sustained
under Background
Knowledge of InfoWars,        Hearsay                      Overruled      Sustained
second sentence
Second paragraph under        Vague and Ambiguous          Overruled      Sustained
Background Knowledge of
InfoWars “significant         Conclusory                   Overruled      Sustained
amount of time”

Second paragraph under        Conclusory                   Overruled      Sustained
Background Knowledge of
Infowars, second sentence     Lack of
                              foundation/predicate         Overruled      Sustained

                              Not relevant                 Overruled      Sustained


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 2
Third paragraph under        Conclusory                   Overruled     Sustained
Background Knowledge of
Infowars, second sentence    Violates TRE 404             Overruled     Sustained

                             Lack of                      Overruled     Sustained
                             foundation/predicate
Fourth paragraph under       Not relevant                 Overruled     Sustained
Background Knowledge of
Infowars,                    Hearsay                      Overruled     Sustained

                             Lack of
                             predicate/foundation         Overruled     Sustained

                             Conclusory                   Overruled     Sustained

Page 3, First paragraph      Conclusory                   Overruled     Sustained
under number 1, first
sentence                     Lack of
                             foundation/predicate         Overruled     Sustained

                             Not relevant                 Overruled     Sustained

                             Lack of personal             Overruled     Sustained
                             knowledge

                             Statements of what was in    Overruled     Sustained
                             June 26 and July 20 videos
                             are hearsay, lack a
                             foundation and predicate
                             and are not complete

                             Best evidence rule           Overruled     Sustained

Page 3, middle three         Violates TRE 1002 – best     Overruled     Sustained
paragraphs                   evidence rule

                             Hearsay                      Overruled     Sustained
Last paragraph under         Statements of what was in    Overruled     Sustained
number 1 at bottom of page   June 26 and July 20 videos
3 and continuing to page 4   are hearsay, lack a
beginning “My review…”       foundation and predicate
                             and are not complete


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 3
Paragraph beginning “My      Speculation                    Overruled   Sustained
review…”
                             Lack of personal               Overruled   Sustained
                             knowledge

                             Lack of                        Overruled   Sustained
                             foundation/predicate

                             Conclusory                     Overruled   Sustained

                             Not relevant                   Overruled   Sustained

                             Violates TRE 403               Overruled   Sustained
Same paragraph, fourth and   Not relevant                   Overruled   Sustained
fifth sentence
                             Not probative                  Overruled   Sustained

                             Improper opinion of expert     Overruled   Sustained
                             on question of law

                             Lack of personal               Overruled   Sustained
                             knowledge

                             Lack of                        Overruled   Sustained
                             foundation/predicate

                             Speculation                    Overruled   Sustained
Under “Opinions”             Not relevant                   Overruled   Sustained
Page 4, first paragraph
                             violates TRE 404               Overruled   Sustained

                             violates best evidence rule    Overruled   Sustained
                             conclusory

                             lack of foundation/predicate Overruled     Sustained

                             hearsay                        Overruled   Sustained

                             lack of personal knowledge     Overruled   Sustained

                             speculation as to state mind   Overruled   Sustained
                             and intent
p. 5, 1st paragraph          Not relevant                   Overruled   Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 4
                            violates TRE 404               Overruled    Sustained

                            violates best evidence rule    Overruled    Sustained

                            conclusory                     Overruled    Sustained

                            lack of foundation/predicate Overruled      Sustained

                            hearsay                        Overruled    Sustained

                            lack of personal knowledge     Overruled    Sustained

                            speculation as to state mind   Overruled    Sustained
                            and intent
p. 5, 2nd paragraph         Not relevant                   Overruled    Sustained

                            violates TRE 404               Overruled    Sustained

                            violates best evidence rule    Overruled    Sustained

                            conclusory                     Overruled    Sustained

                            lack of foundation/predicate Overruled      Sustained

                            hearsay                        Overruled    Sustained

                            lack of personal knowledge     Overruled    Sustained

                            speculation as to state mind   Overruled    Sustained
                            and intent
p. 6, 1st paragraph         Not relevant                   Overruled    Sustained

                            violates TRE 404               Overruled    Sustained

                            violates best evidence rule    Overruled    Sustained

                            conclusory                     Overruled    Sustained

                            lack of foundation/predicate Overruled      Sustained

                            hearsay                        Overruled    Sustained


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 5
                                lack of personal knowledge     Overruled   Sustained

                                speculation as to state mind
                                and intent
p. 6, 2nd paragraph             Not relevant                   Overruled   Sustained

                                violates TRE 404               Overruled   Sustained

                                violates best evidence rule    Overruled   Sustained

                                conclusory                     Overruled   Sustained

                                lack of foundation/predicate Overruled     Sustained

                                hearsay                        Overruled   Sustained

                                lack of personal knowledge     Overruled   Sustained

                                speculation as to state mind   Overruled   Sustained
                                and intent
p. 7, 1st paragraph             Not relevant                   Overruled   Sustained

                                violates TRE 404               Overruled   Sustained

                                violates best evidence rule    Overruled   Sustained

                                conclusory                     Overruled   Sustained

                                lack of foundation/predicate Overruled     Sustained

                                hearsay                        Overruled   Sustained

                                lack of personal knowledge     Overruled   Sustained

                                speculation as to state mind   Overruled   Sustained
                                and intent
p. 7, under A., 1st paragraph   Not relevant                   Overruled   Sustained

                                violates best evidence rule    Overruled   Sustained

                                conclusory                     Overruled   Sustained

                                lack of foundation/predicate Overruled     Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 6
                            hearsay                        Overruled    Sustained

                            lack of personal knowledge     Overruled    Sustained

                            speculation as to state mind   Overruled    Sustained
                            and intent
p. 7 second paragraph       Hearsay TRE 801                Overruled    Sustained
through penultimate
paragraph on p. 13          Violates best evidence rule    Overruled    Sustained
                            TRE 1002, 1003

                            Repeating videos needless      Overruled    Sustained
                            presentation of cumulative
                            evidence TRE 403

                            Not relevant TRE 402           Overruled    Sustained

                            No predicate of personal       Overruled    Sustained
                            knowledge TRE 602
p. 7, last paragraph, 1st   Outside scope of expert        Overruled    Sustained
sentence, “numerous false   specialty -- TRE 702
and irresponsible claims”
                            Invades province of the fact Overruled      Sustained
                            finder – TRE 702, GTE,
                            998 S.W. 2d 605, 620

                            Conclusory without bases –     Overruled    Sustained
                            TRE 703

                            Improper for opinion           Overruled    Sustained
                            witness just choosing sides
                            on the case outcome. See
                            Gutierrez v. State, No. 04-
                            03-00396-CR, 2005 Tex.
                            App. LEXIS 1430, at *7
                            (App.—San Antonio Feb.
                            23, 2005)

p. 7, 1st full paragraph,   Outside scope of expert        Overruled    Sustained
“false statements”          specialty -- TRE 702

                            Invades province of the fact Overruled      Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 7
                                finder – TRE 702, GTE,
                                998 S.W. 2d 605, 620

                                Conclusory without bases –    Overruled   Sustained
                                TRE 703

                                Improper for opinion          Overruled   Sustained
                                witness just choosing sides
                                on the case outcome. See
                                Gutierrez v. State, No. 04-
                                03-00396-CR, 2005 Tex.
                                App. LEXIS 1430, at *7
                                (App.—San Antonio Feb.
                                23, 2005)

p. 10, 2nd paragraph, 1st       Outside scope of expert       Overruled   Sustained
sentence “false claims”         specialty -- TRE 702

                                Invades province of the fact Overruled    Sustained
                                finder – TRE 702, GTE,
                                998 S.W. 2d 605, 620

                                Conclusory without bases –    Overruled   Sustained
                                TRE 703

                                Improper for opinion          Overruled   Sustained
                                witness just choosing sides
                                on the case outcome. See
                                Gutierrez v. State, No. 04-
                                03-00396-CR, 2005 Tex.
                                App. LEXIS 1430, at *7
                                (App.—San Antonio Feb.
                                23, 2005)

p. 10, last paragraph, “prior   Outside scope of expert       Overruled   Sustained
false claims”                   specialty -- TRE 702

                                Invades province of the fact Overruled    Sustained
                                finder – TRE 702, GTE,
                                998 S.W. 2d 605, 620

                                Conclusory without bases –    Overruled   Sustained
                                TRE 703

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 8
                             Improper for opinion          Overruled    Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

p. 11, last paragraph, 2nd   Not relevant TRE 402          Overruled    Sustained
sentence – “numerous false
claims . . . made over the   No predicate of personal      Overruled    Sustained
years”                       knowledge TRE 602

                             Outside scope of expert       Overruled    Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled     Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Violates best evidence rule   Overruled    Sustained
                             TRE 1002, 1003

                             Conclusory without bases –    Overruled    Sustained
                             TRE 703

                             Improper for opinion          Overruled    Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

p. 12, last paragraph –      Not relevant -- TRE 402       Overruled    Sustained
“false claims … chilling
finale”                      No predicate of personal      Overruled    Sustained
                             knowledge -- TRE 602

                             Outside scope of expert       Overruled    Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 9
                              specialty -- TRE 702

                              Invades province of the fact Overruled     Sustained
                              finder – TRE 702, GTE,
                              998 S.W. 2d 605, 620

                              Violates best evidence rule   Overruled    Sustained
                              -- TRE 1002, 1003

                              Conclusory without bases –    Overruled    Sustained
                              TRE 703

                              Improper for opinion          Overruled    Sustained
                              witness just choosing sides
                              on the case outcome. See
                              Gutierrez v. State, No. 04-
                              03-00396-CR, 2005 Tex.
                              App. LEXIS 1430, at *7
                              (App.—San Antonio Feb.
                              23, 2005)

p. 13, 1st full paragraph – “is Not relevant TRE 402        Overruled    Sustained
the subject of a separate
lawsuit . . . De La Rosa”       Prejudice outweighs         Overruled    Sustained
                                relevance – TRE 403
        st                  nd
p. 13, 1 full paragraph, 2      Not relevant TRE 402        Overruled    Sustained
sentence – “false
accusation”                     Prejudice outweighs         Overruled    Sustained
                                relevance – TRE 403

                              No predicate of personal      Overruled    Sustained
                              knowledge TRE 602

                              Outside scope of expert       Overruled    Sustained
                              specialty -- TRE 702

                              Invades province of the fact Overruled     Sustained
                              finder – TRE 702, GTE,
                              998 S.W. 2d 605, 620

                              Violates best evidence rule   Overruled    Sustained
                              TRE 1002, 1003


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 10
                                 Conclusory without bases –    Overruled   Sustained
                                 TRE 703

                                 Improper for opinion          Overruled   Sustained
                                 witness just choosing sides
                                 on the case outcome. See
                                 Gutierrez v. State, No. 04-
                                 03-00396-CR, 2005 Tex.
                                 App. LEXIS 1430, at *7
                                 (App.—San Antonio Feb.
                                 23, 2005)

p. 13, 2nd full paragraph, 3rd   Not relevant TRE 402          Overruled   Sustained
sentence – “waffled on”
                                 Prejudice outweighs           Overruled   Sustained
                                 relevance – TRE 403

                                 Outside scope of expert       Overruled   Sustained
                                 specialty -- TRE 702

                                 Invades province of the fact Overruled    Sustained
                                 finder – TRE 702, GTE,
                                 998 S.W. 2d 605, 620

                                 Violates best evidence rule   Overruled   Sustained
                                 TRE 1002, 1003

                                 Conclusory without bases –    Overruled   Sustained
                                 TRE 703

                                 Improper for opinion          Overruled   Sustained
                                 witness just choosing sides
                                 on the case outcome. See
                                 Gutierrez v. State, No. 04-
                                 03-00396-CR, 2005 Tex.
                                 App. LEXIS 1430, at *7
                                 (App.—San Antonio Feb.
                                 23, 2005)

p. 14, 1st full paragraph        Opinion not relevant TRE      Overruled   Sustained
                                 402

                                 Speculation, no predicate of Overruled    Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 11
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
p. 14, 2nd full paragraph    Opinion not relevant --       Overruled     Sustained
                             TRE 402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 12
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
p. 14, 3rd full paragraph    Opinion not relevant TRE      Overruled     Sustained
                             402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Last sentence and quote:      Overruled     Sustained
                             Hearsay TRE 802

                             Not relevant – TRE 402        Overruled     Sustained

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 13
                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
p. 14, last paragraph        Hearsay TRE 802               Overruled     Sustained

                             Not relevant – TRE 402        Overruled     Sustained

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
p. 15, 1st full paragraph    Opinion not relevant TRE      Overruled     Sustained
                             402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Last sentence and quote:
                             Hearsay TRE 802               Overruled     Sustained

                             Not relevant – TRE 402        Overruled     Sustained

                             Prejudice outweighs           Overruled     Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 14
                             relevance – TRE 403

                             Violates best evidence rule
                             TRE 1002, 1003
p. 15, 2nd full paragraph    Opinion not relevant --       Overruled     Sustained
                             TRE 402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

p. 15, heading at 2.         Opinion not relevant TRE      Overruled     Sustained
                             402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 15
                              Conclusory without bases –    Overruled    Sustained
                              TRE 703

                              Improper for opinion          Overruled    Sustained
                              witness just choosing sides
                              on the case outcome. See
                              Gutierrez v. State, No. 04-
                              03-00396-CR, 2005 Tex.
                              App. LEXIS 1430, at *7
                              (App.—San Antonio Feb.
                              23, 2005)

p. 15, under heading 2, 1st   Opinion not relevant TRE      Overruled    Sustained
paragraph                     402

                              Speculation, no predicate of Overruled     Sustained
                              personal knowledge -- TRE
                              602

                              Outside scope of expert       Overruled    Sustained
                              specialty -- TRE 702

                              Invades province of the fact Overruled     Sustained
                              finder – TRE 702, GTE,
                              998 S.W. 2d 605, 620

                              Conclusory without bases –    Overruled    Sustained
                              TRE 703

                              Improper for opinion          Overruled    Sustained
                              witness just choosing sides
                              on the case outcome. See
                              Gutierrez v. State, No. 04-
                              03-00396-CR, 2005 Tex.
                              App. LEXIS 1430, at *7
                              (App.—San Antonio Feb.
                              23, 2005)

p. 15, heading A              Opinion not relevant TRE      Overruled    Sustained
                              402

                              Speculation, no predicate of Overruled     Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 16
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

p. 15, last paragraph        Opinion not relevant TRE      Overruled     Sustained
                             402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-

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                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Sentences 5, 6, 7, 8, & 9:
                             Hearsay TRE 802               Overruled     Sustained

                             Not relevant – TRE 402        Overruled     Sustained

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
p. 16, 1st paragraph         Opinion not relevant TRE      Overruled     Sustained
                             402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

p. 16, heading B             Opinion not relevant TRE      Overruled     Sustained
                             402

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 18
                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

p. 16, 2nd full paragraph    Opinion not relevant TRE      Overruled     Sustained
                             402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703
                                                           Overruled     Sustained
                             Improper for opinion
                             witness just choosing sides

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                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Hearsay TRE 802               Overruled     Sustained

                             Not relevant – TRE 402        Overruled     Sustained

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
p. 16, 3rd full paragraph    Opinion not relevant TRE      Overruled     Sustained
with indent                  402 – “unhinged crank,”
                             “disturbing,” “ridiculous,”
                             “bizarre”

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702 --
                             “unhinged crank,”
                             “disturbing,” “ridiculous,”
                             “bizarre”

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620 --
                             “unhinged crank,”
                             “disturbing,” “ridiculous,”
                             “bizarre”

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703 -- “unhinged
                             crank,” “disturbing,”
                             “ridiculous,” “bizarre”


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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 20
                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Hearsay TRE 802               Overruled     Sustained

                             Not relevant – TRE 402        Overruled     Sustained

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003

p. 16, last paragraph and    Opinion not relevant TRE      Overruled     Sustained
photo on page 17             402 – “purported”

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             No authentication – TRE       Overruled     Sustained
                             901 -- photo

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-

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                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Not relevant – TRE 402        Overruled     Sustained

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
        st
p. 17, 1 full paragraph with Opinion not relevant TRE      Overruled     Sustained
indent                       402 – “bizarre,” “anti-
                             Semitic rants”

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)


                             Hearsay TRE 802               Overruled     Sustained

                             Not relevant – TRE 402        Overruled     Sustained

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403


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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 22
                                Violates best evidence rule   Overruled   Sustained
                                TRE 1002, 1003
p. 17, last full paragraph an   Opinion not relevant TRE      Overruled   Sustained
1st photo on p. 18              402 – “obsessed”

                                Speculation, no predicate of Overruled    Sustained
                                personal knowledge -- TRE
                                602

                                Outside scope of expert
                                specialty -- TRE 702          Overruled   Sustained

                                Invades province of the fact Overruled    Sustained
                                finder – TRE 702, GTE,
                                998 S.W. 2d 605, 620

                                Conclusory without bases –    Overruled   Sustained
                                TRE 703

                                Improper for opinion          Overruled   Sustained
                                witness just choosing sides
                                on the case outcome. See
                                Gutierrez v. State, No. 04-
                                03-00396-CR, 2005 Tex.
                                App. LEXIS 1430, at *7
                                (App.—San Antonio Feb.
                                23, 2005)

                                Hearsay TRE 802               Overruled   Sustained

                                Not relevant – TRE 402        Overruled   Sustained

                                Prejudice outweighs           Overruled   Sustained
                                relevance – TRE 403

                                Violates best evidence rule   Overruled   Sustained
                                TRE 1002, 1003

                                No authentication – TRE      Overruled    Sustained
                                901 - photo
p. 18, only paragraph and       Speculation, no predicate of Overruled    Sustained
photo                           personal knowledge -- TRE
                                602

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                             Conclusory without bases –     Overruled    Sustained
                             TRE 703

                             Hearsay TRE 802                Overruled    Sustained

                             Not relevant – TRE 402         Overruled    Sustained

                             Prejudice outweighs            Overruled    Sustained
                             relevance – TRE 403

                             Violates best evidence rule    Overruled    Sustained
                             TRE 1002, 1003
p. 19, 1st paragraph         Opinion not relevant TRE       Overruled    Sustained
                             402 – “no rational
                             journalist,” “for anything,”
                             “improbable,” “uncritical,”
                             “reckless,” “deceptive"

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert        Overruled    Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –     Overruled    Sustained
                             TRE 703

                             Improper for opinion           Overruled    Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Hearsay TRE 802                Overruled    Sustained

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                             Statements not relevant –     Overruled     Sustained
                             TRE 402

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
p. 19, heading C             Opinion not relevant TRE      Overruled     Sustained
                             402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Hearsay TRE 802               Overruled     Sustained

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
p. 19, 2nd full paragraph    Opinion not relevant TRE      Overruled     Sustained
                             402 – “wild,” falsehoods,”
                             “debunked,” “malicious”


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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 25
                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Hearsay TRE 802               Overruled     Sustained

                             Not relevant – TRE 402 –      Overruled     Sustained
                             “five years”

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
p. 19, 3rd full paragraph    Opinion not relevant TRE      Overruled     Sustained
                             402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702


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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 26
                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Hearsay TRE 802               Overruled     Sustained

                             Not relevant – TRE 402        Overruled     Sustained

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003

                             Ambiguous and vague –         Overruled     Sustained
                             “made a variety of factual
                             allegations,” “various
                             claims,” “wide variety”
p. 19, 4th full paragraph    Opinion not relevant TRE      Overruled     Sustained
                             402 – “ample,”
                             “enormous,” extreme,”
                             “outcry,” “unlikely,”
                             “intentionally,”
                             “reasonable,” “entertain
                             serious doubts,” “desire to
                             mislead”

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602 -- “ample,”
                             “enormous,” extreme,”

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 27
                             “outcry,” “unlikely,”
                             “intentionally,”
                             “reasonable,” “entertain
                             serious doubts,” “desire to
                             mislead”

                             Outside scope of expert        Overruled    Sustained
                             specialty -- TRE 702 --
                             “ample,” “enormous,”
                             extreme,” “outcry,”
                             “unlikely,” “intentionally,”
                             “reasonable,” “entertain
                             serious doubts,” “desire to
                             mislead”

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –     Overruled    Sustained
                             TRE 703

                             Improper for opinion           Overruled    Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Not relevant – TRE 402         Overruled    Sustained

                             Prejudice outweighs            Overruled    Sustained
                             relevance – TRE 403

                             Violates best evidence rule    Overruled    Sustained
                             TRE 1002, 1003

                             Vague and ambiguous --         Overruled    Sustained
                             “ample,” “enormous,”
                             extreme,” “outcry,”
                             “unlikely,” “intentionally,”

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 28
                              “reasonable,” “entertain
                              serious doubts,” “desire to
                              mislead”
p. 19, heading D              Opinion not relevant TRE      Overruled    Sustained
                              402

                              Speculation, no predicate of Overruled     Sustained
                              personal knowledge -- TRE
                              602

                              Outside scope of expert       Overruled    Sustained
                              specialty -- TRE 702

                              Invades province of the fact Overruled     Sustained
                              finder – TRE 702, GTE,
                              998 S.W. 2d 605, 620

                              Conclusory without bases –    Overruled    Sustained
                              TRE 703

                              Improper for opinion          Overruled    Sustained
                              witness just choosing sides
                              on the case outcome. See
                              Gutierrez v. State, No. 04-
                              03-00396-CR, 2005 Tex.
                              App. LEXIS 1430, at *7
                              (App.—San Antonio Feb.
                              23, 2005)

                              Hearsay TRE 802               Overruled    Sustained

                              Violates best evidence rule   Overruled    Sustained
                              TRE 1002, 1003

                              Ambiguous and vague           Overruled    Sustained
p. 19, last paragraph,        Opinion not relevant TRE      Overruled    Sustained
continuing to p. 20 – “rise   402
to notoriety,” coincided,”
“boast,” “considered by       Speculation, no predicate of Overruled     Sustained
many”                         personal knowledge -- TRE
                              602

                              Outside scope of expert       Overruled    Sustained

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                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Hearsay TRE 802               Overruled     Sustained

                             No authentication or          Overruled     Sustained
                             predicate for documentary
                             cites – TRE 902, TRE 802

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003

                             Statements not relevant –     Overruled     Sustained
                             TRE 402

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403
p. 20, 1st full paragraph    Hearsay TRE 802               Overruled     Sustained

                             No authentication or          Overruled     Sustained
                             predicate for documentary
                             cites – TRE 902, TRE 802

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003

                             Statements not relevant –     Overruled     Sustained
                             TRE 402

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                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403
p. 20, 2nd full paragraph    Hearsay TRE 802               Overruled     Sustained

                             Statements not relevant –     Overruled     Sustained
                             TRE 402

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403
p. 20, 3rd full paragraph    Hearsay TRE 802               Overruled     Sustained

                             No authentication or          Overruled     Sustained
                             predicate for documentary
                             cites – TRE 902, TRE 802

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003

                             Statements not relevant –     Overruled     Sustained
                             TRE 402

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403
p. 20, last paragraph and    Opinion not relevant TRE      Overruled     Sustained
photo on p. 21               402 – “similar”

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Hearsay TRE 802               Overruled     Sustained


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                             No authentication or          Overruled     Sustained
                             predicate for photo – TRE
                             902, TRE 802

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003

                             Statements not relevant –     Overruled     Sustained
                             TRE 402

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403
p. 21, 1st full paragraph    Opinion not relevant TRE      Overruled     Sustained
                             402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Statements not relevant –     Overruled     Sustained
                             TRE 402

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403

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p. 21, after Conclusion –      Opinion not relevant TRE      Overruled   Sustained
“evidence I have reviewed,”    402
“failed to use reasonable
care,” “entertained serious    Speculation, no predicate of Overruled    Sustained
doubts,” “acting with intent   personal knowledge -- TRE
to deceive,” “reckless         602
disregard,” “falsity,”
“harmful,” “subject him to     Outside scope of expert       Overruled   Sustained
public contempt, hate or       specialty -- TRE 702
ridicule”
                               Invades province of the fact Overruled    Sustained
                               finder – TRE 702, GTE,
                               998 S.W. 2d 605, 620

                               Conclusory without bases –    Overruled   Sustained
                               TRE 703

                               Vague and ambiguous.          Overruled   Sustained

                               Improper for opinion
                               witness just choosing sides
                               on the case outcome. See
                               Gutierrez v. State, No. 04-
                               03-00396-CR, 2005 Tex.
                               App. LEXIS 1430, at *7
                               (App.—San Antonio Feb.
                               23, 2005)

                               Hearsay TRE 802               Overruled   Sustained

                               Statements not relevant –
                               TRE 402

                               Prejudice outweighs           Overruled   Sustained
                               relevance – TRE 403

                               Vague and ambiguous           Overruled   Sustained




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            2.      OBJECTIONS TO AFFIDAVIT OF BROOKE BINKOWSKI

Binkowski Affidavit                Objections                         Court’s Ruling on
                                                                      Objection
Qualifications                     No predicate to show expert        Overruled      Sustained
                                   qualifications. TRE 702
Relevance; Question of Law         Issue of whether Defendants        Overruled      Sustained
                                   defamed Plaintiff by
                                   innuendo, this is a question of
                                   law. TRE 702
                                   Ms. Binkowski’s statement          Overruled      Sustained
                                   (last paragraph on page 2) to
                                   the effect that a viewer “could
                                   reasonably interpret these
                                   comments as asserting that the
                                   Sandy Hook shooting was
                                   staged and that [Plaintiffs]
                                   were not real parents” is an
                                   opinion on a question of law
                                   and no bases. TRE 702, 703
                                   Ms. Binkowski’s last opinion       Overruled      Sustained
                                   (on page 3), that “this” “fits a
                                   larger pattern of behavior [of
                                   routinely denigrating victims
                                   of shootings]” - Not relevant
                                   TRE 402
                                   Ms. Binkowski does not             Overruled      Sustained
                                   identify the data; conclusory,
                                   no bases TRE 704


 The Court further finds as to Ms. Binkowski’s opinion as follows:

                    Paragraph Affidavit Objections            Court’s Ruling on
                                                              Objection
             11                    Not relevant TRE 402 Overruled Sustained

                                   No assistance to fact      Overruled Sustained
                                   finder -- TRE 702

                                   Invades province of   Overruled Sustained
                                   the fact finder – TRE
                                   702, GTE, 998 S.W.
                                   2d 605, 620

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                             Conclusory without   Overruled Sustained
                             bases – TRE 703
          14                 Not relevant TRE 402 Overruled Sustained

                             No predicate of         Overruled Sustained
                             personal knowledge
                             TRE 602

                             No assistance to fact   Overruled Sustained
                             finder -- TRE 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Violates best           Overruled Sustained
                             evidence rule TRE
                             1002, 1003

                             Conclusory without      Overruled Sustained
                             bases – TRE 703

          16                 Not relevant TRE 402 Overruled Sustained

                             Outside scope of        Overruled Sustained
                             expert specialty --
                             TRE 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Violates best           Overruled Sustained
                             evidence rule TRE
                             1002, 1003

                             “significant:”          Overruled Sustained
                             Conclusory without
                             bases – TRE 703


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          17                 Not relevant – TRE      Overruled Sustained
                             401, 402

          18                 Not relevant TRE 402 Overruled Sustained

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Violates best           Overruled Sustained
                             evidence rule TRE
                             1002, 1003

                             “notable,” “not         Overruled Sustained
                             consistently” --
                             Conclusory without
                             bases – TRE 703
          19                 Violates best           Overruled Sustained
                             evidence rule TRE
                             1002, 1003

          20                 Not relevant TRE 402 Overruled Sustained

                             No assistance to fact   Overruled Sustained
                             finder -- TRE 702

                             “ambiguous,”          Overruled Sustained
                             “reasonably” --
                             Invades province of
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Violates best           Overruled Sustained
                             evidence rule TRE
                             1002, 1003

                             Conclusory without      Overruled Sustained
                             bases – TRE 703

          21                 Not relevant & no       Overruled Sustained
                             assistance to fact

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 36
                             finder – TRE 401,
                             402, 702

                             No predicate for        Overruled Sustained
                             expert testimony –
                             TRE 703

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703
          22                 Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901
          23                 Not relevant & no       Overruled Sustained
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Hearsay – TRE           Overruled Sustained
                             801(d), 802

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 37
          24                 Not relevant & no       Overruled Sustained
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Hearsay – TRE           Overruled Sustained
                             801(d), 802

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703
          25                 Not relevant & no       Overruled Sustained
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Hearsay – TRE           Overruled Sustained
                             801(d), 802

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 38
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703
          27                 Hearsay – TRE           Overruled Sustained
                             801(d), 802

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

          28                 Not relevant & no       Overruled Sustained
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Hearsay – TRE           Overruled Sustained
                             801(d), 802

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703
          29                 Not relevant & no       Overruled Sustained
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Hearsay – TRE           Overruled Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 39
                             801(d), 802

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901
          30                 Opinion not relevant    Overruled Sustained
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703
          31                 Opinion not relevant    Overruled Sustained
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 40
                             knowledge – TRE
                             701, 702, 703

          32                 “callously,”            Overruled Sustained
                             “sickening,” and
                             “own opinion” --
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          33                 “own assertion,”        Overruled Sustained
                             “false,” “not
                             contradicted” --
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 41
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          34                 “deceptively edited”    Overruled Sustained
                             -- Opinion not
                             relevant & no
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          34                 “deceptively” --        Overruled Sustained
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 42
                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          35                 “reinforces” --         Overruled Sustained
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          36                 Opinion not relevant    Overruled Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 43
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge,
                             speculation – TRE
                             701, 702, 703

          37                 Opinion not relevant    Overruled Sustained
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             “continuously           Overruled Sustained
                             debunked”--
                             Conclusory, lack of

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 44
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          38                 Opinion not relevant    Overruled Sustained
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          39                 Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          40                 Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 45
                             knowledge – TRE
                             701, 702, 703

          41                 “likewise traffics fake Overruled Sustained
                             news” -- Opinion not
                             relevant & no
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          42                 Not relevant – TRE      Overruled Sustained
                             401, 402

                             Hearsay – TRE 802       Overruled Sustained

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 46
                             knowledge – TRE
                             701, 702, 703

          43                 Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          44                 Opinion not relevant    Overruled Sustained
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          45                 Invades province of   Overruled Sustained
                             the fact finder – TRE

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 47
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          46                 Not relevant – TRE      Overruled Sustained
                             402

                             Relevance               Overruled Sustained
                             outweighed by unfair
                             prejudice, confusion,
                             & misleading – TRE
                             403

                             Hearsay – TRE 802       Overruled Sustained

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          47                 “fake news items” --    Overruled Sustained
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 48
                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          48 and two photos Best Evidence Rule –     Overruled Sustained
                            TRE 1001, 1002,
                            1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          49                 “fake news” --          Overruled Sustained
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge,
                             speculation – TRE
                             701, 702, 703

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 49
          50                 Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          51                 Opinion not relevant    Overruled Sustained
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          52                 “fake news,”            Overruled Sustained
                             “dangerous,”
                             “conspiracy” --
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620


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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 50
                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge,
                             speculation as to
                             intent – TRE 701,
                             702, 703

          53                 “intentionally          Overruled Sustained
                             deceptive,”
                             “recklessly
                             disregarded,”
                             “deceptive” --
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge,
                             speculation – TRE
                             602, 701, 702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          54                 “outlandish,”           Overruled Sustained
                             “inherently
                             improbable,”

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 51
                             “obviously dubious” -
                             - Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Conclusory, lack of      Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)


          55                 Opinion not relevant     Overruled Sustained
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Conclusory, lack of      Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge,

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 52
                             speculation as to state
                             of mind – TRE 701,
                             702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          56                 Opinion not relevant      Overruled Sustained
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Conclusory, lack of       Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          57                 “directly contradicts”    Overruled Sustained

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 53
                             -- Opinion not
                             relevant & no
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          58                 Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Relevance               Overruled Sustained
                             outweighed by unfair

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                             prejudice, confusion,
                             misleading and
                             cumulative – TRE
                             403

          59                 Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Relevance               Overruled Sustained
                             outweighed by unfair
                             prejudice, confusion,
                             misleading and
                             cumulative – TRE
                             403

          60                 “too suggest” some      Overruled Sustained
                             fact -- Opinion not
                             relevant & no
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 55
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Relevance               Overruled Sustained
                             outweighed by unfair
                             prejudice, confusion,
                             misleading and
                             cumulative – TRE
                             403

          61                 “dishonest” --          Overruled Sustained
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Relevance               Overruled Sustained
                             outweighed by unfair
                             prejudice, confusion,
                             misleading and
                             cumulative – TRE

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 56
                             403

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          62                 “clear” “chose not to   Overruled Sustained
                             do so” -- Opinion not
                             relevant & no
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge,
                             speculation as to state
                             of mind – TRE 701,
                             702, 703

                             Relevance               Overruled Sustained

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 57
                             outweighed by unfair
                             prejudice, confusion,
                             misleading and
                             cumulative – TRE
                             403

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          63                 “clear” “deceptively    Overruled Sustained
                             edited” “give the
                             appearance” --
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 58
                             701, 702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          64                 “abundance of           Overruled Sustained
                             primary sources” --
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          65                 “no reasonable basis”   Overruled Sustained
                             -- Opinion not
                             relevant & no

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                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          66                 “only way a journalist Overruled Sustained
                             could support”
                             “intentionally
                             distorting” “source
                             material demonstrates
                             that is exactly what
                             occurred in this case”
                             -- Opinion not
                             relevant & no
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 60
                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          67                 “video contains no      Overruled Sustained
                             such statements” --
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 61
                             701, 702, 703

          68                 “injurious motive”      Overruled Sustained
                             “clearly an attack”
                             “pleaded” “false” --
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          69                 “clearly provoked a     Overruled Sustained
                             retaliation” --

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                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –      Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –       Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802         Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge,
                             speculation as to state
                             of mind – TRE 701,
                             702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          70                 “clear” “part of          Overruled Sustained
                             ongoing effort to
                             support and justify”
                             “vile five-year lie” --
                             Opinion not relevant

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                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          71                 “in horror”            Overruled Sustained
                             “repeatedly”
                             “systematically”
                             “distorted”
                             “misrepresented”
                             “false” -- Opinion not
                             relevant & no
                             assistance to fact
                             finder – TRE 401,
                             402, 702


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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 64
                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –     Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             Hearsay – TRE 802        Overruled Sustained

                             Conclusory, lack of
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          72                 “clear” “in bad faith”   Overruled Sustained
                             “utter contempt for
                             the truth” -- Opinion
                             not relevant & no
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Conclusory, lack of      Overruled Sustained
                             foundation/predicate,

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                              lack of personal
                              knowledge – TRE
                              701, 702, 703

                              Improper for opinion Overruled Sustained
                              witness just choosing
                              sides on the case
                              outcome. See
                              Gutierrez v. State,
                              No. 04-03-00396-CR,
                              2005 Tex. App.
                              LEXIS 1430, at *7
                              (App.—San Antonio
                              Feb. 23, 2005)



              3.     OBJECTIONS TO AFFIDAVIT OF NEIL HESLIN

            Paragraph Affidavit Objections                   Court’s Ruling on
                                                             Objection
      Paragraph 2        Mr. Heslin’s assertion, without     Overruled Sustained
                         specifying what publications he
                         claims constitute “lies” make his
                         assertion irrelevant and thus
                         inadmissible under Tex. R. Evid.
                         R. 401. The assertion also
                         violates the “best evidence” rule
                         (Tex. R. Evid. R. 1002). Mr.
                         Heslin’s assertion without
                         specifying what “occasions”
                         make his assertion irrelevant and
                         thus inadmissible under Tex. R.
                         Evid. R. 401. The assertion also
                         violates the “best evidence” rule
                         (Tex. R. Evid. R. 1002).

      Paragraph 4        This paragraph is evidently         Overruled Sustained
                         calculated to portray Mr. Heslin
                         as not a public figure or quasi-
                         public figure. As such it is
                         irrelevant under Tex. R. Evid. R.
                         401 and R. 701 because whether
                         someone is a public figure is a


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                          question of law for the Court.
                          See Klentzman v. Brady, 312
                          S.W.3d 886, 904 (Tex. App. -
                          Houston [1st Dist.] 2009, no pet.)
                          Also Mr. Heslin’s subjective
                          intent is irrelevant; whether he is
                          a public figure can only be
                          determined by compiling and
                          analyzing objective facts.
                          Accordingly this paragraph is
                          irrelevant under Tex. R. Evid. R.
                          401 and R. 701.

      Paragraphs 5, 6     Relevance (Tex. R. Evid. R. 401). Overruled Sustained
                          Whether Mr. Heslin was invited
                          or sought out the public fora
                          doesn’t matter. No one told him
                          he had to give interviews; he was
                          not under subpoena. As long as
                          he was not coerced, only the fact
                          that he made public appearances
                          matters.

      Paragraphs 7 - 14   Relevance, Tex. R. Evid. R. 401.      Overruled Sustained
                          Mr. Heslin’s subjective feelings,
                          motive and intent are irrelevant;
                          it’s what he did that matters.
      Paragraph 15        The authentic record of the           Overruled Sustained
                          interview is the best evidence of
                          what was said or not said. Mr.
                          Heslin’s summation violates the
                          best evidence rule (Tex. R. Evid.
                          R. 102).

      Paragraph 16        Relevance, Tex. R. Evid. R. 401.      Overruled Sustained
                          This is Mr. Heslin’s own
                          summary of his actions and
                          reactions.
      Paragraph 17        Relevance, Tex. R. Evid. R. 401.      Overruled Sustained
                          Mr. Heslin’s subjective feelings,
                          motive and intent are irrelevant;
                          it’s what he did that matters. The
                          authentic record of the interview
                          is the best evidence of what was
                          said or not said. Mr. Heslin’s
                          summation violates the best

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                           evidence rule (Tex. R. Evid. R.
                           1002).

      Paragraphs 18 - 21   The authentic record of the           Overruled Sustained
                           interview is the best evidence of
                           what was said or not said. Mr.
                           Heslin’s summation violates the
                           best evidence rule (Tex. R. Evid.
                           R. 1002).

      Paragraphs 22 - 27   In these paragraphs Mr. Heslin        Overruled Sustained
                           attempts to present evidence to
                           establish mental anguish as an
                           element of damages. These
                           paragraphs are irrelevant and
                           inadmissible under Tex. R. Evid.
                           R. 401 because the substantive
                           law applicable to such damages,
                           and in defamation cases in
                           particular, makes the averments
                           irrelevant.
                                         Mental anguish
                                          damages may not
                                          be recovered in a
                                          per quod case.
                                          Mr. Heslin has
                                          alleged – but has
                                          produced no
                                          evidence to
                                          establish-
                                          defamation per se.
                                         Perhaps words
                                          cannot describe
                                          the mental anguish
                                          Mr. Heslin has
                                          sustained as a
                                          result of the death
                                          of his son, but that
                                          does not mean it
                                          does not exist.
                                          However, Mr.
                                          Heslin does not
                                          take this into
                                          account. In
                                          paragraphs 26 and
                                          27 he attempts to

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                                       attribute his
                                       alleged mental
                                       anguish to the
                                       June 26, 2017
                                       publication alone
                                       and provides no
                                       evidence of how
                                       this was caused by
                                       that video.
                                      In the entirety of
                                       paragraphs 21 -27
                                       Mr. Heslin fails to
                                       account for other
                                       actors who may
                                       have caused his
                                       alleged mental
                                       anguish. Mr.
                                       Heslin is
                                       attributing to this
                                       publication the
                                       criminal activity of
                                       others over whom
                                       Defendants have
                                       no control and
                                       provides no
                                       evidence of how
                                       this was caused by
                                       that video.
                                      As for out-of-
                                       pocket expenses
                                       (paragraphs 28-31)
                                       Mr. Heslin’s
                                       declaration does
                                       not amount to
                                       legally sufficient
                                       evidence because
                                       (1) the evidence
                                       that the
                                       publication at
                                       issue was a
                                       producing cause or
                                       a proximate cause
                                       is legally
                                       insufficient to
                                       establish that Mr.
                                       Heslin’s need for


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                                      counseling was a
                                      result of the
                                      publication and
                                      not something
                                      else; the evidence
                                      is legally
                                      insufficient to
                                      establish a
                                      temporal nexus
                                      between the
                                      publication and the
                                      counseling thus
                                      raising the
                                      inference that the
                                      counseling was a
                                      result of the
                                      publication and
                                      not something else
                                      (paragraph 28).
                                      The same is true of
                                      the other expenses
                                      (paragraphs 29-
                                      31): even
                                      assuming that Mr.
                                      Heslin’s security
                                      concerns were
                                      justified, the
                                      evidence that the
                                      publication – and
                                      not the actions of
                                      others – was a
                                      producing cause is
                                      legally
                                      insufficient; (2)
                                      There is no
                                      evidence that these
                                      out-of-pocket
                                      expenditures were
                                      reasonable in
                                      amount.




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      4.     OBJECTIONS TO AFFIDAVIT OF H. WAYNE CARVER, II, M.D.

      Paragraph           Affidavit Objections                 Court’s Ruling on
                                                               Objection
      Paragraphs 3 – 10   Relevance; The averments of          Overruled Sustained
                          these paragraphs do not make any
                          relevant fact more likely than not
                          and do not aid the fact-trier in
                          resolving any issue. Thus these
                          statements are irrelevant under
                          Tex. R. Evid. R. 401 and 701.

      Paragraph 11        Dr. Carver’s professed               Overruled Sustained
                          “familiar[ity]” with Defendants is
                          irrelevant under Evid. Rules 401
                          and 701. He does not state the
                          source of his averred familiarity.
                          Is he a regular viewer? Or is his
                          “familiar[ity]” based on what
                          others have told him? (In which
                          case his averment is inadmissible
                          hearsay.) The second sentence of
                          paragraph 11 is objectionable for
                          the same reasons. The third
                          sentence is objectionable because
                          (a) Newtown, Connecticut’s at-
                          large population is not a party to
                          this case so any community
                          feeling of angst is irrelevant (Tex.
                          R. Evid. R. 401); (b) Dr. Carver
                          does not state his qualifications to
                          express an opinion on public
                          sentiment in Newtown,
                          Connecticut; and (c) Dr. Carver
                          does not state the underlying
                          basis for his opinion.

      Paragraphs 12 and   Relevance (Tex. R. Evid. R.          Overruled Sustained
      13                  401); Authenticity (Tex. R. Evid.
                          R. 1002)
                          Dr. Carver does not
                          adequately establish that
                          what he viewed is the


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                           original publication or
                           some other iteration.
                           Whether the statements
                           referred to the Plaintiff is
                           a matter of law for the
                           Court. Newspapers, Inc.
                           v. Matthews, 339 S.W.2d
                           890, 893 (Tex. 1960).

      Paragraphs 14 – 17   Relevance (Tex. R. Evid. R. 401)    Overruled Sustained
                           Whether a statement is
                           defamatory is a question
                           of law for the Court. His
                           opinion is therefore not
                           probative. See Bingham
                           v. Southwestern Bell
                           Yellow Pages, Inc., 2008
                           Tex. App. LEXIS 463 *9
                           - *10 (Tex. App. – Ft.
                           Worth 2001, no pet.)
                           (citing Musser v. Smith
                           Protective Svcs., Inc., 723
                           S.W.2d 653, 655 (Tex.
                           1987). The test is how the
                           statement would be
                           construed by the average
                           reasonable person or the
                           general public. See Arant
                           v. Jaffe, 436 S.W.2d 169,
                           176 (Tex. App. – Dallas
                           1968, no writ). Whether
                           the statements referred to
                           the Plaintiff is a matter of
                           law for the Court.
                           Newspapers, Inc. v.
                           Matthews, 339 S.W.2d
                           890, 893 (Tex. 1960).

                                    Whether Dr. Carver is an
                           “average reasonable person,” or
                           falls in some other category, his
                           idiosyncratic spin on the
                           broadcast at issue is irrelevant
                           because it usurps the function of
                           the Court.



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      Paragraph 18         Relevance (Tex R. Evid.           Overruled Sustained
                           R. 401, 701 and 703)
                           Dr. Carver does not state any
                           facts that support his opinion.
                           His “personal involvement” is too
                           vague to comprise an adequate
                           basis for his opinion.

      Paragraphs 19 – 21   Relevance (Tex. R. Evid. R. 401) Overruled Sustained
                                    Whether a statement is
                           defamatory is a question of law
                           for the Court. His opinion is
                           therefore not probative. See
                           Bingham v. Southwestern Bell
                           Yellow Pages, Inc., 2008 Tex.
                           App. LEXIS 463 *9 - *10 (Tex.
                           App. – Ft. Worth 2001, no pet.)
                           (citing Musser v. Smith Protective
                           Svcs., Inc., 723 S.W.2d 653, 655
                           (Tex. 1987). The test is how the
                           statement would be construed by
                           the average reasonable person or
                           the general public. See Arant v.
                           Jaffe, 436 S.W.2d 169, 176 (Tex.
                           App. – Dallas 1968, no writ).
                                    Whether Dr. Carver is an
                           “average reasonable person,” or
                           falls in some other category, his
                           idiosyncratic spin on the
                           broadcast at issue is irrelevant
                           because it usurps the function of
                           the Court. Whether the statements
                           referred to the Plaintiff is a matter
                           of law for the Court.
                           Newspapers, Inc. v. Matthews,
                           339 S.W.2d 890, 893 (Tex.
                           1960).



            5.       OBJECTIONS TO AFFIDAVIT OF SCARLETT LEWIS

      Paragraph            Affidavit Objections            Court’s Ruling on
                                                           Objection



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      Bullet points 5-10   Ms. Lewis sets out her                Overruled Sustained
                           “understanding[s]” derived from
                           watching a youtube video. None
                           of her alleged understandings is
                           relevant under Tex. R. Evid. R.
                           401 because whether a statement
                           is defamatory is a question of
                           law. Whether a statement is
                           defamatory is a question of law
                           for the Court. Her
                           “understanding” (ie. opinion) is
                           therefore not probative. See
                           Bingham v. Southwestern Bell
                           Yellow Pages, Inc., 2008 Tex.
                           App. LEXIS 463 *9 - *10 (Tex.
                           App. – Ft. Worth 2001, no pet.)
                           (citing Musser v. Smith Protective
                           Svcs., Inc., 723 S.W.2d 653, 655
                           (Tex. 1987). The test is how the
                           statement would be construed by
                           the average reasonable person or
                           the general public. See Arant v.
                           Jaffe, 436 S.W.2d 169, 176 (Tex.
                           App. – Dallas 1968, no writ).
                           Whether the statements referred
                           to the Plaintiff is a matter of law
                           for the Court. Newspapers, Inc.
                           v. Matthews, 339 S.W.2d 890,
                           893 (Tex. 1960).
                                    Whether Ms. Lewis is an
                           “average reasonable person,” or
                           falls in some other category, her
                           idiosyncratic spin on the
                           broadcast at issue is irrelevant
                           because it usurps the function of
                           the Court. Whether the statements
                           referred to the Plaintiff is a matter
                           of law for the Court.
                           Newspapers, Inc. v. Matthews,
                           339 S.W.2d 890, 893 (Tex.
                           1960).




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             4.       OBJECTIONS TO AFFIDAVIT OF JOHN CLAYTON

                  Affidavit Objections                  Court’s Ruling on
                                                        Objection
                  Rule 703 Relevance                    Overruled Sustained
                  The issue before the Court is
                  whether the 2017 publication
                  made the basis of this case is
                  defamatory. This is a question of
                  law. See Bently v. Bunton, 94
                  S.W.3d 561, 580 (Tex. 2003);
                  Campbell v. Clark, 471 S.W.3d
                  615, 624 (Tex. App. – Dallas
                  2015, no pet.); Main v. Royall,
                  348 S.W.3d 381, 389 (Tex. App.
                  – Dallas 2011, no pet.). Mr.
                  Clayton’s unsupported opinions
                  regarding Mr. Jones’s fidelity to
                  some unidentified journalistic
                  standard(s) has no bearing on this
                  issue.
                          There is no basis for Mr.
                  Clayton’s implied premise that
                  persons who disseminate
                  information through the use of
                  social media (or “alternative
                  media” in Mr. Clayton’s words)
                  are to be held to the same
                  standards of journalism as print
                  or electronic (radio, TV)
                  reporters. Indeed, there is much
                  debate and no consensus on the
                  question. This Court is not the
                  forum for resolving this issue.

                  Reliability                           Overruled Sustained
                  Mr. Clayton’s tirade against his
                  former employer is filled with
                  conclusions, but is woefully short
                  on facts to support his opinions.
                  From the affidavit, it appears that
                  Mr. Clayton last worked for or
                  with Mr. Jones some nine years
                  ago. (Affidavit paragraph 5) It
                  does not appear that Mr. Clayton
                  is familiar with the publications

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               at issue in this case. One of the
               requisites of reliability is that the
               opinion testimony must be tied to
               the facts of the case. Exxon
               Pipeline Co. v. Zwahr, 88 S.W.3d
               623, 629 (Tex. 2002). It is
               difficult to see how Mr. Clayton’s
               testimony can meet this test when
               he does not even profess to have
               any knowledge of those facts.

               Rule 404 Relevance                  Overruled Sustained
               The accusations that Mr. Jones
               “no longer had any commitment
               to the principles and philosophy
               of the independent media
               movement (Id., paragraph 6),” “it
               became apparent that he made a
               conscious decision not to care
               about accuracy” (Id., paragraph
               8) and “it become [sic] standard
               practice in InfoWars to disregard
               basic protocols in journalism”
               (Id., paragraph 9) violate Tex. R.
               Evid. R. 404(a)(1) prohibiting
               evidence of a character trait to
               prove that in a particular instance
               the actor acted in accordance with
               that trait.

               Rule 406 Relevance                 Overruled Sustained
               For evidence of routine or habit
               to be admissible under Rule 406,
               it must establish a regular
               response to a repeated specific
               situation. See Ortiz v. Glusman,
               334 S.W.3d 812, 816 (Tex. App.
               – El Paso 2011, pet. den.);
               Johnson v. City of Houston, 928
               S.W.2d 251, 254 (Tex. App. –
               Houston [14th Dist.] 1996 no
               writ). Although Mr. Clayton
               alludes to many occasions, he
               cites no examples. This Court
               must take his word that they exist
               and that the undescribed incidents

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                 are sufficiently similar.


                 Rule 403 Relevance                  Overruled Sustained
                 Even if the Court determines that
                 the undescribed (as to time, place,
                 parties or substance) incidents are
                 relevant, the prejudice of
                 allowing Mr. Clayton’s testimony
                 is far outweighed by the danger
                 of unfair prejudice and confusing
                 the issues. In order to determine
                 admissibility, the Court would
                 have to try each instance to
                 determine whether it occurred
                 and whether it evidences malice
                 toward the truth in connection
                 with the publication made the
                 basis of this case. Certainly Mr.
                 Clayton has no right to usurp the
                 Court’s duties in this regard by
                 substituting his judgment for the
                 Court’s.
                         If the undescribed
                 incidents are inadmissible,
                 because Plaintiffs have failed to
                 make any showing that they were
                 reasonably relied upon by Mr.
                 Clayton (Indeed, how can the
                 Court make such a determination
                 absent any description?) Mr.
                 Clayton’s opinions founded upon
                 them are not admissible.




            7.      OBJECTIONS TO AFFIDAVIT OF MARCUS TURNINI

             Affidavit and Exhibit Objections             Court’s Ruling on
                                                          Objection
             The exhibits were unlawfully obtained        Overruled Sustained
             in that they were evidently obtained for
             use in the litigation in violation of §9.1
             of the Infowars terms of service which

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            provides:
               “You may not copy or otherwise
               attempt to benefit or assist others
               to benefit, directly or indirectly,
               from use of our Licensed
               Materials or intellectual property
               of third parties other than through
               normal use of the Website.”

            Relevance (Evid. R. 401). The material      Overruled Sustained
            deals with use by licensed subscribers of
            the Infowars Website. It has nothing to
            do with whether the publication made
            the basis of this case is defamatory or
            any of the sub-issues (i.e. public or
            quasi:-public figure, malice).




                         8.      OBJECTIONS TO EXHIBIT I

               Objections                            Court’s Ruling on
                                                     Objection
               1.     It is not authenticated as     Overruled Sustained
               required by Tex. R. Evid. R. 901.

               2.     It is not self-                Overruled Sustained
               authenticating as permitted under
               Tex. R. Evid. R. 902(2);

               3.     It is not relevant under
               Tex. R. Evid. R. 401.                 Overruled Sustained

               4.     Any relevancy is far
               outweighed by the prejudice           Overruled Sustained
               engendered by the document
               under Tex. R. Evid. R. 403.

               5.     It is hearsay and contains     Overruled Sustained
               hearsay within hearsay.

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          9.    OBJECTIONS TO EXHIBIT J - AFFIDAVIT OF FRED ZIPP

Affidavit Statements        Objections                   Court’s Ruling on Objection
Page 1, First paragraph     Lack of                      Overruled    Sustained
under Scope of Review       foundation/predicate
“whether assertions could
be responsibly published”   Not Relevant                 Overruled    Sustained

                            Vague and Ambiguous          Overruled    Sustained

                            Hearsay                      Overruled    Sustained

                            Lack of                      Overruled    Sustained
                            foundation/predicate

                            Lack of identification of    Overruled    Sustained
                            materials reviewed

                            Hearsay                      Overruled    Sustained

Page 2, First paragraph     Not relevant                 Overruled    Sustained
under Background
Knowledge of InfoWars,      Hearsay                      Overruled    Sustained
second sentence
Second paragraph under      Vague and Ambiguous          Overruled    Sustained
Background Knowledge of
InfoWars “significant       Conclusory                   Overruled    Sustained
amount of time”

Second paragraph under      Conclusory                   Overruled    Sustained
Background Knowledge of
Infowars, second sentence   Lack of                      Overruled    Sustained
                            foundation/predicate

                            Not relevant                 Overruled    Sustained

Third paragraph under       Conclusory                   Overruled    Sustained
Background Knowledge of
Infowars, second sentence   Violates TRE 404             Overruled    Sustained

                            Lack of                      Overruled    Sustained

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                              foundation/predicate
Fourth paragraph under        Not relevant                 Overruled   Sustained
Background Knowledge of
Infowars,                     Hearsay                      Overruled   Sustained

                              Lack of
                              predicate/foundation         Overruled   Sustained

                              Conclusory                   Overruled   Sustained

Page 3, First paragraph       Conclusory                   Overruled   Sustained
under number 1, first
sentence                      Lack of                      Overruled   Sustained
                              foundation/predicate

                              Not relevant                 Overruled   Sustained

                              Lack of personal knowledge Overruled     Sustained

                              Exhibit A-26 is hearsay,     Overruled   Sustained
                              lacks a foundation and
                              predicate and is not
                              complete

Page 3, middle three          Violates TRE 1002            Overruled   Sustained
paragraphs
Last paragraph under          Vague and Ambiguous          Overruled   Sustained
number 1 at bottom of the     (“suggests”)
page and continuing to page
4 beginning “My review…”      Lack of personal knowledge Overruled     Sustained
First and second sentence.
                              Lack of
                              foundation/predicate         Overruled   Sustained

                              Conclusory                   Overruled   Sustained

                              Not relevant                 Overruled   Sustained

                              Hearsay as to second and     Overruled   Sustained
                              third sentence
Same paragraph, third         Defendants incorporate the   Overruled   Sustained
sentence                      same objections to this
                              sentence as they stated to

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                             the affidavit and
                             conclusions of Mr.
                             Fredericks.

                             Not relevant                    Overruled   Sustained

                             Violates TRE 403                Overruled   Sustained

                             Hearsay                         Overruled   Sustained

                             Lack of                         Overruled   Sustained
                             foundation/predicate
Same paragraph, fourth and   Not relevant                    Overruled   Sustained
fifth sentence
                             Not probative                   Overruled   Sustained

                             Improper opinion of expert      Overruled   Sustained
                             on question of law

                             Lack of personal knowledge Overruled        Sustained

                             Lack of                         Overruled   Sustained
                             foundation/predicate

                             Speculation                     Overruled   Sustained

Page 4, first paragraph      First sentence: Not relevant,   Overruled   Sustained
under paragraph 2.           violates TRE 404,
                             conclusory, lack of
                             foundation/predicate,
                             hearsay, lack of personal
                             knowledge

                             Second sentence: Not        Overruled       Sustained
                             relevant, vague and
                             ambiguous, conclusory, lack
                             of foundation/predicate,
                             lack of personal knowledge,
                             hearsay

                             Third sentence: Not         Overruled       Sustained
                             relevant, vague and
                             ambiguous, conclusory, lack

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                              of foundation/predicate,
                              lack of personal knowledge,

First paragraph under 2. A.   Not relevant                    Overruled   Sustained

                              Lack of persona knowledge       Overruled   Sustained


Second paragraph under 2.     Not relevant                    Overruled   Sustained
A.
                              Hearsay                         Overruled   Sustained

                              Lack of                         Overruled   Sustained
                              foundation/predicate
Third paragraph under 2. A.   First sentence: Not relevant,   Overruled   Sustained
                              conclusory, speculative

                              Second and third sentence:      Overruled   Sustained
                              Not relevant, hearsay, lack
                              of personal knowledge, lack
                              of foundation/predicate,
Page 5, top paragraph         Not relevant,                   Overruled   Sustained
(under two top photos)
                              speculative,                    Overruled   Sustained

                              hearsay,                        Overruled   Sustained

                              conclusory,                     Overruled   Sustained

                              lack of personal knowledge,     Overruled   Sustained

                              lack of foundation/predicate    Overruled   Sustained

Bottom paragraph (under       Not relevant,                   Overruled   Sustained
two lower photographs)
                              speculative,                    Overruled   Sustained

                              hearsay,                        Overruled   Sustained

                              conclusory,                     Overruled   Sustained

                              lack of personal knowledge,     Overruled   Sustained


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                             lack of foundation/predicate   Overruled   Sustained

Bottom paragraph (under      Not relevant,                  Overruled   Sustained
two lower photographs)
                             speculative,                   Overruled   Sustained

                             hearsay,                       Overruled   Sustained

                             conclusory,                    Overruled   Sustained

                             lack of personal knowledge,    Overruled   Sustained

                             lack of foundation/predicate   Overruled   Sustained
Page 7, photo                Not relevant                   Overruled   Sustained

                             Hearsay                        Overruled   Sustained

                             Lack of                        Overruled   Sustained
                             foundation/predicate
Page 7, top paragraph        Not relevant,                  Overruled   Sustained
(under photo and above B.)
                             speculative,                   Overruled   Sustained

                             hearsay,                       Overruled   Sustained

                             conclusory,                    Overruled   Sustained

                             lack of personal knowledge,    Overruled   Sustained

                             lack of foundation/predicate   Overruled   Sustained
Paragraph B.                 Not relevant                   Overruled   Sustained

                             Conclusory                     Overruled   Sustained

                             lack of personal knowledge,    Overruled   Sustained

                             lack of foundation/predicate   Overruled   Sustained

Last paragraph (under B)     Not relevant                   Overruled   Sustained

                             Conclusory                     Overruled   Sustained

                             lack of personal knowledge,    Overruled   Sustained

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                            lack of foundation/predicate   Overruled   Sustained

                            Exhibit 24 is not complete     Overruled   Sustained

Page 8, top photo           Not relevant                   Overruled   Sustained

                            Hearsay                        Overruled   Sustained

                            Lack of                        Overruled   Sustained
                            foundation/predicate
Page 8, top paragraph       Not relevant                   Overruled   Sustained

                            Conclusory                     Overruled   Sustained

                            Hearsay                        Overruled   Sustained

                            Lack of                        Overruled   Sustained
                            foundation/predicate

                            Lack of personal knowledge Overruled       Sustained

                            Violates TRE 1002
Lower photo                 Hearsay                        Overruled   Sustained

                            Not relevant                   Overruled   Sustained

                            Lack of                        Overruled   Sustained
                            foundation/predicate
Bottom paragraph            Not relevant                   Overruled   Sustained

                            Hearsay                        Overruled   Sustained

                            Lack of personal knowledge Overruled       Sustained

                            Lack of                        Overruled   Sustained
                            foundation/predicate

                            Conclusory                     Overruled   Sustained

                            Violates TRE 1002              Overruled   Sustained
Page 9 photo                Not relevant                   Overruled   Sustained


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                            Hearsay                       Overruled   Sustained

                            Lack of                       Overruled   Sustained
                            foundation/predicate

First paragraph             First sentence:

                            Not relevant,                 Overruled   Sustained

                            Lack of personal              Overruled   Sustained
                            knowledge,

                            Lack of                       Overruled   Sustained
                            foundation/predicate,

                            conclusory                    Overruled   Sustained

                            Second sentence: Not          Overruled   Sustained
                            relevant,

                            Lack of personal              Overruled   Sustained
                            knowledge,

                            Lack of                       Overruled   Sustained
                            foundation/predicate,

                            conclusory,                   Overruled   Sustained

                            speculative                   Overruled   Sustained

                            Third sentence:

                            “did not reasonably suggest   Overruled   Sustained
                            any cover-up or
                            manipulation”: Not
                            relevant,
                            Lack of
                            foundation/predicate,
                            conclusory, speculative

                            Fourth sentence: Not          Overruled   Sustained
                            relevant,
                            Lack of personal

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                            knowledge, Lack of
                            foundation/predicate,
                            conclusory

                            Violates TRE 1002               Overruled   Sustained

Paragraph C.                Not relevant                    Overruled   Sustained

                            Lack of personal knowledge Overruled        Sustained

Last paragraph              First sentence: Not relevant, Overruled     Sustained
                            Lack of personal knowledge

                            Second and third sentence:      Overruled   Sustained
                            Not relevant,
                            Lack of personal
                            knowledge, Lack of
                            foundation/predicate,
                            conclusory, hearsay

                            Violates TRE 1002               Overruled   Sustained

Page 10 photo               Not relevant                    Overruled   Sustained

                            Hearsay                         Overruled   Sustained

                            Lack of
                            foundation/predicate            Overruled   Sustained

Paragraph D.                Not relevant, Lack of           Overruled   Sustained
                            personal knowledge

First paragraph under D.    First sentence: Not relevant,   Overruled   Sustained
                            lack of personal knowledge

                            Second sentence: Not            Overruled   Sustained
                            relevant, lack of personal
                            knowledge

                            Third sentence: Not             Overruled   Sustained
                            relevant, lack of personal
                            knowledge, hearsay


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                            Exhibit A2 is hearsay, lacks    Overruled   Sustained
                            a foundation and predicate
                            and is not complete.

                            Last sentence: Not relevant,    Overruled   Sustained
                            lack of personal knowledge
Bottom paragraph            Not relevant                    Overruled   Sustained

                            Hearsay                         Overruled   Sustained

                            Lack of personal knowledge Overruled        Sustained

                            Lack of                         Overruled   Sustained
                            foundation/predicate

                            Conclusory                      Overruled   Sustained

Page 11, photo              Not relevant                    Overruled   Sustained

                            Hearsay                         Overruled   Sustained

                            Lack of                         Overruled   Sustained
                            foundation/predicate
First paragraph (above E)   First sentence: Not relevant,   Overruled   Sustained
                            lack of personal knowledge,
                            lack of foundation/predicate
                            conclusory

                            Second sentence: Not            Overruled   Sustained
                            relevant, lack of personal
                            knowledge, lack of
                            foundation/predicate
                            conclusory

                            Last sentence: Not relevant,    Overruled   Sustained
                            lack of personal knowledge,
                            lack of foundation/predicate
                            conclusory

Paragraph E                 Not relevant, Lack of           Overruled   Sustained
                            personal knowledge

                            Violates TRE 1002               Overruled   Sustained

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First paragraph under E.     Both sentences: Not             Overruled   Sustained
                             relevant, Lack of personal
                             knowledge

                             Violates TRE 1002               Overruled   Sustained

Bottom paragraph             First sentence: Not relevant,   Overruled   Sustained
                             Lack of personal
                             knowledge, lack of
                             foundation/predicate,
                             speculative, hearsay,
                             conclusory – Violates TRE
                             1002

                             Second sentence: Not            Overruled   Sustained
                             relevant, Lack of personal
                             knowledge

                             Third sentence: Not             Overruled   Sustained
                             relevant, Lack of personal
                             knowledge, lack of
                             foundation/predicate,
                             hearsay

                             Fourth and fifth sentence       Overruled   Sustained
                             including caption
                             continuing on page 12: lack
                             of foundation/predicate,
                             hearsay
Page 12, top paragraph and   Not relevant, Hearsay, lack     Overruled   Sustained
captions                     of foundation/predicate

Middle paragraph             First and second sentence:      Overruled   Sustained
                             Not relevant, lack of
                             foundation/predicate, lack
                             of personal knowledge

                             Third and fourth sentence:      Overruled   Sustained
                             Not relevant, Hearsay. Lack
                             of personal knowledge, lack
                             of foundation/predicate


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                            Fifth and sixth sentence:      Overruled   Sustained
                            Not relevant, lack of
                            foundation/predicate, lack
                            of personal knowledge

                            Seventh through ninth          Overruled   Sustained
                            sentences: Not relevant,
                            Hearsay. Lack of personal
                            knowledge, lack of
                            foundation/predicate

                            Tenth sentence: Not            Overruled   Sustained
                            relevant, lack of
                            foundation/predicate, lack
                            of personal knowledge,
                            speculation

                            Eleventh sentence: Not        Overruled    Sustained
                            relevant, conclusory, lack of
                            foundation/predicate,
                            speculation

Last paragraph continuing   First sentence: Not relevant   Overruled   Sustained
to page 13                  Second sentence: Not
                            relevant, vague and
                            ambiguous, hearsay, lack of
                            foundation/predicate

                            Third sentence: Not            Overruled   Sustained
                            relevant, hearsay, lack of
                            foundation/predicate, lack
                            of personal knowledge

                            Last sentence: Not relevant,   Overruled   Sustained
                            conclusory, lack of
                            foundation/predicate,
                            speculative
Page 13, paragraph 1        Not relevant, conclusory,      Overruled   Sustained
                            lack of
                            foundation/predicate,
                            Expert testimony not
                            probative on matters of law
First paragraph under 1     Not relevant, conclusory,      Overruled   Sustained

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                              lack of foundation/predicate
                              Expert testimony not
                              probative on matters of law
All paragraphs under A        Not relevant, previous acts    Overruled    Sustained
starting on page 13 and       are outside of statute of
continuing to the second to   limitations, violates TRE
the last paragraph on page    Rule 403, lack of personal
19                            knowledge, lack of
                              foundation/predicate,
                              hearsay
                              Violates TRE 1002

                              Exhibits A3-A13 and A20- Overruled          Sustained
                              25 are not relevant, contain
                              statements outside of statute
                              of limitations, hearsay and
                              lack foundation and
                              predicate.


Page 19, bottom paragraph     First sentence: Lack of        Overruled    Sustained
                              personal knowledge

                              Second sentence: Lack of        Overruled   Sustained
                              personal knowledge, lack of
                              foundation/predicate,
                              speculative, conclusory,
                              expert opinion not reliable,
                              expert opinion not needed to
                              assist fact finder to interpret
                              words used in broadcast
                              (TRE Rule 702), opinion
                              not based on stated
                              broadcast (TRE Rule 703) –
                              Violates TRE 1002

                              Third sentence: Not           Overruled     Sustained
                              relevant; conclusory, lack of
                              foundation/predicate,
                              speculative, Expert opinion
                              not probative on question of
                              law or actual malice


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 90
                            Last sentence: Not relevant;    Overruled   Sustained
                            conclusory, lack of
                            foundation/predicate,
                            speculative, Expert opinion
                            not probative on question of
                            law or actual malice
Page 20, top paragraph      First sentence: Not relevant,   Overruled   Sustained
                            lack of personal knowledge
                            Violates TRE 1002

                            Second and third sentence:      Overruled   Sustained
                            Not relevant, lack of
                            personal knowledge,
                            conclusory, lack of
                            foundation/predicate
                            Violates TRE 1002

                            Exhibit A28 is not              Overruled   Sustained
                            authenticated, it is not
                            relevant and it is not a
                            complete transcript of that
                            broadcast.

                            Fourth sentence: Not            Overruled   Sustained
                            relevant regarding
                            accusations about a cover-
                            up, lack of personal
                            knowledge

                            Fifth and sixth sentences:      Overruled   Sustained
                            Not relevant,, lack of
                            personal knowledge

                            Exhibit A29 lacks               Overruled   Sustained
                            authentication, is not
                            relevant and is not a
                            complete copy of the
                            broadcast.
Second paragraph, page 20   Both sentences: Not             Overruled   Sustained
                            relevant and lack of
                            personal knowledge.

                            Exhibit A30 lacks               Overruled   Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 91
                            authentication, is not
                            relevant and is not a
                            complete copy of the
                            broadcast.
Third paragraph , page 20   Not relevant, lack of        Overruled    Sustained
(paragraph under B)         foundation/predicate

Fourth paragraph, page 20   All sentences: Not relevant, Overruled    Sustained
                            Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            foundation/predicate,
                            speculative
Fifth paragraph, page 20    All sentences: Not relevant, Overruled    Sustained
continuing to page 21       Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            foundation/predicate,
                            speculative
Page 21, first paragraph    First sentence: Not relevant, Overruled   Sustained
                            Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            foundation/predicate,
                            speculative, conclusory,
                            lack of personal knowledge,
                            hearsay

                            Second sentence: Not         Overruled    Sustained
                            relevant, hearsay, lack of
                            foundation/predicate

                            Third sentence: Not          Overruled    Sustained
                            relevant, hearsay, lack of
                            foundation/predicate,
                            conclusory

                            Fourth sentence and          Overruled    Sustained
                            quotation: Not relevant,
                            hearsay, lack of
                            foundation/predicate,
                            Quotation violates TRE

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 92
                            1002
Second paragraph, page 21   paragraph and quotation:        Overruled   Sustained
                            Not relevant, hearsay, lack
                            of foundation/predicate,
                            violates TRE 1002
Third paragraph, page 21    First sentence: Not relevant,   Overruled   Sustained
                            speculative, Expert opinion
                            not probative on question of
                            law, conclusory, lack of
                            foundation/predicate

                            Second sentence: Not          Overruled     Sustained
                            relevant, speculative, Expert
                            opinion not probative on
                            question of law and actual
                            malice, conclusory, lack of
                            foundation/predicate, vague
                            and ambiguous

                            Third sentence: Not             Overruled   Sustained
                            relevant, speculative, lack
                            of personal knowledge, lack
                            of foundation/predicate,
                            conclusory.


Last paragraph, page 21     First sentence: Not relevant,   Overruled   Sustained
                            Expert opinion not
                            probative on question of
                            law, lack of
                            foundation/predicate,
                            speculative, conclusory

                            Second sentence: Not         Overruled      Sustained
                            relevant, Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            foundation/predicate,
                            speculative, conclusory

                            Third sentence: Not             Overruled   Sustained
                            relevant, lack of personal
                            knowledge, lack of

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 93
                             foundation/predicate,
                             conclusory

                             Last sentence: Lack of      Overruled    Sustained
                             personal knowledge

                             Exhibit A26 is not           Overruled   Sustained
                             authenticated, and is not a
                             complete transcript of the
                             broadcast
Page 22, first paragraph:    Not relevant, Expert opinion Overruled   Sustained
                             not probative on question of
                             law and actual malice, lack
                             of foundation/predicate,
                             speculative, conclusory

Paragraph 2                  Not relevant, Expert opinion Overruled   Sustained
                             not probative on question of
                             law and actual malice, lack
                             of foundation/predicate,
                             speculative, conclusory

Second paragraph (under 2)   Not relevant, Expert opinion Overruled   Sustained
                             not probative on question of
                             law and actual malice, lack
                             of foundation/predicate,
                             speculative, conclusory

Paragraph A                  Not relevant, Expert opinion Overruled   Sustained
                             not probative on question of
                             law and actual malice, lack
                             of foundation/predicate,
                             speculative, conclusory

Third paragraph, page 22     First through third         Overruled    Sustained
(under A)                    sentences: Not relevant,
                             lack of
                             foundation/predicate,
                             speculative, conclusory

                             Fourth sentence: Defendants Overruled    Sustained
                             incorporate their objections
                             to Mr. Fredericks affidavit,

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 94
                            not relevant, hearsay, lack
                            of personal knowledge, lack
                            of foundation/predicate

                            Entire paragraph is             Overruled   Sustained
                            objectionable as it seeks to
                            bolster improper expert
                            opinion on question of law

Fourth paragraph, page 22   First sentence: Not relevant,   Overruled   Sustained
                            speculative, lack of
                            foundation/predicate,
                            conclusory

                            Second sentence: Not            Overruled   Sustained
                            relevant, hearsay, lack of
                            foundation/predicate,
                            conclusory

                            Last sentence and photos:       Overruled   Sustained
                            Not relevant, hearsay, lack
                            of foundation/predicate

                            Photos are hearsay; lack of  Overruled      Sustained
                            personal knowledge; lack of
                            authentication; lack of
                            foundation/predicate;
                            violates TRE 1002
Last paragraph, page 22     Second sentence: Not         Overruled      Sustained
continuing to page 23       relevant, Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            foundation/predicate,
                            conclusory, speculative

                            Third sentence: Not          Overruled      Sustained
                            relevant, Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            foundation/predicate,
                            conclusory, speculative

                            Fourth sentence: Not            Overruled   Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 95
                            relevant, Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            foundation/predicate,
                            conclusory, speculative
Page 23, paragraph B        Not relevant, Expert opinion Overruled     Sustained
                            not probative on question of
                            law and actual malice, lack
                            of foundation/predicate,
                            conclusory, speculative;
                            Violates TRE 403, 404 and
                            608(b)
First paragraph (under B)   Not relevant, Expert opinion Overruled     Sustained
                            not probative on question of
                            law and actual malice, lack
                            of foundation/predicate,
                            conclusory, speculative

                            Second sentence: Not        Overruled      Sustained
                            relevant, lack of personal
                            knowledge, conclusory, lack
                            of foundation/predicate

                            Exhibit A1 is not              Overruled   Sustained
                            authenticated, is not
                            relevant and is not a
                            complete transcript of the
                            broadcast.

                            Third sentence: Not         Overruled      Sustained
                            relevant, lack of personal
                            knowledge, conclusory, lack
                            of foundation/predicate

                            Fourth sentence: Not        Overruled      Sustained
                            relevant, lack of personal
                            knowledge, conclusory, lack
                            of foundation/predicate,

                            Last sentence: Not relevant,   Overruled   Sustained
                            lack of personal knowledge,
                            conclusory, lack of
                            foundation/predicate

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 96
                            Entire paragraph is            Overruled   Sustained
                            objectionable as it seeks to
                            bolster improper expert
                            opinion on question of law

Second paragraph, page 23   First paragraph: Not           Overruled   Sustained
                            relevant

                            Second sentence: Not           Overruled   Sustained
                            relevant, violates TRE 404,
                            lack of
                            foundation/predicate, lack     Overruled   Sustained
                            of personal knowledge,
                            hearsay, vague and
                            ambiguous

                            Third sentence: Not            Overruled   Sustained
                            relevant, hearsay, lack of
                            foundation/predicate,
                            conclusory

                            Entire paragraph is            Overruled   Sustained
                            objectionable as it seeks to
                            bolster improper expert
                            opinion on question of law

Third paragraph, page 23    First sentence Not relevant,   Overruled   Sustained
(above C)                   speculative, conclusory,
                            lack of personal knowledge,
                            lack of foundation/predicate

                            Second sentence: Not           Overruled   Sustained
                            relevant, vague and
                            ambiguous, lack of personal
                            knowledge

                            Third sentence: Not          Overruled     Sustained
                            relevant, Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            foundation/predicate,
                            conclusory, speculative

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 97
                            Last sentence: Not relevant, Overruled     Sustained
                            Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            foundation/predicate,
                            conclusory, speculative

                            Entire paragraph is            Overruled   Sustained
                            objectionable as it seeks to
                            bolster improper expert
                            opinion on question of law

Paragraph C                 Not relevant, Expert opinion Overruled     Sustained
                            not probative on question of
                            law and actual malice, lack
                            of foundation/predicate,
                            conclusory, speculative;
                            violates TRE 403, 404, and
                            608(b)

Last paragraph, page 23     Each sentence: Not relevant, Overruled     Sustained
(under C) continuing to     entire paragraph is
page 24                     objectionable as it seeks to
                            bolster improper expert
                            opinion on question of law
                            and actual malice, violated
                            TRE 404,403

All other paragraphs on     Not relevant, violates TRE   Overruled     Sustained
page 24                     404, 403, all paragraphs are
                            objectionable as they seek
                            to bolster improper expert
                            opinion on question of law
                            and actual malice
Page 25 photo               Not relevant, violates TRE   Overruled     Sustained
                            404, 403
Page 25, first paragraph    Not relevant, Expert opinion Overruled     Sustained
(under photo)               not probative on question of
                            law and actual malice, lack
                            of foundation/predicate,
                            conclusory, speculative


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 98
Paragraph D                 Not relevant, Expert opinion Overruled      Sustained
                            not probative on question of
                            law and actual malice, lack
                            of foundation/predicate,
                            conclusory,
Second paragraph, page 25   Not relevant, Defendants     Overruled      Sustained
(under D)                   also incorporate herein all
                            objections to Mr. Pozner’s
                            affidavit

Third paragraph             First sentence: Not relevant,   Overruled   Sustained
                            hearsay, lack of personal
                            knowledge,

                            Second sentence: Not            Overruled   Sustained
                            relevant, hearsay, lack of
                            foundation/predicate, lack
                            of personal knowledge

                            Exhibit A14 is not              Overruled   Sustained
                            authenticated, is not
                            relevant and is not a
                            complete transcript of the
                            broadcast.

                            Last sentence: Not relevant,    Overruled   Sustained
                            hearsay, lack of
                            foundation/predicate, lack
                            of personal knowledge

                            Exhibit A15 is not              Overruled   Sustained
                            authenticated, is not
                            relevant and is not a
                            complete transcript of the
                            broadcast.

                            Entire paragraph is             Overruled   Sustained
                            objectionable as it seeks to
                            bolster improper expert
                            opinion on question of law
                            and actual malice



ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 99
Fourth paragraph            Each sentence: Not relevant, Overruled     Sustained
                            lack of personal knowledge,
                            lack of
                            foundation/predicate,

                            Exhibit A16 is not             Overruled   Sustained
                            authenticated, is not
                            relevant and is not a
                            complete transcript of the
                            broadcast.


                            Entire paragraph is            Overruled   Sustained
                            objectionable as it seeks to
                            bolster improper expert
                            opinion on question of law
                            and actual malice

Page 26, first paragraph    Each sentence: Not relevant, Overruled     Sustained
                            lack of personal knowledge,
                            lack of foundation/predicate

                            Exhibits A17 and A18 are
                            not authenticated, are not
                            relevant and are not
                            complete transcripts of the
                            broadcasts.

                            Entire paragraph is            Overruled   Sustained
                            objectionable as it seeks to
                            bolster improper expert
                            opinion on question of law
                            and actual malice

Second paragraph and        Not relevant, lack of          Overruled   Sustained
quotation                   personal knowledge

                            Exhibit A19 is not             Overruled   Sustained
                            authenticated, is not
                            relevant and is not a
                            complete transcript of the
                            broadcast.


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 100
                            Entire paragraph is             Overruled   Sustained
                            objectionable as it seeks to
                            bolster improper expert
                            opinion on question of law
                            and actual malice
Third paragraph             First sentence: Not relevant,   Overruled   Sustained
                            lack of personal knowledge,
                            lack of
                            foundation/predicate,
                            conclusory

                            Second sentence: Not         Overruled      Sustained
                            relevant, Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            personal knowledge, lack of
                            foundation/predicate,
                            conclusory, speculative

Conclusion                  First sentence: Not relevant, Overruled     Sustained
                            Expert opinion not
                            probative on question of law
                            and actual malice lack of
                            personal knowledge, lack of
                            foundation/predicate,
                            conclusory, speculative

                            Second sentence: Not         Overruled      Sustained
                            relevant, Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            personal knowledge, lack of
                            foundation/predicate,
                            conclusory, speculative

                            Third sentence: Not          Overruled      Sustained
                            relevant, Expert opinion not
                            probative on question of law
                            and actual malice lack of
                            personal knowledge, lack of
                            foundation/predicate,
                            conclusory, speculative

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 101
                                 Last sentence: Not relevant, Overruled   Sustained
                                 Expert opinion not
                                 probative on question of law
                                 and actual malice, lack of
                                 personal knowledge, lack of
                                 foundation/predicate,
                                 conclusory, speculative
All websites listed in           Lack of authentication; lack Overruled   Sustained
footnotes                        of foundation/predicate; not
                                 relevant; violate TRE 404,
                                 608(b) and 703. In
                                 addition, footnotes 5, 6, 12,
                                 13, 14-18, 41-43, 45 and 47
                                 are hearsay.




Dated: September ______, 2018.




                                           JUDGE




ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 102
                                                                                     9/14/2018 5:02 PM
                                                                                                      Velva L. Price
                                                                                                     District Clerk
                                                                                                     Travis County
                                     GLAST, PHILLIPS & MURRAY
                                                                                                  D-1-GN-18-001835
                                                                                                        Terri Juarez
                                          A PROFESSIONAL CORPORATION

  MARK C. ENOCH, J.D., M.B.A.
         (972) 419-8366                                                             (972) 419-8300
      fly63rc@verizon.net                                                      FACSIMILE (469) 206-5022
                                         14801 QUORUM DRIVE, SUITE 500
                                                                                      __________
 BOARD CERTIFIED – CIVIL TRIAL LAW         DALLAS, TEXAS 75240-6657
      TEXAS BOARD OF LEGAL
         SPECIALIZATION

                                            September 14, 2018


Via email and via e-filing
Tiffaney Gould [Tiffaney.Gould@traviscountytx.gov]

Ms. Tiffaney Gould,
Court Operations Officer for
 District Judge Scott Jenkins
Heman Marion Sweatt Travis
 County Courthouse
1000 Guadalupe, 5th Floor
Austin, Texas 78701

         Re:       Neil Heslin v. Alex E. Jones, Infowars, LLC, Free Speech Systems,
                   LLC and Owen Shroyer; Cause No. D-1-GN-18-001835, 261st
                   District Court, Travis County, Texas

Dear Ms. Gould:

        I would respectfully request that the Court copy my assistant, Melanie Illig (millig@gpm-
law.com), on all email correspondence and filings entered by the Court on the above matter. She
is set up in the efile.txcourts.gov to receive efiling notifications, but I would request that she also
be copied on notifications that are sent directly by the Court.

         I am copying Mr. Bankston on this letter request. Thank you.

                                                           Respectfully,

                                                           /s/ Mark C. Enoch

                                                           Mark C. Enoch
MCE:mji

cc:      Mr. Mark Bankston (via e-service)
                                                                              9/25/2018 1:55 PM
                                                                                               Velva L. Price
                                                                                              District Clerk
                                                                                              Travis County
                                        NO. D-1-GN-18-001835                               D-1-GN-18-001835
                                                                                            Raeana Vasquez


NEIL HESLIN,                                   §                IN THE DISTRICT COURT OF
                                               §
       Plaintiff,                              §
                                               §
v.                                             §                TRAVIS COUNTY, TEXAS
                                               §
ALEX E. JONES, INFOWARS, LLC,                  §
FREE SPEECH SYSTEMS, LLC, and                  §
OWEN SHROYER,                                  §
                                               §
       Defendants                              §                261st JUDICIAL DISTRICT

             DEFENDANTS’ SECOND RENEWED REQUEST FOR RULINGS
             ON TIMELY FILED OBJECTIONS TO PLAINTIFF’S EVIDENCE

       COME NOW, Defendants Alex E. Jones, Infowars, LLC, Free Speech Systems, LLC,

and Owen Shroyer (collectively, the “Defendants”), and hereby file this their Second Renewed

Request for Rulings on Timely Filed Objections to Plaintiff’s Evidence and in support of same

would respectfully show this Honorable Court as follows:

       Defendants filed their Motion to Dismiss Under the Texas Citizens Participation Act

(Act) in this case on July 13, 2018. Notice of the hearing date of August 30, 2018 on that motion

was sent to Plaintiffs on July 19, 2018. Plaintiffs filed their Response to Defendants’ Motion to

Dismiss under the Texas Citizens Participation Act and attached affidavits on August 27, 2018.

Prior to the date of the hearing, on August 29, Defendants served and filed their Objections to

Plaintiff’s Evidence Submitted in Response to Defendants’ Motion to Dismiss Under the Texas

Participation Act. Defendants’ filed their Request for Rulings on Timely Filed Objections to

Plaintiff’s Evidence on September 11, 2018.

       On August 17, 2018 Plaintiff filed his Motion for Sanctions and Motion for Expedited

Discovery.    On August 23, 2018 Defendants filed their Response to these motions and

Defendants amended this Response on August 27, 2018 and the Court set those motions and
responses for hearing at the same time as it was to hear the Defendants’ TCPA motion. For all

these motions, the Court allotted each side approximately one hour to present argument and

evidence.

           Though prepared to argue at the hearing Defendants’ objections to Plaintiff’s evidence

submitted prior to the hearing, at the hearing on August 30 it was clear that there would be

insufficient time to argue the objections. Under §27.005 of the Act, this Court must rule on

Defendants’ motion no later than the thirtieth (30th) day after that hearing.

           Defendants formally renew their request that this Honorable Court make its rulings on all

of their objections prior to its ruling on the motion.1

                                                      PRAYER

           Wherefore, Defendants pray that this Honorable Court make and enter its rulings on

Defendants’ Objections to Plaintiff’s Evidence Submitted in Response to Defendants’ Motion to

Dismiss before it rules on Defendants’ Motion to Dismiss under the Texas Citizens Participation

Act, that the Court sustain those objections and strike the related evidence and that the Court

make such other rulings as it deems just and equitable.




1
    A proposed order is again attached hereto for the convenience of the Court.

DEFENDANTS’ SECOND RENEWED REQUEST FOR RULINGS ON TIMELY FILED OBJECTIONS
TO PLAINTIFF’S EVIDENCE – Page 2
                                           RESPECTFULLY SUBMITTED,

                                           GLAST, PHILLIPS & MURRAY, P.C.


                                                  /s/ Mark C. Enoch
                                           Mark C. Enoch
                                           State Bar No. 06630360

                                           14801 Quorum Drive, Suite 500
                                           Dallas, Texas 75254-1449
                                           Telephone:     972-419-8366
                                           Facsimile:     972-419-8329
                                           fly63rc@verizon.net

                                           ATTORNEYS FOR DEFENDANTS



                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been served
upon the parties listed below via efile.txcourts.gov’s e-service system on September 25, 2018:

Mark Bankston
Kyle Farrar
Kaster, Lynch, Farrar & Ball, LLP.
1010 Lamar, Suite 1600
Houston, Texas 77002


                                                        /s/ Mark C. Enoch
                                                  Mark C. Enoch




DEFENDANTS’ SECOND RENEWED REQUEST FOR RULINGS ON TIMELY FILED OBJECTIONS
TO PLAINTIFF’S EVIDENCE – Page 3
                                    NO. D-1-GN-18-001835

NEIL HESLIN,                                    §               IN THE DISTRICT COURT OF
                                                §
       Plaintiff,                               §
                                                §
v.                                              §               TRAVIS COUNTY, TEXAS
                                                §
ALEX E. JONES, INFOWARS, LLC,                   §
FREE SPEECH SYSTEMS, LLC, and                   §
OWEN SHROYER,                                   §
                                                §
       Defendants                               §               261st JUDICIAL DISTRICT

                 ORDER ON DEFENDANTS’ OBJECTIONS TO
 PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO DEFENDANTS’ MOTION
       TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT

       CAME ON TO BE HEARD on the 30th day of August, 2018, Defendants Alex E. Jones,

Infowars, LLC, Free Speech Systems, LLC, and Owen Shroyer’s Motion to Dismiss Under the

Texas Citizens Participation Act. The Court having considered the Defendants’ Objections to

Plaintiff’s Evidence submitted in response to Defendants’ Motion and having heard the argument

of counsel, the Court finds as to the Defendants’ Objections to Plaintiff’s Evidence submitted in

Response to Defendants’ Motion as follows:

                    1.    OBJECTIONS TO AFFIDAVIT OF FRED ZIPP

Zipp Affidavit Exhibits A-1        Objections                      Court’s Ruling on
to A-23                                                            Objection
     Exhibits A-1 to A-23          Hearsay Tex. R. Evid. R.        Overruled    Sustained
                                   802
     Exhibits A-1 to A-23          Not relevant – Tex. R.          Overruled       Sustained
                                   Evid. R. 402
     Exhibits A-1 to A-23          Prejudice outweighs             Overruled       Sustained
                                   relevance – Tex. R. Evid.
                                   403
     Exhibits A-1 to A-23          Violates best evidence rule     Overruled       Sustained
                                   Tex. R. Evid. R. 1002, 1003
     Exhibits A-1 to A-23          No authentication – Tex. R.     Overruled       Sustained
                                   Evid. R. 901
                              Objections to Specific Statements

       Affidavit              Objections                   Court’s Ruling on
Statements                                                 Objection
Page 1, First paragraph       Lack of                      Overruled    Sustained
under Scope of Review         foundation/predicate
“whether assertions could
be responsibly published”     Not Relevant                 Overruled    Sustained

                              Vague and Ambiguous          Overruled    Sustained

                              Hearsay                      Overruled    Sustained

8 bullet points under Scope   Lack of                      Overruled      Sustained
of Review                     foundation/predicate

                              Lack of identification of    Overruled      Sustained
                              materials reviewed

                              Hearsay                      Overruled      Sustained

Page 2, First paragraph       Not relevant                 Overruled      Sustained
under Background
Knowledge of InfoWars,        Hearsay                      Overruled      Sustained
second sentence
Second paragraph under        Vague and Ambiguous          Overruled      Sustained
Background Knowledge of
InfoWars “significant         Conclusory                   Overruled      Sustained
amount of time”

Second paragraph under        Conclusory                   Overruled      Sustained
Background Knowledge of
Infowars, second sentence     Lack of
                              foundation/predicate         Overruled      Sustained

                              Not relevant                 Overruled      Sustained


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 2
Third paragraph under        Conclusory                   Overruled     Sustained
Background Knowledge of
Infowars, second sentence    Violates TRE 404             Overruled     Sustained

                             Lack of                      Overruled     Sustained
                             foundation/predicate
Fourth paragraph under       Not relevant                 Overruled     Sustained
Background Knowledge of
Infowars,                    Hearsay                      Overruled     Sustained

                             Lack of
                             predicate/foundation         Overruled     Sustained

                             Conclusory                   Overruled     Sustained

Page 3, First paragraph      Conclusory                   Overruled     Sustained
under number 1, first
sentence                     Lack of
                             foundation/predicate         Overruled     Sustained

                             Not relevant                 Overruled     Sustained

                             Lack of personal             Overruled     Sustained
                             knowledge

                             Statements of what was in    Overruled     Sustained
                             June 26 and July 20 videos
                             are hearsay, lack a
                             foundation and predicate
                             and are not complete

                             Best evidence rule           Overruled     Sustained

Page 3, middle three         Violates TRE 1002 – best     Overruled     Sustained
paragraphs                   evidence rule

                             Hearsay                      Overruled     Sustained
Last paragraph under         Statements of what was in    Overruled     Sustained
number 1 at bottom of page   June 26 and July 20 videos
3 and continuing to page 4   are hearsay, lack a
beginning “My review…”       foundation and predicate
                             and are not complete


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 3
Paragraph beginning “My      Speculation                    Overruled   Sustained
review…”
                             Lack of personal               Overruled   Sustained
                             knowledge

                             Lack of                        Overruled   Sustained
                             foundation/predicate

                             Conclusory                     Overruled   Sustained

                             Not relevant                   Overruled   Sustained

                             Violates TRE 403               Overruled   Sustained
Same paragraph, fourth and   Not relevant                   Overruled   Sustained
fifth sentence
                             Not probative                  Overruled   Sustained

                             Improper opinion of expert     Overruled   Sustained
                             on question of law

                             Lack of personal               Overruled   Sustained
                             knowledge

                             Lack of                        Overruled   Sustained
                             foundation/predicate

                             Speculation                    Overruled   Sustained
Under “Opinions”             Not relevant                   Overruled   Sustained
Page 4, first paragraph
                             violates TRE 404               Overruled   Sustained

                             violates best evidence rule    Overruled   Sustained
                             conclusory

                             lack of foundation/predicate Overruled     Sustained

                             hearsay                        Overruled   Sustained

                             lack of personal knowledge     Overruled   Sustained

                             speculation as to state mind   Overruled   Sustained
                             and intent
p. 5, 1st paragraph          Not relevant                   Overruled   Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 4
                            violates TRE 404               Overruled    Sustained

                            violates best evidence rule    Overruled    Sustained

                            conclusory                     Overruled    Sustained

                            lack of foundation/predicate Overruled      Sustained

                            hearsay                        Overruled    Sustained

                            lack of personal knowledge     Overruled    Sustained

                            speculation as to state mind   Overruled    Sustained
                            and intent
p. 5, 2nd paragraph         Not relevant                   Overruled    Sustained

                            violates TRE 404               Overruled    Sustained

                            violates best evidence rule    Overruled    Sustained

                            conclusory                     Overruled    Sustained

                            lack of foundation/predicate Overruled      Sustained

                            hearsay                        Overruled    Sustained

                            lack of personal knowledge     Overruled    Sustained

                            speculation as to state mind   Overruled    Sustained
                            and intent
p. 6, 1st paragraph         Not relevant                   Overruled    Sustained

                            violates TRE 404               Overruled    Sustained

                            violates best evidence rule    Overruled    Sustained

                            conclusory                     Overruled    Sustained

                            lack of foundation/predicate Overruled      Sustained

                            hearsay                        Overruled    Sustained


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 5
                                lack of personal knowledge     Overruled   Sustained

                                speculation as to state mind
                                and intent
p. 6, 2nd paragraph             Not relevant                   Overruled   Sustained

                                violates TRE 404               Overruled   Sustained

                                violates best evidence rule    Overruled   Sustained

                                conclusory                     Overruled   Sustained

                                lack of foundation/predicate Overruled     Sustained

                                hearsay                        Overruled   Sustained

                                lack of personal knowledge     Overruled   Sustained

                                speculation as to state mind   Overruled   Sustained
                                and intent
p. 7, 1st paragraph             Not relevant                   Overruled   Sustained

                                violates TRE 404               Overruled   Sustained

                                violates best evidence rule    Overruled   Sustained

                                conclusory                     Overruled   Sustained

                                lack of foundation/predicate Overruled     Sustained

                                hearsay                        Overruled   Sustained

                                lack of personal knowledge     Overruled   Sustained

                                speculation as to state mind   Overruled   Sustained
                                and intent
p. 7, under A., 1st paragraph   Not relevant                   Overruled   Sustained

                                violates best evidence rule    Overruled   Sustained

                                conclusory                     Overruled   Sustained

                                lack of foundation/predicate Overruled     Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 6
                            hearsay                        Overruled    Sustained

                            lack of personal knowledge     Overruled    Sustained

                            speculation as to state mind   Overruled    Sustained
                            and intent
p. 7 second paragraph       Hearsay TRE 801                Overruled    Sustained
through penultimate
paragraph on p. 13          Violates best evidence rule    Overruled    Sustained
                            TRE 1002, 1003

                            Repeating videos needless      Overruled    Sustained
                            presentation of cumulative
                            evidence TRE 403

                            Not relevant TRE 402           Overruled    Sustained

                            No predicate of personal       Overruled    Sustained
                            knowledge TRE 602
p. 7, last paragraph, 1st   Outside scope of expert        Overruled    Sustained
sentence, “numerous false   specialty -- TRE 702
and irresponsible claims”
                            Invades province of the fact Overruled      Sustained
                            finder – TRE 702, GTE,
                            998 S.W. 2d 605, 620

                            Conclusory without bases –     Overruled    Sustained
                            TRE 703

                            Improper for opinion           Overruled    Sustained
                            witness just choosing sides
                            on the case outcome. See
                            Gutierrez v. State, No. 04-
                            03-00396-CR, 2005 Tex.
                            App. LEXIS 1430, at *7
                            (App.—San Antonio Feb.
                            23, 2005)

p. 7, 1st full paragraph,   Outside scope of expert        Overruled    Sustained
“false statements”          specialty -- TRE 702

                            Invades province of the fact Overruled      Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 7
                                finder – TRE 702, GTE,
                                998 S.W. 2d 605, 620

                                Conclusory without bases –    Overruled   Sustained
                                TRE 703

                                Improper for opinion          Overruled   Sustained
                                witness just choosing sides
                                on the case outcome. See
                                Gutierrez v. State, No. 04-
                                03-00396-CR, 2005 Tex.
                                App. LEXIS 1430, at *7
                                (App.—San Antonio Feb.
                                23, 2005)

p. 10, 2nd paragraph, 1st       Outside scope of expert       Overruled   Sustained
sentence “false claims”         specialty -- TRE 702

                                Invades province of the fact Overruled    Sustained
                                finder – TRE 702, GTE,
                                998 S.W. 2d 605, 620

                                Conclusory without bases –    Overruled   Sustained
                                TRE 703

                                Improper for opinion          Overruled   Sustained
                                witness just choosing sides
                                on the case outcome. See
                                Gutierrez v. State, No. 04-
                                03-00396-CR, 2005 Tex.
                                App. LEXIS 1430, at *7
                                (App.—San Antonio Feb.
                                23, 2005)

p. 10, last paragraph, “prior   Outside scope of expert       Overruled   Sustained
false claims”                   specialty -- TRE 702

                                Invades province of the fact Overruled    Sustained
                                finder – TRE 702, GTE,
                                998 S.W. 2d 605, 620

                                Conclusory without bases –    Overruled   Sustained
                                TRE 703

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 8
                             Improper for opinion          Overruled    Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

p. 11, last paragraph, 2nd   Not relevant TRE 402          Overruled    Sustained
sentence – “numerous false
claims . . . made over the   No predicate of personal      Overruled    Sustained
years”                       knowledge TRE 602

                             Outside scope of expert       Overruled    Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled     Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Violates best evidence rule   Overruled    Sustained
                             TRE 1002, 1003

                             Conclusory without bases –    Overruled    Sustained
                             TRE 703

                             Improper for opinion          Overruled    Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

p. 12, last paragraph –      Not relevant -- TRE 402       Overruled    Sustained
“false claims … chilling
finale”                      No predicate of personal      Overruled    Sustained
                             knowledge -- TRE 602

                             Outside scope of expert       Overruled    Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 9
                              specialty -- TRE 702

                              Invades province of the fact Overruled     Sustained
                              finder – TRE 702, GTE,
                              998 S.W. 2d 605, 620

                              Violates best evidence rule   Overruled    Sustained
                              -- TRE 1002, 1003

                              Conclusory without bases –    Overruled    Sustained
                              TRE 703

                              Improper for opinion          Overruled    Sustained
                              witness just choosing sides
                              on the case outcome. See
                              Gutierrez v. State, No. 04-
                              03-00396-CR, 2005 Tex.
                              App. LEXIS 1430, at *7
                              (App.—San Antonio Feb.
                              23, 2005)

p. 13, 1st full paragraph – “is Not relevant TRE 402        Overruled    Sustained
the subject of a separate
lawsuit . . . De La Rosa”       Prejudice outweighs         Overruled    Sustained
                                relevance – TRE 403
        st                  nd
p. 13, 1 full paragraph, 2      Not relevant TRE 402        Overruled    Sustained
sentence – “false
accusation”                     Prejudice outweighs         Overruled    Sustained
                                relevance – TRE 403

                              No predicate of personal      Overruled    Sustained
                              knowledge TRE 602

                              Outside scope of expert       Overruled    Sustained
                              specialty -- TRE 702

                              Invades province of the fact Overruled     Sustained
                              finder – TRE 702, GTE,
                              998 S.W. 2d 605, 620

                              Violates best evidence rule   Overruled    Sustained
                              TRE 1002, 1003


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 10
                                 Conclusory without bases –    Overruled   Sustained
                                 TRE 703

                                 Improper for opinion          Overruled   Sustained
                                 witness just choosing sides
                                 on the case outcome. See
                                 Gutierrez v. State, No. 04-
                                 03-00396-CR, 2005 Tex.
                                 App. LEXIS 1430, at *7
                                 (App.—San Antonio Feb.
                                 23, 2005)

p. 13, 2nd full paragraph, 3rd   Not relevant TRE 402          Overruled   Sustained
sentence – “waffled on”
                                 Prejudice outweighs           Overruled   Sustained
                                 relevance – TRE 403

                                 Outside scope of expert       Overruled   Sustained
                                 specialty -- TRE 702

                                 Invades province of the fact Overruled    Sustained
                                 finder – TRE 702, GTE,
                                 998 S.W. 2d 605, 620

                                 Violates best evidence rule   Overruled   Sustained
                                 TRE 1002, 1003

                                 Conclusory without bases –    Overruled   Sustained
                                 TRE 703

                                 Improper for opinion          Overruled   Sustained
                                 witness just choosing sides
                                 on the case outcome. See
                                 Gutierrez v. State, No. 04-
                                 03-00396-CR, 2005 Tex.
                                 App. LEXIS 1430, at *7
                                 (App.—San Antonio Feb.
                                 23, 2005)

p. 14, 1st full paragraph        Opinion not relevant TRE      Overruled   Sustained
                                 402

                                 Speculation, no predicate of Overruled    Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 11
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
p. 14, 2nd full paragraph    Opinion not relevant --       Overruled     Sustained
                             TRE 402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 12
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
p. 14, 3rd full paragraph    Opinion not relevant TRE      Overruled     Sustained
                             402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Last sentence and quote:      Overruled     Sustained
                             Hearsay TRE 802

                             Not relevant – TRE 402        Overruled     Sustained

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 13
                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
p. 14, last paragraph        Hearsay TRE 802               Overruled     Sustained

                             Not relevant – TRE 402        Overruled     Sustained

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
p. 15, 1st full paragraph    Opinion not relevant TRE      Overruled     Sustained
                             402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Last sentence and quote:
                             Hearsay TRE 802               Overruled     Sustained

                             Not relevant – TRE 402        Overruled     Sustained

                             Prejudice outweighs           Overruled     Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 14
                             relevance – TRE 403

                             Violates best evidence rule
                             TRE 1002, 1003
p. 15, 2nd full paragraph    Opinion not relevant --       Overruled     Sustained
                             TRE 402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

p. 15, heading at 2.         Opinion not relevant TRE      Overruled     Sustained
                             402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 15
                              Conclusory without bases –    Overruled    Sustained
                              TRE 703

                              Improper for opinion          Overruled    Sustained
                              witness just choosing sides
                              on the case outcome. See
                              Gutierrez v. State, No. 04-
                              03-00396-CR, 2005 Tex.
                              App. LEXIS 1430, at *7
                              (App.—San Antonio Feb.
                              23, 2005)

p. 15, under heading 2, 1st   Opinion not relevant TRE      Overruled    Sustained
paragraph                     402

                              Speculation, no predicate of Overruled     Sustained
                              personal knowledge -- TRE
                              602

                              Outside scope of expert       Overruled    Sustained
                              specialty -- TRE 702

                              Invades province of the fact Overruled     Sustained
                              finder – TRE 702, GTE,
                              998 S.W. 2d 605, 620

                              Conclusory without bases –    Overruled    Sustained
                              TRE 703

                              Improper for opinion          Overruled    Sustained
                              witness just choosing sides
                              on the case outcome. See
                              Gutierrez v. State, No. 04-
                              03-00396-CR, 2005 Tex.
                              App. LEXIS 1430, at *7
                              (App.—San Antonio Feb.
                              23, 2005)

p. 15, heading A              Opinion not relevant TRE      Overruled    Sustained
                              402

                              Speculation, no predicate of Overruled     Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 16
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

p. 15, last paragraph        Opinion not relevant TRE      Overruled     Sustained
                             402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-

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                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Sentences 5, 6, 7, 8, & 9:
                             Hearsay TRE 802               Overruled     Sustained

                             Not relevant – TRE 402        Overruled     Sustained

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
p. 16, 1st paragraph         Opinion not relevant TRE      Overruled     Sustained
                             402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

p. 16, heading B             Opinion not relevant TRE      Overruled     Sustained
                             402

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 18
                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

p. 16, 2nd full paragraph    Opinion not relevant TRE      Overruled     Sustained
                             402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703
                                                           Overruled     Sustained
                             Improper for opinion
                             witness just choosing sides

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 19
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Hearsay TRE 802               Overruled     Sustained

                             Not relevant – TRE 402        Overruled     Sustained

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
p. 16, 3rd full paragraph    Opinion not relevant TRE      Overruled     Sustained
with indent                  402 – “unhinged crank,”
                             “disturbing,” “ridiculous,”
                             “bizarre”

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702 --
                             “unhinged crank,”
                             “disturbing,” “ridiculous,”
                             “bizarre”

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620 --
                             “unhinged crank,”
                             “disturbing,” “ridiculous,”
                             “bizarre”

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703 -- “unhinged
                             crank,” “disturbing,”
                             “ridiculous,” “bizarre”


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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 20
                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Hearsay TRE 802               Overruled     Sustained

                             Not relevant – TRE 402        Overruled     Sustained

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003

p. 16, last paragraph and    Opinion not relevant TRE      Overruled     Sustained
photo on page 17             402 – “purported”

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             No authentication – TRE       Overruled     Sustained
                             901 -- photo

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-

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                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Not relevant – TRE 402        Overruled     Sustained

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
        st
p. 17, 1 full paragraph with Opinion not relevant TRE      Overruled     Sustained
indent                       402 – “bizarre,” “anti-
                             Semitic rants”

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)


                             Hearsay TRE 802               Overruled     Sustained

                             Not relevant – TRE 402        Overruled     Sustained

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 22
                                Violates best evidence rule   Overruled   Sustained
                                TRE 1002, 1003
p. 17, last full paragraph an   Opinion not relevant TRE      Overruled   Sustained
1st photo on p. 18              402 – “obsessed”

                                Speculation, no predicate of Overruled    Sustained
                                personal knowledge -- TRE
                                602

                                Outside scope of expert
                                specialty -- TRE 702          Overruled   Sustained

                                Invades province of the fact Overruled    Sustained
                                finder – TRE 702, GTE,
                                998 S.W. 2d 605, 620

                                Conclusory without bases –    Overruled   Sustained
                                TRE 703

                                Improper for opinion          Overruled   Sustained
                                witness just choosing sides
                                on the case outcome. See
                                Gutierrez v. State, No. 04-
                                03-00396-CR, 2005 Tex.
                                App. LEXIS 1430, at *7
                                (App.—San Antonio Feb.
                                23, 2005)

                                Hearsay TRE 802               Overruled   Sustained

                                Not relevant – TRE 402        Overruled   Sustained

                                Prejudice outweighs           Overruled   Sustained
                                relevance – TRE 403

                                Violates best evidence rule   Overruled   Sustained
                                TRE 1002, 1003

                                No authentication – TRE      Overruled    Sustained
                                901 - photo
p. 18, only paragraph and       Speculation, no predicate of Overruled    Sustained
photo                           personal knowledge -- TRE
                                602

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 23
                             Conclusory without bases –     Overruled    Sustained
                             TRE 703

                             Hearsay TRE 802                Overruled    Sustained

                             Not relevant – TRE 402         Overruled    Sustained

                             Prejudice outweighs            Overruled    Sustained
                             relevance – TRE 403

                             Violates best evidence rule    Overruled    Sustained
                             TRE 1002, 1003
p. 19, 1st paragraph         Opinion not relevant TRE       Overruled    Sustained
                             402 – “no rational
                             journalist,” “for anything,”
                             “improbable,” “uncritical,”
                             “reckless,” “deceptive"

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert        Overruled    Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –     Overruled    Sustained
                             TRE 703

                             Improper for opinion           Overruled    Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Hearsay TRE 802                Overruled    Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 24
                             Statements not relevant –     Overruled     Sustained
                             TRE 402

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
p. 19, heading C             Opinion not relevant TRE      Overruled     Sustained
                             402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Hearsay TRE 802               Overruled     Sustained

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
p. 19, 2nd full paragraph    Opinion not relevant TRE      Overruled     Sustained
                             402 – “wild,” falsehoods,”
                             “debunked,” “malicious”


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 25
                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Hearsay TRE 802               Overruled     Sustained

                             Not relevant – TRE 402 –      Overruled     Sustained
                             “five years”

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003
p. 19, 3rd full paragraph    Opinion not relevant TRE      Overruled     Sustained
                             402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702


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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 26
                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Hearsay TRE 802               Overruled     Sustained

                             Not relevant – TRE 402        Overruled     Sustained

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003

                             Ambiguous and vague –         Overruled     Sustained
                             “made a variety of factual
                             allegations,” “various
                             claims,” “wide variety”
p. 19, 4th full paragraph    Opinion not relevant TRE      Overruled     Sustained
                             402 – “ample,”
                             “enormous,” extreme,”
                             “outcry,” “unlikely,”
                             “intentionally,”
                             “reasonable,” “entertain
                             serious doubts,” “desire to
                             mislead”

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602 -- “ample,”
                             “enormous,” extreme,”

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 27
                             “outcry,” “unlikely,”
                             “intentionally,”
                             “reasonable,” “entertain
                             serious doubts,” “desire to
                             mislead”

                             Outside scope of expert        Overruled    Sustained
                             specialty -- TRE 702 --
                             “ample,” “enormous,”
                             extreme,” “outcry,”
                             “unlikely,” “intentionally,”
                             “reasonable,” “entertain
                             serious doubts,” “desire to
                             mislead”

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –     Overruled    Sustained
                             TRE 703

                             Improper for opinion           Overruled    Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Not relevant – TRE 402         Overruled    Sustained

                             Prejudice outweighs            Overruled    Sustained
                             relevance – TRE 403

                             Violates best evidence rule    Overruled    Sustained
                             TRE 1002, 1003

                             Vague and ambiguous --         Overruled    Sustained
                             “ample,” “enormous,”
                             extreme,” “outcry,”
                             “unlikely,” “intentionally,”

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 28
                              “reasonable,” “entertain
                              serious doubts,” “desire to
                              mislead”
p. 19, heading D              Opinion not relevant TRE      Overruled    Sustained
                              402

                              Speculation, no predicate of Overruled     Sustained
                              personal knowledge -- TRE
                              602

                              Outside scope of expert       Overruled    Sustained
                              specialty -- TRE 702

                              Invades province of the fact Overruled     Sustained
                              finder – TRE 702, GTE,
                              998 S.W. 2d 605, 620

                              Conclusory without bases –    Overruled    Sustained
                              TRE 703

                              Improper for opinion          Overruled    Sustained
                              witness just choosing sides
                              on the case outcome. See
                              Gutierrez v. State, No. 04-
                              03-00396-CR, 2005 Tex.
                              App. LEXIS 1430, at *7
                              (App.—San Antonio Feb.
                              23, 2005)

                              Hearsay TRE 802               Overruled    Sustained

                              Violates best evidence rule   Overruled    Sustained
                              TRE 1002, 1003

                              Ambiguous and vague           Overruled    Sustained
p. 19, last paragraph,        Opinion not relevant TRE      Overruled    Sustained
continuing to p. 20 – “rise   402
to notoriety,” coincided,”
“boast,” “considered by       Speculation, no predicate of Overruled     Sustained
many”                         personal knowledge -- TRE
                              602

                              Outside scope of expert       Overruled    Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 29
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Hearsay TRE 802               Overruled     Sustained

                             No authentication or          Overruled     Sustained
                             predicate for documentary
                             cites – TRE 902, TRE 802

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003

                             Statements not relevant –     Overruled     Sustained
                             TRE 402

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403
p. 20, 1st full paragraph    Hearsay TRE 802               Overruled     Sustained

                             No authentication or          Overruled     Sustained
                             predicate for documentary
                             cites – TRE 902, TRE 802

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003

                             Statements not relevant –     Overruled     Sustained
                             TRE 402

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 30
                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403
p. 20, 2nd full paragraph    Hearsay TRE 802               Overruled     Sustained

                             Statements not relevant –     Overruled     Sustained
                             TRE 402

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403
p. 20, 3rd full paragraph    Hearsay TRE 802               Overruled     Sustained

                             No authentication or          Overruled     Sustained
                             predicate for documentary
                             cites – TRE 902, TRE 802

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003

                             Statements not relevant –     Overruled     Sustained
                             TRE 402

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403
p. 20, last paragraph and    Opinion not relevant TRE      Overruled     Sustained
photo on p. 21               402 – “similar”

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Hearsay TRE 802               Overruled     Sustained


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                             No authentication or          Overruled     Sustained
                             predicate for photo – TRE
                             902, TRE 802

                             Violates best evidence rule   Overruled     Sustained
                             TRE 1002, 1003

                             Statements not relevant –     Overruled     Sustained
                             TRE 402

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403
p. 21, 1st full paragraph    Opinion not relevant TRE      Overruled     Sustained
                             402

                             Speculation, no predicate of Overruled      Sustained
                             personal knowledge -- TRE
                             602

                             Outside scope of expert       Overruled     Sustained
                             specialty -- TRE 702

                             Invades province of the fact Overruled      Sustained
                             finder – TRE 702, GTE,
                             998 S.W. 2d 605, 620

                             Conclusory without bases –    Overruled     Sustained
                             TRE 703

                             Improper for opinion          Overruled     Sustained
                             witness just choosing sides
                             on the case outcome. See
                             Gutierrez v. State, No. 04-
                             03-00396-CR, 2005 Tex.
                             App. LEXIS 1430, at *7
                             (App.—San Antonio Feb.
                             23, 2005)

                             Statements not relevant –     Overruled     Sustained
                             TRE 402

                             Prejudice outweighs           Overruled     Sustained
                             relevance – TRE 403

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 32
p. 21, after Conclusion –      Opinion not relevant TRE      Overruled   Sustained
“evidence I have reviewed,”    402
“failed to use reasonable
care,” “entertained serious    Speculation, no predicate of Overruled    Sustained
doubts,” “acting with intent   personal knowledge -- TRE
to deceive,” “reckless         602
disregard,” “falsity,”
“harmful,” “subject him to     Outside scope of expert       Overruled   Sustained
public contempt, hate or       specialty -- TRE 702
ridicule”
                               Invades province of the fact Overruled    Sustained
                               finder – TRE 702, GTE,
                               998 S.W. 2d 605, 620

                               Conclusory without bases –    Overruled   Sustained
                               TRE 703

                               Vague and ambiguous.          Overruled   Sustained

                               Improper for opinion
                               witness just choosing sides
                               on the case outcome. See
                               Gutierrez v. State, No. 04-
                               03-00396-CR, 2005 Tex.
                               App. LEXIS 1430, at *7
                               (App.—San Antonio Feb.
                               23, 2005)

                               Hearsay TRE 802               Overruled   Sustained

                               Statements not relevant –
                               TRE 402

                               Prejudice outweighs           Overruled   Sustained
                               relevance – TRE 403

                               Vague and ambiguous           Overruled   Sustained




ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 33
            2.      OBJECTIONS TO AFFIDAVIT OF BROOKE BINKOWSKI

Binkowski Affidavit                Objections                         Court’s Ruling on
                                                                      Objection
Qualifications                     No predicate to show expert        Overruled      Sustained
                                   qualifications. TRE 702
Relevance; Question of Law         Issue of whether Defendants        Overruled      Sustained
                                   defamed Plaintiff by
                                   innuendo, this is a question of
                                   law. TRE 702
                                   Ms. Binkowski’s statement          Overruled      Sustained
                                   (last paragraph on page 2) to
                                   the effect that a viewer “could
                                   reasonably interpret these
                                   comments as asserting that the
                                   Sandy Hook shooting was
                                   staged and that [Plaintiffs]
                                   were not real parents” is an
                                   opinion on a question of law
                                   and no bases. TRE 702, 703
                                   Ms. Binkowski’s last opinion       Overruled      Sustained
                                   (on page 3), that “this” “fits a
                                   larger pattern of behavior [of
                                   routinely denigrating victims
                                   of shootings]” - Not relevant
                                   TRE 402
                                   Ms. Binkowski does not             Overruled      Sustained
                                   identify the data; conclusory,
                                   no bases TRE 704


 The Court further finds as to Ms. Binkowski’s opinion as follows:

                    Paragraph Affidavit Objections            Court’s Ruling on
                                                              Objection
             11                    Not relevant TRE 402 Overruled Sustained

                                   No assistance to fact      Overruled Sustained
                                   finder -- TRE 702

                                   Invades province of   Overruled Sustained
                                   the fact finder – TRE
                                   702, GTE, 998 S.W.
                                   2d 605, 620

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 DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 34
                             Conclusory without   Overruled Sustained
                             bases – TRE 703
          14                 Not relevant TRE 402 Overruled Sustained

                             No predicate of         Overruled Sustained
                             personal knowledge
                             TRE 602

                             No assistance to fact   Overruled Sustained
                             finder -- TRE 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Violates best           Overruled Sustained
                             evidence rule TRE
                             1002, 1003

                             Conclusory without      Overruled Sustained
                             bases – TRE 703

          16                 Not relevant TRE 402 Overruled Sustained

                             Outside scope of        Overruled Sustained
                             expert specialty --
                             TRE 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Violates best           Overruled Sustained
                             evidence rule TRE
                             1002, 1003

                             “significant:”          Overruled Sustained
                             Conclusory without
                             bases – TRE 703


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 35
          17                 Not relevant – TRE      Overruled Sustained
                             401, 402

          18                 Not relevant TRE 402 Overruled Sustained

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Violates best           Overruled Sustained
                             evidence rule TRE
                             1002, 1003

                             “notable,” “not         Overruled Sustained
                             consistently” --
                             Conclusory without
                             bases – TRE 703
          19                 Violates best           Overruled Sustained
                             evidence rule TRE
                             1002, 1003

          20                 Not relevant TRE 402 Overruled Sustained

                             No assistance to fact   Overruled Sustained
                             finder -- TRE 702

                             “ambiguous,”          Overruled Sustained
                             “reasonably” --
                             Invades province of
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Violates best           Overruled Sustained
                             evidence rule TRE
                             1002, 1003

                             Conclusory without      Overruled Sustained
                             bases – TRE 703

          21                 Not relevant & no       Overruled Sustained
                             assistance to fact

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 36
                             finder – TRE 401,
                             402, 702

                             No predicate for        Overruled Sustained
                             expert testimony –
                             TRE 703

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703
          22                 Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901
          23                 Not relevant & no       Overruled Sustained
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Hearsay – TRE           Overruled Sustained
                             801(d), 802

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 37
          24                 Not relevant & no       Overruled Sustained
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Hearsay – TRE           Overruled Sustained
                             801(d), 802

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703
          25                 Not relevant & no       Overruled Sustained
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Hearsay – TRE           Overruled Sustained
                             801(d), 802

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 38
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703
          27                 Hearsay – TRE           Overruled Sustained
                             801(d), 802

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

          28                 Not relevant & no       Overruled Sustained
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Hearsay – TRE           Overruled Sustained
                             801(d), 802

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703
          29                 Not relevant & no       Overruled Sustained
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Hearsay – TRE           Overruled Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 39
                             801(d), 802

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901
          30                 Opinion not relevant    Overruled Sustained
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703
          31                 Opinion not relevant    Overruled Sustained
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 40
                             knowledge – TRE
                             701, 702, 703

          32                 “callously,”            Overruled Sustained
                             “sickening,” and
                             “own opinion” --
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          33                 “own assertion,”        Overruled Sustained
                             “false,” “not
                             contradicted” --
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 41
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          34                 “deceptively edited”    Overruled Sustained
                             -- Opinion not
                             relevant & no
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          34                 “deceptively” --        Overruled Sustained
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 42
                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          35                 “reinforces” --         Overruled Sustained
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          36                 Opinion not relevant    Overruled Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 43
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge,
                             speculation – TRE
                             701, 702, 703

          37                 Opinion not relevant    Overruled Sustained
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             “continuously           Overruled Sustained
                             debunked”--
                             Conclusory, lack of

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 44
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          38                 Opinion not relevant    Overruled Sustained
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          39                 Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          40                 Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 45
                             knowledge – TRE
                             701, 702, 703

          41                 “likewise traffics fake Overruled Sustained
                             news” -- Opinion not
                             relevant & no
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          42                 Not relevant – TRE      Overruled Sustained
                             401, 402

                             Hearsay – TRE 802       Overruled Sustained

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 46
                             knowledge – TRE
                             701, 702, 703

          43                 Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          44                 Opinion not relevant    Overruled Sustained
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          45                 Invades province of   Overruled Sustained
                             the fact finder – TRE

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 47
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          46                 Not relevant – TRE      Overruled Sustained
                             402

                             Relevance               Overruled Sustained
                             outweighed by unfair
                             prejudice, confusion,
                             & misleading – TRE
                             403

                             Hearsay – TRE 802       Overruled Sustained

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          47                 “fake news items” --    Overruled Sustained
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 48
                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          48 and two photos Best Evidence Rule –     Overruled Sustained
                            TRE 1001, 1002,
                            1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          49                 “fake news” --          Overruled Sustained
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge,
                             speculation – TRE
                             701, 702, 703

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 49
          50                 Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          51                 Opinion not relevant    Overruled Sustained
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          52                 “fake news,”            Overruled Sustained
                             “dangerous,”
                             “conspiracy” --
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620


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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 50
                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge,
                             speculation as to
                             intent – TRE 701,
                             702, 703

          53                 “intentionally          Overruled Sustained
                             deceptive,”
                             “recklessly
                             disregarded,”
                             “deceptive” --
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge,
                             speculation – TRE
                             602, 701, 702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          54                 “outlandish,”           Overruled Sustained
                             “inherently
                             improbable,”

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 51
                             “obviously dubious” -
                             - Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Conclusory, lack of      Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)


          55                 Opinion not relevant     Overruled Sustained
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Conclusory, lack of      Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge,

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 52
                             speculation as to state
                             of mind – TRE 701,
                             702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          56                 Opinion not relevant      Overruled Sustained
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Conclusory, lack of       Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          57                 “directly contradicts”    Overruled Sustained

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 53
                             -- Opinion not
                             relevant & no
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          58                 Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Relevance               Overruled Sustained
                             outweighed by unfair

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                             prejudice, confusion,
                             misleading and
                             cumulative – TRE
                             403

          59                 Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Relevance               Overruled Sustained
                             outweighed by unfair
                             prejudice, confusion,
                             misleading and
                             cumulative – TRE
                             403

          60                 “too suggest” some      Overruled Sustained
                             fact -- Opinion not
                             relevant & no
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained

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                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Relevance               Overruled Sustained
                             outweighed by unfair
                             prejudice, confusion,
                             misleading and
                             cumulative – TRE
                             403

          61                 “dishonest” --          Overruled Sustained
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Relevance               Overruled Sustained
                             outweighed by unfair
                             prejudice, confusion,
                             misleading and
                             cumulative – TRE

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 56
                             403

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          62                 “clear” “chose not to   Overruled Sustained
                             do so” -- Opinion not
                             relevant & no
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge,
                             speculation as to state
                             of mind – TRE 701,
                             702, 703

                             Relevance               Overruled Sustained

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                             outweighed by unfair
                             prejudice, confusion,
                             misleading and
                             cumulative – TRE
                             403

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          63                 “clear” “deceptively    Overruled Sustained
                             edited” “give the
                             appearance” --
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 58
                             701, 702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          64                 “abundance of           Overruled Sustained
                             primary sources” --
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

          65                 “no reasonable basis”   Overruled Sustained
                             -- Opinion not
                             relevant & no

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                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          66                 “only way a journalist Overruled Sustained
                             could support”
                             “intentionally
                             distorting” “source
                             material demonstrates
                             that is exactly what
                             occurred in this case”
                             -- Opinion not
                             relevant & no
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

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                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          67                 “video contains no      Overruled Sustained
                             such statements” --
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE

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DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 61
                             701, 702, 703

          68                 “injurious motive”      Overruled Sustained
                             “clearly an attack”
                             “pleaded” “false” --
                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –     Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          69                 “clearly provoked a     Overruled Sustained
                             retaliation” --

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                             Opinion not relevant
                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –      Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             No authentication –       Overruled Sustained
                             TRE 901

                             Hearsay – TRE 802         Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge,
                             speculation as to state
                             of mind – TRE 701,
                             702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          70                 “clear” “part of          Overruled Sustained
                             ongoing effort to
                             support and justify”
                             “vile five-year lie” --
                             Opinion not relevant

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                             & no assistance to
                             fact finder – TRE
                             401, 402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –    Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             Hearsay – TRE 802       Overruled Sustained

                             Conclusory, lack of     Overruled Sustained
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          71                 “in horror”            Overruled Sustained
                             “repeatedly”
                             “systematically”
                             “distorted”
                             “misrepresented”
                             “false” -- Opinion not
                             relevant & no
                             assistance to fact
                             finder – TRE 401,
                             402, 702


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                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Best Evidence Rule –     Overruled Sustained
                             TRE 1001, 1002,
                             1007

                             Hearsay – TRE 802        Overruled Sustained

                             Conclusory, lack of
                             foundation/predicate,
                             lack of personal
                             knowledge – TRE
                             701, 702, 703

                             Improper for opinion Overruled Sustained
                             witness just choosing
                             sides on the case
                             outcome. See
                             Gutierrez v. State,
                             No. 04-03-00396-CR,
                             2005 Tex. App.
                             LEXIS 1430, at *7
                             (App.—San Antonio
                             Feb. 23, 2005)

          72                 “clear” “in bad faith”   Overruled Sustained
                             “utter contempt for
                             the truth” -- Opinion
                             not relevant & no
                             assistance to fact
                             finder – TRE 401,
                             402, 702

                             Invades province of   Overruled Sustained
                             the fact finder – TRE
                             702, GTE, 998 S.W.
                             2d 605, 620

                             Conclusory, lack of      Overruled Sustained
                             foundation/predicate,

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                              lack of personal
                              knowledge – TRE
                              701, 702, 703

                              Improper for opinion Overruled Sustained
                              witness just choosing
                              sides on the case
                              outcome. See
                              Gutierrez v. State,
                              No. 04-03-00396-CR,
                              2005 Tex. App.
                              LEXIS 1430, at *7
                              (App.—San Antonio
                              Feb. 23, 2005)



              3.     OBJECTIONS TO AFFIDAVIT OF NEIL HESLIN

            Paragraph Affidavit Objections                   Court’s Ruling on
                                                             Objection
      Paragraph 2        Mr. Heslin’s assertion, without     Overruled Sustained
                         specifying what publications he
                         claims constitute “lies” make his
                         assertion irrelevant and thus
                         inadmissible under Tex. R. Evid.
                         R. 401. The assertion also
                         violates the “best evidence” rule
                         (Tex. R. Evid. R. 1002). Mr.
                         Heslin’s assertion without
                         specifying what “occasions”
                         make his assertion irrelevant and
                         thus inadmissible under Tex. R.
                         Evid. R. 401. The assertion also
                         violates the “best evidence” rule
                         (Tex. R. Evid. R. 1002).

      Paragraph 4        This paragraph is evidently         Overruled Sustained
                         calculated to portray Mr. Heslin
                         as not a public figure or quasi-
                         public figure. As such it is
                         irrelevant under Tex. R. Evid. R.
                         401 and R. 701 because whether
                         someone is a public figure is a


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                          question of law for the Court.
                          See Klentzman v. Brady, 312
                          S.W.3d 886, 904 (Tex. App. -
                          Houston [1st Dist.] 2009, no pet.)
                          Also Mr. Heslin’s subjective
                          intent is irrelevant; whether he is
                          a public figure can only be
                          determined by compiling and
                          analyzing objective facts.
                          Accordingly this paragraph is
                          irrelevant under Tex. R. Evid. R.
                          401 and R. 701.

      Paragraphs 5, 6     Relevance (Tex. R. Evid. R. 401). Overruled Sustained
                          Whether Mr. Heslin was invited
                          or sought out the public fora
                          doesn’t matter. No one told him
                          he had to give interviews; he was
                          not under subpoena. As long as
                          he was not coerced, only the fact
                          that he made public appearances
                          matters.

      Paragraphs 7 - 14   Relevance, Tex. R. Evid. R. 401.      Overruled Sustained
                          Mr. Heslin’s subjective feelings,
                          motive and intent are irrelevant;
                          it’s what he did that matters.
      Paragraph 15        The authentic record of the           Overruled Sustained
                          interview is the best evidence of
                          what was said or not said. Mr.
                          Heslin’s summation violates the
                          best evidence rule (Tex. R. Evid.
                          R. 102).

      Paragraph 16        Relevance, Tex. R. Evid. R. 401.      Overruled Sustained
                          This is Mr. Heslin’s own
                          summary of his actions and
                          reactions.
      Paragraph 17        Relevance, Tex. R. Evid. R. 401.      Overruled Sustained
                          Mr. Heslin’s subjective feelings,
                          motive and intent are irrelevant;
                          it’s what he did that matters. The
                          authentic record of the interview
                          is the best evidence of what was
                          said or not said. Mr. Heslin’s
                          summation violates the best

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                           evidence rule (Tex. R. Evid. R.
                           1002).

      Paragraphs 18 - 21   The authentic record of the           Overruled Sustained
                           interview is the best evidence of
                           what was said or not said. Mr.
                           Heslin’s summation violates the
                           best evidence rule (Tex. R. Evid.
                           R. 1002).

      Paragraphs 22 - 27   In these paragraphs Mr. Heslin        Overruled Sustained
                           attempts to present evidence to
                           establish mental anguish as an
                           element of damages. These
                           paragraphs are irrelevant and
                           inadmissible under Tex. R. Evid.
                           R. 401 because the substantive
                           law applicable to such damages,
                           and in defamation cases in
                           particular, makes the averments
                           irrelevant.
                                         Mental anguish
                                          damages may not
                                          be recovered in a
                                          per quod case.
                                          Mr. Heslin has
                                          alleged – but has
                                          produced no
                                          evidence to
                                          establish-
                                          defamation per se.
                                         Perhaps words
                                          cannot describe
                                          the mental anguish
                                          Mr. Heslin has
                                          sustained as a
                                          result of the death
                                          of his son, but that
                                          does not mean it
                                          does not exist.
                                          However, Mr.
                                          Heslin does not
                                          take this into
                                          account. In
                                          paragraphs 26 and
                                          27 he attempts to

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                                       attribute his
                                       alleged mental
                                       anguish to the
                                       June 26, 2017
                                       publication alone
                                       and provides no
                                       evidence of how
                                       this was caused by
                                       that video.
                                      In the entirety of
                                       paragraphs 21 -27
                                       Mr. Heslin fails to
                                       account for other
                                       actors who may
                                       have caused his
                                       alleged mental
                                       anguish. Mr.
                                       Heslin is
                                       attributing to this
                                       publication the
                                       criminal activity of
                                       others over whom
                                       Defendants have
                                       no control and
                                       provides no
                                       evidence of how
                                       this was caused by
                                       that video.
                                      As for out-of-
                                       pocket expenses
                                       (paragraphs 28-31)
                                       Mr. Heslin’s
                                       declaration does
                                       not amount to
                                       legally sufficient
                                       evidence because
                                       (1) the evidence
                                       that the
                                       publication at
                                       issue was a
                                       producing cause or
                                       a proximate cause
                                       is legally
                                       insufficient to
                                       establish that Mr.
                                       Heslin’s need for


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                                      counseling was a
                                      result of the
                                      publication and
                                      not something
                                      else; the evidence
                                      is legally
                                      insufficient to
                                      establish a
                                      temporal nexus
                                      between the
                                      publication and the
                                      counseling thus
                                      raising the
                                      inference that the
                                      counseling was a
                                      result of the
                                      publication and
                                      not something else
                                      (paragraph 28).
                                      The same is true of
                                      the other expenses
                                      (paragraphs 29-
                                      31): even
                                      assuming that Mr.
                                      Heslin’s security
                                      concerns were
                                      justified, the
                                      evidence that the
                                      publication – and
                                      not the actions of
                                      others – was a
                                      producing cause is
                                      legally
                                      insufficient; (2)
                                      There is no
                                      evidence that these
                                      out-of-pocket
                                      expenditures were
                                      reasonable in
                                      amount.




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      4.     OBJECTIONS TO AFFIDAVIT OF H. WAYNE CARVER, II, M.D.

      Paragraph           Affidavit Objections                 Court’s Ruling on
                                                               Objection
      Paragraphs 3 – 10   Relevance; The averments of          Overruled Sustained
                          these paragraphs do not make any
                          relevant fact more likely than not
                          and do not aid the fact-trier in
                          resolving any issue. Thus these
                          statements are irrelevant under
                          Tex. R. Evid. R. 401 and 701.

      Paragraph 11        Dr. Carver’s professed               Overruled Sustained
                          “familiar[ity]” with Defendants is
                          irrelevant under Evid. Rules 401
                          and 701. He does not state the
                          source of his averred familiarity.
                          Is he a regular viewer? Or is his
                          “familiar[ity]” based on what
                          others have told him? (In which
                          case his averment is inadmissible
                          hearsay.) The second sentence of
                          paragraph 11 is objectionable for
                          the same reasons. The third
                          sentence is objectionable because
                          (a) Newtown, Connecticut’s at-
                          large population is not a party to
                          this case so any community
                          feeling of angst is irrelevant (Tex.
                          R. Evid. R. 401); (b) Dr. Carver
                          does not state his qualifications to
                          express an opinion on public
                          sentiment in Newtown,
                          Connecticut; and (c) Dr. Carver
                          does not state the underlying
                          basis for his opinion.

      Paragraphs 12 and   Relevance (Tex. R. Evid. R.          Overruled Sustained
      13                  401); Authenticity (Tex. R. Evid.
                          R. 1002)
                          Dr. Carver does not
                          adequately establish that
                          what he viewed is the


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                           original publication or
                           some other iteration.
                           Whether the statements
                           referred to the Plaintiff is
                           a matter of law for the
                           Court. Newspapers, Inc.
                           v. Matthews, 339 S.W.2d
                           890, 893 (Tex. 1960).

      Paragraphs 14 – 17   Relevance (Tex. R. Evid. R. 401)    Overruled Sustained
                           Whether a statement is
                           defamatory is a question
                           of law for the Court. His
                           opinion is therefore not
                           probative. See Bingham
                           v. Southwestern Bell
                           Yellow Pages, Inc., 2008
                           Tex. App. LEXIS 463 *9
                           - *10 (Tex. App. – Ft.
                           Worth 2001, no pet.)
                           (citing Musser v. Smith
                           Protective Svcs., Inc., 723
                           S.W.2d 653, 655 (Tex.
                           1987). The test is how the
                           statement would be
                           construed by the average
                           reasonable person or the
                           general public. See Arant
                           v. Jaffe, 436 S.W.2d 169,
                           176 (Tex. App. – Dallas
                           1968, no writ). Whether
                           the statements referred to
                           the Plaintiff is a matter of
                           law for the Court.
                           Newspapers, Inc. v.
                           Matthews, 339 S.W.2d
                           890, 893 (Tex. 1960).

                                    Whether Dr. Carver is an
                           “average reasonable person,” or
                           falls in some other category, his
                           idiosyncratic spin on the
                           broadcast at issue is irrelevant
                           because it usurps the function of
                           the Court.



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      Paragraph 18         Relevance (Tex R. Evid.           Overruled Sustained
                           R. 401, 701 and 703)
                           Dr. Carver does not state any
                           facts that support his opinion.
                           His “personal involvement” is too
                           vague to comprise an adequate
                           basis for his opinion.

      Paragraphs 19 – 21   Relevance (Tex. R. Evid. R. 401) Overruled Sustained
                                    Whether a statement is
                           defamatory is a question of law
                           for the Court. His opinion is
                           therefore not probative. See
                           Bingham v. Southwestern Bell
                           Yellow Pages, Inc., 2008 Tex.
                           App. LEXIS 463 *9 - *10 (Tex.
                           App. – Ft. Worth 2001, no pet.)
                           (citing Musser v. Smith Protective
                           Svcs., Inc., 723 S.W.2d 653, 655
                           (Tex. 1987). The test is how the
                           statement would be construed by
                           the average reasonable person or
                           the general public. See Arant v.
                           Jaffe, 436 S.W.2d 169, 176 (Tex.
                           App. – Dallas 1968, no writ).
                                    Whether Dr. Carver is an
                           “average reasonable person,” or
                           falls in some other category, his
                           idiosyncratic spin on the
                           broadcast at issue is irrelevant
                           because it usurps the function of
                           the Court. Whether the statements
                           referred to the Plaintiff is a matter
                           of law for the Court.
                           Newspapers, Inc. v. Matthews,
                           339 S.W.2d 890, 893 (Tex.
                           1960).



            5.       OBJECTIONS TO AFFIDAVIT OF SCARLETT LEWIS

      Paragraph            Affidavit Objections            Court’s Ruling on
                                                           Objection



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      Bullet points 5-10   Ms. Lewis sets out her                Overruled Sustained
                           “understanding[s]” derived from
                           watching a youtube video. None
                           of her alleged understandings is
                           relevant under Tex. R. Evid. R.
                           401 because whether a statement
                           is defamatory is a question of
                           law. Whether a statement is
                           defamatory is a question of law
                           for the Court. Her
                           “understanding” (ie. opinion) is
                           therefore not probative. See
                           Bingham v. Southwestern Bell
                           Yellow Pages, Inc., 2008 Tex.
                           App. LEXIS 463 *9 - *10 (Tex.
                           App. – Ft. Worth 2001, no pet.)
                           (citing Musser v. Smith Protective
                           Svcs., Inc., 723 S.W.2d 653, 655
                           (Tex. 1987). The test is how the
                           statement would be construed by
                           the average reasonable person or
                           the general public. See Arant v.
                           Jaffe, 436 S.W.2d 169, 176 (Tex.
                           App. – Dallas 1968, no writ).
                           Whether the statements referred
                           to the Plaintiff is a matter of law
                           for the Court. Newspapers, Inc.
                           v. Matthews, 339 S.W.2d 890,
                           893 (Tex. 1960).
                                    Whether Ms. Lewis is an
                           “average reasonable person,” or
                           falls in some other category, her
                           idiosyncratic spin on the
                           broadcast at issue is irrelevant
                           because it usurps the function of
                           the Court. Whether the statements
                           referred to the Plaintiff is a matter
                           of law for the Court.
                           Newspapers, Inc. v. Matthews,
                           339 S.W.2d 890, 893 (Tex.
                           1960).




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             4.       OBJECTIONS TO AFFIDAVIT OF JOHN CLAYTON

                  Affidavit Objections                  Court’s Ruling on
                                                        Objection
                  Rule 703 Relevance                    Overruled Sustained
                  The issue before the Court is
                  whether the 2017 publication
                  made the basis of this case is
                  defamatory. This is a question of
                  law. See Bently v. Bunton, 94
                  S.W.3d 561, 580 (Tex. 2003);
                  Campbell v. Clark, 471 S.W.3d
                  615, 624 (Tex. App. – Dallas
                  2015, no pet.); Main v. Royall,
                  348 S.W.3d 381, 389 (Tex. App.
                  – Dallas 2011, no pet.). Mr.
                  Clayton’s unsupported opinions
                  regarding Mr. Jones’s fidelity to
                  some unidentified journalistic
                  standard(s) has no bearing on this
                  issue.
                          There is no basis for Mr.
                  Clayton’s implied premise that
                  persons who disseminate
                  information through the use of
                  social media (or “alternative
                  media” in Mr. Clayton’s words)
                  are to be held to the same
                  standards of journalism as print
                  or electronic (radio, TV)
                  reporters. Indeed, there is much
                  debate and no consensus on the
                  question. This Court is not the
                  forum for resolving this issue.

                  Reliability                           Overruled Sustained
                  Mr. Clayton’s tirade against his
                  former employer is filled with
                  conclusions, but is woefully short
                  on facts to support his opinions.
                  From the affidavit, it appears that
                  Mr. Clayton last worked for or
                  with Mr. Jones some nine years
                  ago. (Affidavit paragraph 5) It
                  does not appear that Mr. Clayton
                  is familiar with the publications

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               at issue in this case. One of the
               requisites of reliability is that the
               opinion testimony must be tied to
               the facts of the case. Exxon
               Pipeline Co. v. Zwahr, 88 S.W.3d
               623, 629 (Tex. 2002). It is
               difficult to see how Mr. Clayton’s
               testimony can meet this test when
               he does not even profess to have
               any knowledge of those facts.

               Rule 404 Relevance                  Overruled Sustained
               The accusations that Mr. Jones
               “no longer had any commitment
               to the principles and philosophy
               of the independent media
               movement (Id., paragraph 6),” “it
               became apparent that he made a
               conscious decision not to care
               about accuracy” (Id., paragraph
               8) and “it become [sic] standard
               practice in InfoWars to disregard
               basic protocols in journalism”
               (Id., paragraph 9) violate Tex. R.
               Evid. R. 404(a)(1) prohibiting
               evidence of a character trait to
               prove that in a particular instance
               the actor acted in accordance with
               that trait.

               Rule 406 Relevance                 Overruled Sustained
               For evidence of routine or habit
               to be admissible under Rule 406,
               it must establish a regular
               response to a repeated specific
               situation. See Ortiz v. Glusman,
               334 S.W.3d 812, 816 (Tex. App.
               – El Paso 2011, pet. den.);
               Johnson v. City of Houston, 928
               S.W.2d 251, 254 (Tex. App. –
               Houston [14th Dist.] 1996 no
               writ). Although Mr. Clayton
               alludes to many occasions, he
               cites no examples. This Court
               must take his word that they exist
               and that the undescribed incidents

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                 are sufficiently similar.


                 Rule 403 Relevance                  Overruled Sustained
                 Even if the Court determines that
                 the undescribed (as to time, place,
                 parties or substance) incidents are
                 relevant, the prejudice of
                 allowing Mr. Clayton’s testimony
                 is far outweighed by the danger
                 of unfair prejudice and confusing
                 the issues. In order to determine
                 admissibility, the Court would
                 have to try each instance to
                 determine whether it occurred
                 and whether it evidences malice
                 toward the truth in connection
                 with the publication made the
                 basis of this case. Certainly Mr.
                 Clayton has no right to usurp the
                 Court’s duties in this regard by
                 substituting his judgment for the
                 Court’s.
                         If the undescribed
                 incidents are inadmissible,
                 because Plaintiffs have failed to
                 make any showing that they were
                 reasonably relied upon by Mr.
                 Clayton (Indeed, how can the
                 Court make such a determination
                 absent any description?) Mr.
                 Clayton’s opinions founded upon
                 them are not admissible.




            7.      OBJECTIONS TO AFFIDAVIT OF MARCUS TURNINI

             Affidavit and Exhibit Objections             Court’s Ruling on
                                                          Objection
             The exhibits were unlawfully obtained        Overruled Sustained
             in that they were evidently obtained for
             use in the litigation in violation of §9.1
             of the Infowars terms of service which

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            provides:
               “You may not copy or otherwise
               attempt to benefit or assist others
               to benefit, directly or indirectly,
               from use of our Licensed
               Materials or intellectual property
               of third parties other than through
               normal use of the Website.”

            Relevance (Evid. R. 401). The material      Overruled Sustained
            deals with use by licensed subscribers of
            the Infowars Website. It has nothing to
            do with whether the publication made
            the basis of this case is defamatory or
            any of the sub-issues (i.e. public or
            quasi:-public figure, malice).




                         8.      OBJECTIONS TO EXHIBIT I

               Objections                            Court’s Ruling on
                                                     Objection
               1.     It is not authenticated as     Overruled Sustained
               required by Tex. R. Evid. R. 901.

               2.     It is not self-                Overruled Sustained
               authenticating as permitted under
               Tex. R. Evid. R. 902(2);

               3.     It is not relevant under
               Tex. R. Evid. R. 401.                 Overruled Sustained

               4.     Any relevancy is far
               outweighed by the prejudice           Overruled Sustained
               engendered by the document
               under Tex. R. Evid. R. 403.

               5.     It is hearsay and contains     Overruled Sustained
               hearsay within hearsay.

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          9.    OBJECTIONS TO EXHIBIT J - AFFIDAVIT OF FRED ZIPP

Affidavit Statements        Objections                   Court’s Ruling on Objection
Page 1, First paragraph     Lack of                      Overruled    Sustained
under Scope of Review       foundation/predicate
“whether assertions could
be responsibly published”   Not Relevant                 Overruled    Sustained

                            Vague and Ambiguous          Overruled    Sustained

                            Hearsay                      Overruled    Sustained

                            Lack of                      Overruled    Sustained
                            foundation/predicate

                            Lack of identification of    Overruled    Sustained
                            materials reviewed

                            Hearsay                      Overruled    Sustained

Page 2, First paragraph     Not relevant                 Overruled    Sustained
under Background
Knowledge of InfoWars,      Hearsay                      Overruled    Sustained
second sentence
Second paragraph under      Vague and Ambiguous          Overruled    Sustained
Background Knowledge of
InfoWars “significant       Conclusory                   Overruled    Sustained
amount of time”

Second paragraph under      Conclusory                   Overruled    Sustained
Background Knowledge of
Infowars, second sentence   Lack of                      Overruled    Sustained
                            foundation/predicate

                            Not relevant                 Overruled    Sustained

Third paragraph under       Conclusory                   Overruled    Sustained
Background Knowledge of
Infowars, second sentence   Violates TRE 404             Overruled    Sustained

                            Lack of                      Overruled    Sustained

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                              foundation/predicate
Fourth paragraph under        Not relevant                 Overruled   Sustained
Background Knowledge of
Infowars,                     Hearsay                      Overruled   Sustained

                              Lack of
                              predicate/foundation         Overruled   Sustained

                              Conclusory                   Overruled   Sustained

Page 3, First paragraph       Conclusory                   Overruled   Sustained
under number 1, first
sentence                      Lack of                      Overruled   Sustained
                              foundation/predicate

                              Not relevant                 Overruled   Sustained

                              Lack of personal knowledge Overruled     Sustained

                              Exhibit A-26 is hearsay,     Overruled   Sustained
                              lacks a foundation and
                              predicate and is not
                              complete

Page 3, middle three          Violates TRE 1002            Overruled   Sustained
paragraphs
Last paragraph under          Vague and Ambiguous          Overruled   Sustained
number 1 at bottom of the     (“suggests”)
page and continuing to page
4 beginning “My review…”      Lack of personal knowledge Overruled     Sustained
First and second sentence.
                              Lack of
                              foundation/predicate         Overruled   Sustained

                              Conclusory                   Overruled   Sustained

                              Not relevant                 Overruled   Sustained

                              Hearsay as to second and     Overruled   Sustained
                              third sentence
Same paragraph, third         Defendants incorporate the   Overruled   Sustained
sentence                      same objections to this
                              sentence as they stated to

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                             the affidavit and
                             conclusions of Mr.
                             Fredericks.

                             Not relevant                    Overruled   Sustained

                             Violates TRE 403                Overruled   Sustained

                             Hearsay                         Overruled   Sustained

                             Lack of                         Overruled   Sustained
                             foundation/predicate
Same paragraph, fourth and   Not relevant                    Overruled   Sustained
fifth sentence
                             Not probative                   Overruled   Sustained

                             Improper opinion of expert      Overruled   Sustained
                             on question of law

                             Lack of personal knowledge Overruled        Sustained

                             Lack of                         Overruled   Sustained
                             foundation/predicate

                             Speculation                     Overruled   Sustained

Page 4, first paragraph      First sentence: Not relevant,   Overruled   Sustained
under paragraph 2.           violates TRE 404,
                             conclusory, lack of
                             foundation/predicate,
                             hearsay, lack of personal
                             knowledge

                             Second sentence: Not        Overruled       Sustained
                             relevant, vague and
                             ambiguous, conclusory, lack
                             of foundation/predicate,
                             lack of personal knowledge,
                             hearsay

                             Third sentence: Not         Overruled       Sustained
                             relevant, vague and
                             ambiguous, conclusory, lack

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                              of foundation/predicate,
                              lack of personal knowledge,

First paragraph under 2. A.   Not relevant                    Overruled   Sustained

                              Lack of persona knowledge       Overruled   Sustained


Second paragraph under 2.     Not relevant                    Overruled   Sustained
A.
                              Hearsay                         Overruled   Sustained

                              Lack of                         Overruled   Sustained
                              foundation/predicate
Third paragraph under 2. A.   First sentence: Not relevant,   Overruled   Sustained
                              conclusory, speculative

                              Second and third sentence:      Overruled   Sustained
                              Not relevant, hearsay, lack
                              of personal knowledge, lack
                              of foundation/predicate,
Page 5, top paragraph         Not relevant,                   Overruled   Sustained
(under two top photos)
                              speculative,                    Overruled   Sustained

                              hearsay,                        Overruled   Sustained

                              conclusory,                     Overruled   Sustained

                              lack of personal knowledge,     Overruled   Sustained

                              lack of foundation/predicate    Overruled   Sustained

Bottom paragraph (under       Not relevant,                   Overruled   Sustained
two lower photographs)
                              speculative,                    Overruled   Sustained

                              hearsay,                        Overruled   Sustained

                              conclusory,                     Overruled   Sustained

                              lack of personal knowledge,     Overruled   Sustained


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                             lack of foundation/predicate   Overruled   Sustained

Bottom paragraph (under      Not relevant,                  Overruled   Sustained
two lower photographs)
                             speculative,                   Overruled   Sustained

                             hearsay,                       Overruled   Sustained

                             conclusory,                    Overruled   Sustained

                             lack of personal knowledge,    Overruled   Sustained

                             lack of foundation/predicate   Overruled   Sustained
Page 7, photo                Not relevant                   Overruled   Sustained

                             Hearsay                        Overruled   Sustained

                             Lack of                        Overruled   Sustained
                             foundation/predicate
Page 7, top paragraph        Not relevant,                  Overruled   Sustained
(under photo and above B.)
                             speculative,                   Overruled   Sustained

                             hearsay,                       Overruled   Sustained

                             conclusory,                    Overruled   Sustained

                             lack of personal knowledge,    Overruled   Sustained

                             lack of foundation/predicate   Overruled   Sustained
Paragraph B.                 Not relevant                   Overruled   Sustained

                             Conclusory                     Overruled   Sustained

                             lack of personal knowledge,    Overruled   Sustained

                             lack of foundation/predicate   Overruled   Sustained

Last paragraph (under B)     Not relevant                   Overruled   Sustained

                             Conclusory                     Overruled   Sustained

                             lack of personal knowledge,    Overruled   Sustained

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                            lack of foundation/predicate   Overruled   Sustained

                            Exhibit 24 is not complete     Overruled   Sustained

Page 8, top photo           Not relevant                   Overruled   Sustained

                            Hearsay                        Overruled   Sustained

                            Lack of                        Overruled   Sustained
                            foundation/predicate
Page 8, top paragraph       Not relevant                   Overruled   Sustained

                            Conclusory                     Overruled   Sustained

                            Hearsay                        Overruled   Sustained

                            Lack of                        Overruled   Sustained
                            foundation/predicate

                            Lack of personal knowledge Overruled       Sustained

                            Violates TRE 1002
Lower photo                 Hearsay                        Overruled   Sustained

                            Not relevant                   Overruled   Sustained

                            Lack of                        Overruled   Sustained
                            foundation/predicate
Bottom paragraph            Not relevant                   Overruled   Sustained

                            Hearsay                        Overruled   Sustained

                            Lack of personal knowledge Overruled       Sustained

                            Lack of                        Overruled   Sustained
                            foundation/predicate

                            Conclusory                     Overruled   Sustained

                            Violates TRE 1002              Overruled   Sustained
Page 9 photo                Not relevant                   Overruled   Sustained


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                            Hearsay                       Overruled   Sustained

                            Lack of                       Overruled   Sustained
                            foundation/predicate

First paragraph             First sentence:

                            Not relevant,                 Overruled   Sustained

                            Lack of personal              Overruled   Sustained
                            knowledge,

                            Lack of                       Overruled   Sustained
                            foundation/predicate,

                            conclusory                    Overruled   Sustained

                            Second sentence: Not          Overruled   Sustained
                            relevant,

                            Lack of personal              Overruled   Sustained
                            knowledge,

                            Lack of                       Overruled   Sustained
                            foundation/predicate,

                            conclusory,                   Overruled   Sustained

                            speculative                   Overruled   Sustained

                            Third sentence:

                            “did not reasonably suggest   Overruled   Sustained
                            any cover-up or
                            manipulation”: Not
                            relevant,
                            Lack of
                            foundation/predicate,
                            conclusory, speculative

                            Fourth sentence: Not          Overruled   Sustained
                            relevant,
                            Lack of personal

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                            knowledge, Lack of
                            foundation/predicate,
                            conclusory

                            Violates TRE 1002               Overruled   Sustained

Paragraph C.                Not relevant                    Overruled   Sustained

                            Lack of personal knowledge Overruled        Sustained

Last paragraph              First sentence: Not relevant, Overruled     Sustained
                            Lack of personal knowledge

                            Second and third sentence:      Overruled   Sustained
                            Not relevant,
                            Lack of personal
                            knowledge, Lack of
                            foundation/predicate,
                            conclusory, hearsay

                            Violates TRE 1002               Overruled   Sustained

Page 10 photo               Not relevant                    Overruled   Sustained

                            Hearsay                         Overruled   Sustained

                            Lack of
                            foundation/predicate            Overruled   Sustained

Paragraph D.                Not relevant, Lack of           Overruled   Sustained
                            personal knowledge

First paragraph under D.    First sentence: Not relevant,   Overruled   Sustained
                            lack of personal knowledge

                            Second sentence: Not            Overruled   Sustained
                            relevant, lack of personal
                            knowledge

                            Third sentence: Not             Overruled   Sustained
                            relevant, lack of personal
                            knowledge, hearsay


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                            Exhibit A2 is hearsay, lacks    Overruled   Sustained
                            a foundation and predicate
                            and is not complete.

                            Last sentence: Not relevant,    Overruled   Sustained
                            lack of personal knowledge
Bottom paragraph            Not relevant                    Overruled   Sustained

                            Hearsay                         Overruled   Sustained

                            Lack of personal knowledge Overruled        Sustained

                            Lack of                         Overruled   Sustained
                            foundation/predicate

                            Conclusory                      Overruled   Sustained

Page 11, photo              Not relevant                    Overruled   Sustained

                            Hearsay                         Overruled   Sustained

                            Lack of                         Overruled   Sustained
                            foundation/predicate
First paragraph (above E)   First sentence: Not relevant,   Overruled   Sustained
                            lack of personal knowledge,
                            lack of foundation/predicate
                            conclusory

                            Second sentence: Not            Overruled   Sustained
                            relevant, lack of personal
                            knowledge, lack of
                            foundation/predicate
                            conclusory

                            Last sentence: Not relevant,    Overruled   Sustained
                            lack of personal knowledge,
                            lack of foundation/predicate
                            conclusory

Paragraph E                 Not relevant, Lack of           Overruled   Sustained
                            personal knowledge

                            Violates TRE 1002               Overruled   Sustained

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First paragraph under E.     Both sentences: Not             Overruled   Sustained
                             relevant, Lack of personal
                             knowledge

                             Violates TRE 1002               Overruled   Sustained

Bottom paragraph             First sentence: Not relevant,   Overruled   Sustained
                             Lack of personal
                             knowledge, lack of
                             foundation/predicate,
                             speculative, hearsay,
                             conclusory – Violates TRE
                             1002

                             Second sentence: Not            Overruled   Sustained
                             relevant, Lack of personal
                             knowledge

                             Third sentence: Not             Overruled   Sustained
                             relevant, Lack of personal
                             knowledge, lack of
                             foundation/predicate,
                             hearsay

                             Fourth and fifth sentence       Overruled   Sustained
                             including caption
                             continuing on page 12: lack
                             of foundation/predicate,
                             hearsay
Page 12, top paragraph and   Not relevant, Hearsay, lack     Overruled   Sustained
captions                     of foundation/predicate

Middle paragraph             First and second sentence:      Overruled   Sustained
                             Not relevant, lack of
                             foundation/predicate, lack
                             of personal knowledge

                             Third and fourth sentence:      Overruled   Sustained
                             Not relevant, Hearsay. Lack
                             of personal knowledge, lack
                             of foundation/predicate


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                            Fifth and sixth sentence:      Overruled   Sustained
                            Not relevant, lack of
                            foundation/predicate, lack
                            of personal knowledge

                            Seventh through ninth          Overruled   Sustained
                            sentences: Not relevant,
                            Hearsay. Lack of personal
                            knowledge, lack of
                            foundation/predicate

                            Tenth sentence: Not            Overruled   Sustained
                            relevant, lack of
                            foundation/predicate, lack
                            of personal knowledge,
                            speculation

                            Eleventh sentence: Not        Overruled    Sustained
                            relevant, conclusory, lack of
                            foundation/predicate,
                            speculation

Last paragraph continuing   First sentence: Not relevant   Overruled   Sustained
to page 13                  Second sentence: Not
                            relevant, vague and
                            ambiguous, hearsay, lack of
                            foundation/predicate

                            Third sentence: Not            Overruled   Sustained
                            relevant, hearsay, lack of
                            foundation/predicate, lack
                            of personal knowledge

                            Last sentence: Not relevant,   Overruled   Sustained
                            conclusory, lack of
                            foundation/predicate,
                            speculative
Page 13, paragraph 1        Not relevant, conclusory,      Overruled   Sustained
                            lack of
                            foundation/predicate,
                            Expert testimony not
                            probative on matters of law
First paragraph under 1     Not relevant, conclusory,      Overruled   Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 89
                              lack of foundation/predicate
                              Expert testimony not
                              probative on matters of law
All paragraphs under A        Not relevant, previous acts    Overruled    Sustained
starting on page 13 and       are outside of statute of
continuing to the second to   limitations, violates TRE
the last paragraph on page    Rule 403, lack of personal
19                            knowledge, lack of
                              foundation/predicate,
                              hearsay
                              Violates TRE 1002

                              Exhibits A3-A13 and A20- Overruled          Sustained
                              25 are not relevant, contain
                              statements outside of statute
                              of limitations, hearsay and
                              lack foundation and
                              predicate.


Page 19, bottom paragraph     First sentence: Lack of        Overruled    Sustained
                              personal knowledge

                              Second sentence: Lack of        Overruled   Sustained
                              personal knowledge, lack of
                              foundation/predicate,
                              speculative, conclusory,
                              expert opinion not reliable,
                              expert opinion not needed to
                              assist fact finder to interpret
                              words used in broadcast
                              (TRE Rule 702), opinion
                              not based on stated
                              broadcast (TRE Rule 703) –
                              Violates TRE 1002

                              Third sentence: Not           Overruled     Sustained
                              relevant; conclusory, lack of
                              foundation/predicate,
                              speculative, Expert opinion
                              not probative on question of
                              law or actual malice


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 90
                            Last sentence: Not relevant;    Overruled   Sustained
                            conclusory, lack of
                            foundation/predicate,
                            speculative, Expert opinion
                            not probative on question of
                            law or actual malice
Page 20, top paragraph      First sentence: Not relevant,   Overruled   Sustained
                            lack of personal knowledge
                            Violates TRE 1002

                            Second and third sentence:      Overruled   Sustained
                            Not relevant, lack of
                            personal knowledge,
                            conclusory, lack of
                            foundation/predicate
                            Violates TRE 1002

                            Exhibit A28 is not              Overruled   Sustained
                            authenticated, it is not
                            relevant and it is not a
                            complete transcript of that
                            broadcast.

                            Fourth sentence: Not            Overruled   Sustained
                            relevant regarding
                            accusations about a cover-
                            up, lack of personal
                            knowledge

                            Fifth and sixth sentences:      Overruled   Sustained
                            Not relevant,, lack of
                            personal knowledge

                            Exhibit A29 lacks               Overruled   Sustained
                            authentication, is not
                            relevant and is not a
                            complete copy of the
                            broadcast.
Second paragraph, page 20   Both sentences: Not             Overruled   Sustained
                            relevant and lack of
                            personal knowledge.

                            Exhibit A30 lacks               Overruled   Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 91
                            authentication, is not
                            relevant and is not a
                            complete copy of the
                            broadcast.
Third paragraph , page 20   Not relevant, lack of        Overruled    Sustained
(paragraph under B)         foundation/predicate

Fourth paragraph, page 20   All sentences: Not relevant, Overruled    Sustained
                            Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            foundation/predicate,
                            speculative
Fifth paragraph, page 20    All sentences: Not relevant, Overruled    Sustained
continuing to page 21       Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            foundation/predicate,
                            speculative
Page 21, first paragraph    First sentence: Not relevant, Overruled   Sustained
                            Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            foundation/predicate,
                            speculative, conclusory,
                            lack of personal knowledge,
                            hearsay

                            Second sentence: Not         Overruled    Sustained
                            relevant, hearsay, lack of
                            foundation/predicate

                            Third sentence: Not          Overruled    Sustained
                            relevant, hearsay, lack of
                            foundation/predicate,
                            conclusory

                            Fourth sentence and          Overruled    Sustained
                            quotation: Not relevant,
                            hearsay, lack of
                            foundation/predicate,
                            Quotation violates TRE

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 92
                            1002
Second paragraph, page 21   paragraph and quotation:        Overruled   Sustained
                            Not relevant, hearsay, lack
                            of foundation/predicate,
                            violates TRE 1002
Third paragraph, page 21    First sentence: Not relevant,   Overruled   Sustained
                            speculative, Expert opinion
                            not probative on question of
                            law, conclusory, lack of
                            foundation/predicate

                            Second sentence: Not          Overruled     Sustained
                            relevant, speculative, Expert
                            opinion not probative on
                            question of law and actual
                            malice, conclusory, lack of
                            foundation/predicate, vague
                            and ambiguous

                            Third sentence: Not             Overruled   Sustained
                            relevant, speculative, lack
                            of personal knowledge, lack
                            of foundation/predicate,
                            conclusory.


Last paragraph, page 21     First sentence: Not relevant,   Overruled   Sustained
                            Expert opinion not
                            probative on question of
                            law, lack of
                            foundation/predicate,
                            speculative, conclusory

                            Second sentence: Not         Overruled      Sustained
                            relevant, Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            foundation/predicate,
                            speculative, conclusory

                            Third sentence: Not             Overruled   Sustained
                            relevant, lack of personal
                            knowledge, lack of

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 93
                             foundation/predicate,
                             conclusory

                             Last sentence: Lack of      Overruled    Sustained
                             personal knowledge

                             Exhibit A26 is not           Overruled   Sustained
                             authenticated, and is not a
                             complete transcript of the
                             broadcast
Page 22, first paragraph:    Not relevant, Expert opinion Overruled   Sustained
                             not probative on question of
                             law and actual malice, lack
                             of foundation/predicate,
                             speculative, conclusory

Paragraph 2                  Not relevant, Expert opinion Overruled   Sustained
                             not probative on question of
                             law and actual malice, lack
                             of foundation/predicate,
                             speculative, conclusory

Second paragraph (under 2)   Not relevant, Expert opinion Overruled   Sustained
                             not probative on question of
                             law and actual malice, lack
                             of foundation/predicate,
                             speculative, conclusory

Paragraph A                  Not relevant, Expert opinion Overruled   Sustained
                             not probative on question of
                             law and actual malice, lack
                             of foundation/predicate,
                             speculative, conclusory

Third paragraph, page 22     First through third         Overruled    Sustained
(under A)                    sentences: Not relevant,
                             lack of
                             foundation/predicate,
                             speculative, conclusory

                             Fourth sentence: Defendants Overruled    Sustained
                             incorporate their objections
                             to Mr. Fredericks affidavit,

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 94
                            not relevant, hearsay, lack
                            of personal knowledge, lack
                            of foundation/predicate

                            Entire paragraph is             Overruled   Sustained
                            objectionable as it seeks to
                            bolster improper expert
                            opinion on question of law

Fourth paragraph, page 22   First sentence: Not relevant,   Overruled   Sustained
                            speculative, lack of
                            foundation/predicate,
                            conclusory

                            Second sentence: Not            Overruled   Sustained
                            relevant, hearsay, lack of
                            foundation/predicate,
                            conclusory

                            Last sentence and photos:       Overruled   Sustained
                            Not relevant, hearsay, lack
                            of foundation/predicate

                            Photos are hearsay; lack of  Overruled      Sustained
                            personal knowledge; lack of
                            authentication; lack of
                            foundation/predicate;
                            violates TRE 1002
Last paragraph, page 22     Second sentence: Not         Overruled      Sustained
continuing to page 23       relevant, Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            foundation/predicate,
                            conclusory, speculative

                            Third sentence: Not          Overruled      Sustained
                            relevant, Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            foundation/predicate,
                            conclusory, speculative

                            Fourth sentence: Not            Overruled   Sustained

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 95
                            relevant, Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            foundation/predicate,
                            conclusory, speculative
Page 23, paragraph B        Not relevant, Expert opinion Overruled     Sustained
                            not probative on question of
                            law and actual malice, lack
                            of foundation/predicate,
                            conclusory, speculative;
                            Violates TRE 403, 404 and
                            608(b)
First paragraph (under B)   Not relevant, Expert opinion Overruled     Sustained
                            not probative on question of
                            law and actual malice, lack
                            of foundation/predicate,
                            conclusory, speculative

                            Second sentence: Not        Overruled      Sustained
                            relevant, lack of personal
                            knowledge, conclusory, lack
                            of foundation/predicate

                            Exhibit A1 is not              Overruled   Sustained
                            authenticated, is not
                            relevant and is not a
                            complete transcript of the
                            broadcast.

                            Third sentence: Not         Overruled      Sustained
                            relevant, lack of personal
                            knowledge, conclusory, lack
                            of foundation/predicate

                            Fourth sentence: Not        Overruled      Sustained
                            relevant, lack of personal
                            knowledge, conclusory, lack
                            of foundation/predicate,

                            Last sentence: Not relevant,   Overruled   Sustained
                            lack of personal knowledge,
                            conclusory, lack of
                            foundation/predicate

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 96
                            Entire paragraph is            Overruled   Sustained
                            objectionable as it seeks to
                            bolster improper expert
                            opinion on question of law

Second paragraph, page 23   First paragraph: Not           Overruled   Sustained
                            relevant

                            Second sentence: Not           Overruled   Sustained
                            relevant, violates TRE 404,
                            lack of
                            foundation/predicate, lack     Overruled   Sustained
                            of personal knowledge,
                            hearsay, vague and
                            ambiguous

                            Third sentence: Not            Overruled   Sustained
                            relevant, hearsay, lack of
                            foundation/predicate,
                            conclusory

                            Entire paragraph is            Overruled   Sustained
                            objectionable as it seeks to
                            bolster improper expert
                            opinion on question of law

Third paragraph, page 23    First sentence Not relevant,   Overruled   Sustained
(above C)                   speculative, conclusory,
                            lack of personal knowledge,
                            lack of foundation/predicate

                            Second sentence: Not           Overruled   Sustained
                            relevant, vague and
                            ambiguous, lack of personal
                            knowledge

                            Third sentence: Not          Overruled     Sustained
                            relevant, Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            foundation/predicate,
                            conclusory, speculative

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 97
                            Last sentence: Not relevant, Overruled     Sustained
                            Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            foundation/predicate,
                            conclusory, speculative

                            Entire paragraph is            Overruled   Sustained
                            objectionable as it seeks to
                            bolster improper expert
                            opinion on question of law

Paragraph C                 Not relevant, Expert opinion Overruled     Sustained
                            not probative on question of
                            law and actual malice, lack
                            of foundation/predicate,
                            conclusory, speculative;
                            violates TRE 403, 404, and
                            608(b)

Last paragraph, page 23     Each sentence: Not relevant, Overruled     Sustained
(under C) continuing to     entire paragraph is
page 24                     objectionable as it seeks to
                            bolster improper expert
                            opinion on question of law
                            and actual malice, violated
                            TRE 404,403

All other paragraphs on     Not relevant, violates TRE   Overruled     Sustained
page 24                     404, 403, all paragraphs are
                            objectionable as they seek
                            to bolster improper expert
                            opinion on question of law
                            and actual malice
Page 25 photo               Not relevant, violates TRE   Overruled     Sustained
                            404, 403
Page 25, first paragraph    Not relevant, Expert opinion Overruled     Sustained
(under photo)               not probative on question of
                            law and actual malice, lack
                            of foundation/predicate,
                            conclusory, speculative


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 98
Paragraph D                 Not relevant, Expert opinion Overruled      Sustained
                            not probative on question of
                            law and actual malice, lack
                            of foundation/predicate,
                            conclusory,
Second paragraph, page 25   Not relevant, Defendants     Overruled      Sustained
(under D)                   also incorporate herein all
                            objections to Mr. Pozner’s
                            affidavit

Third paragraph             First sentence: Not relevant,   Overruled   Sustained
                            hearsay, lack of personal
                            knowledge,

                            Second sentence: Not            Overruled   Sustained
                            relevant, hearsay, lack of
                            foundation/predicate, lack
                            of personal knowledge

                            Exhibit A14 is not              Overruled   Sustained
                            authenticated, is not
                            relevant and is not a
                            complete transcript of the
                            broadcast.

                            Last sentence: Not relevant,    Overruled   Sustained
                            hearsay, lack of
                            foundation/predicate, lack
                            of personal knowledge

                            Exhibit A15 is not              Overruled   Sustained
                            authenticated, is not
                            relevant and is not a
                            complete transcript of the
                            broadcast.

                            Entire paragraph is             Overruled   Sustained
                            objectionable as it seeks to
                            bolster improper expert
                            opinion on question of law
                            and actual malice



ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 99
Fourth paragraph            Each sentence: Not relevant, Overruled     Sustained
                            lack of personal knowledge,
                            lack of
                            foundation/predicate,

                            Exhibit A16 is not             Overruled   Sustained
                            authenticated, is not
                            relevant and is not a
                            complete transcript of the
                            broadcast.


                            Entire paragraph is            Overruled   Sustained
                            objectionable as it seeks to
                            bolster improper expert
                            opinion on question of law
                            and actual malice

Page 26, first paragraph    Each sentence: Not relevant, Overruled     Sustained
                            lack of personal knowledge,
                            lack of foundation/predicate

                            Exhibits A17 and A18 are
                            not authenticated, are not
                            relevant and are not
                            complete transcripts of the
                            broadcasts.

                            Entire paragraph is            Overruled   Sustained
                            objectionable as it seeks to
                            bolster improper expert
                            opinion on question of law
                            and actual malice

Second paragraph and        Not relevant, lack of          Overruled   Sustained
quotation                   personal knowledge

                            Exhibit A19 is not             Overruled   Sustained
                            authenticated, is not
                            relevant and is not a
                            complete transcript of the
                            broadcast.


ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 100
                            Entire paragraph is             Overruled   Sustained
                            objectionable as it seeks to
                            bolster improper expert
                            opinion on question of law
                            and actual malice
Third paragraph             First sentence: Not relevant,   Overruled   Sustained
                            lack of personal knowledge,
                            lack of
                            foundation/predicate,
                            conclusory

                            Second sentence: Not         Overruled      Sustained
                            relevant, Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            personal knowledge, lack of
                            foundation/predicate,
                            conclusory, speculative

Conclusion                  First sentence: Not relevant, Overruled     Sustained
                            Expert opinion not
                            probative on question of law
                            and actual malice lack of
                            personal knowledge, lack of
                            foundation/predicate,
                            conclusory, speculative

                            Second sentence: Not         Overruled      Sustained
                            relevant, Expert opinion not
                            probative on question of law
                            and actual malice, lack of
                            personal knowledge, lack of
                            foundation/predicate,
                            conclusory, speculative

                            Third sentence: Not          Overruled      Sustained
                            relevant, Expert opinion not
                            probative on question of law
                            and actual malice lack of
                            personal knowledge, lack of
                            foundation/predicate,
                            conclusory, speculative

ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 101
                                 Last sentence: Not relevant, Overruled   Sustained
                                 Expert opinion not
                                 probative on question of law
                                 and actual malice, lack of
                                 personal knowledge, lack of
                                 foundation/predicate,
                                 conclusory, speculative
All websites listed in           Lack of authentication; lack Overruled   Sustained
footnotes                        of foundation/predicate; not
                                 relevant; violate TRE 404,
                                 608(b) and 703. In
                                 addition, footnotes 5, 6, 12,
                                 13, 14-18, 41-43, 45 and 47
                                 are hearsay.




Dated: September ______, 2018.




                                           JUDGE




ORDER ON DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE SUBMITTED IN RESPONSE TO
DEFENDANTS’ MOTION TO DISMISS UNDER THE TEXAS CITIZENS PARTICIPATION ACT – Page 102
                                                                          9/28/2018 3:28 PM
                                                                                           Velva L. Price
                                                                                          District Clerk
                                                                                          Travis County
                                  NO. D-1-GN-18-001835                                 D-1-GN-18-001835
                                                                                  Hector Gaucin-Tijerina
NEIL HESLIN,                                  §            IN THE DISTRICT COURT OF
                                              §
        Plaintiff,                            §
                                              §
v.                                            §            TRAVIS COUNTY, TEXAS
                                              §
ALEX E. JONES, INFOWARS, LLC,                 §
FREE SPEECH SYSTEMS, LLC, and                 §
OWEN SHROYER,                                 §
                                              §
        Defendants                            §            261st JUDICIAL DISTRICT

     DEFENDANTS’ MOTION FOR PROTECTIVE/CONFIDENTIALITY ORDER

        Come now, Defendants Alex E. Jones, InfoWars, LLC, Free Speech Systems,

LLC, and Owen Shroyer (“Defendants”) and, subject to their right of appeal, file this

Motion for Protective/Confidentiality Order and would show this Honorable Court as

follows:

                                         I.

        1.01    On July 13, 2018, Defendants timely filed their Motion to Dismiss Under

the Texas Citizens Participation Act (the “Motion”). As required, Defendants obtained a

hearing on that Motion within sixty days of its filing and the Court set it for hearing on

August 30, 2018. Proper notice was given to Plaintiff’s counsel and a week prior to that

hearing, Plaintiffs’ counsel announced ready. As noticed, the hearing occurred on August

30.

        1.02    At the conclusion of that hearing and off the record, counsel for the

Defendants discussed with the Court their concern that the Court was not be able to

extend the hearing and thereby delay its decision for the period of time the Court had



DEFENDANTS’ MOTION FOR PROTECTIVE/CONFIDENTIALITY ORDER        – Page 1
granted to take discovery and continue the hearing. Defendants still believe that this

Court must decide the Motion by the thirtieth day after that hearing occurred or it will be

denied by operation of law pursuant to §27.005 (a) of the Texas Civil Practice &

Remedies Code.1

        1.03    Nevertheless and without waiving their position that this Court must rule on

the Motion or otherwise the Motion will be denied by operation of law prior to any

discovery      being     due     from      Defendants,       Defendants       file    this    motion      for

protective/confidentiality order in order to protect and keep confidential the private,

proprietary and confidential information of Defendants that may be revealed in the

ordered discovery.


                                                     II.

        2.01    This Court should enter an order protecting the confidential, private and

proprietary information of the Defendants should discovery go forward. A court may in

the interest of justice, issue a protective order to protect the movant from undue burden,

unnecessary expense, harassment, annoyance, or invasion of person, constitutional, or

property rights under Texas Rules of Civil Procedure Rule 192.6.2

        2.02    The Court should enter Defendants' proposed Protective/Confidentiality

Order because such an order is necessary to protect confidential information. Defendants'

proposed order limits the use of confidential information to this litigation and limits the


1
  Accordingly, Defendants once again request that this Honorable Court grant their Motion to Dismiss Under the
Texas Citizens Participation Act before the expiration of thirty days after the hearing.
2
  See In re Alford Chevrolet-Geo, 997 S.W.2d 173, 181 (Tex. 1999).



DEFENDANTS’ MOTION FOR PROTECTIVE/CONFIDENTIALITY ORDER                      – Page 2
persons allowed to access confidential documents, information and testimony to those

specified in the order. In absence of such an order, Defendants' production of sensitive

documents and testimony, without protection, risks tremendous harm to Defendants’

constitutional rights to personal and financial privacy and to their businesses and

employment.

          2.03     As proposed by Defendants, the restrictions on the use of confidential

information comply with the Texas Rules of Civil Procedure.3                Furthermore, such

restrictions protect Defendants' interests, yet impose no unnecessary burdens on Plaintiff.

          2.04     Pursuant to Texas Rules of Civil Procedure Rule 192.6, Defendants request

that the Court enter the proposed Protective/Confidentiality Order or one modified to the

extent necessary to protect Defendants’ rights and interests in at least the following

general ways:

          a.       That all written discovery sent as well as all responses to discovery

          including answers, objections, and documents produced shall be protected as

          “Attorneys’ Eyes Only” and the contents be restricted to only Plaintiff’s attorneys

          as currently named in this case, Defendants and their counsel.

          b.       That all depositions taken, if any, be restricted and that for the Plaintiff,

          only currently named counsel for the Plaintiff may appear, that non-parties cannot

          attend or be made aware of the testimony in general or in detail and that the

          transcription of and any video taken of the deposition be sealed so that only



3
    See Texas Rules of Civil Procedure Rule 192.6.


DEFENDANTS’ MOTION FOR PROTECTIVE/CONFIDENTIALITY ORDER              – Page 3
       Plaintiff’s currently named counsel and Defendants and their counsel can view and

       have access to such transcripts and videos.

       c.     That any motions, responses, transcripts, replies or other documents

       relating to all discovery that may be filed, be filed as sensitive material in the

       court’s file and shall not be available for inspection or copying by anyone other

       than Defendants’ counsel and Plaintiff’s currently named counsel in this case.

       2.05   Accordingly, Defendants request that the Court enter Defendants' proposed

Protective/Confidentiality Order attached hereto as Exhibit “A.”


                                           III.

                                        PRAYER

       WHEREFORE PREMISES CONSIDERED, subject to their right to timely appeal

this matter and without waiver of any appeal or other rights, Defendants request that the

Court grant this motion and enter the Protective/Confidentiality Order attached as Exhibit

“A” in the event that discovery takes place.


                                          RESPECTFULLY SUBMITTED,

                                          GLAST, PHILLIPS & MURRAY, P.C.
                                                 /s/ Mark C. Enoch
                                          Mark C. Enoch
                                          State Bar No. 06630360
                                          14801 Quorum Drive, Suite 500
                                          Dallas, Texas 75254-1449
                                          Telephone: 972-419-8366
                                          Facsimile: 972-419-8329
                                          fly63rc@verizon.net

                                          ATTORNEY FOR DEFENDANTS



DEFENDANTS’ MOTION FOR PROTECTIVE/CONFIDENTIALITY ORDER        – Page 4
                            CERTIFICATE OF SERVICE

        I hereby certify that on this 28th day of September, 2018, the foregoing was sent
via efiletxcourts.gov’s e-service system to the following:


Mark Bankston
Kyle Farrar
Kaster, Lynch, Farrar & Ball, LLP.
1010 Lamar, Suite 1600
Houston, Texas 77002


                                                     /s/ Mark C. Enoch
                                               Mark C. Enoch




DEFENDANTS’ MOTION FOR PROTECTIVE/CONFIDENTIALITY ORDER       – Page 5
                                  NO. D-1-GN-18-001835

NEIL HESLIN,                                 §               IN THE DISTRICT COURT OF
                                             §
       Plaintiff,                            §
                                             §
v.                                           §               TRAVIS COUNTY, TEXAS
                                             §
ALEX E. JONES, INFOWARS, LLC,                §
FREE SPEECH SYSTEMS, LLC, and                §
OWEN SHROYER,                                §
                                             §
       Defendants                            §               261st JUDICIAL DISTRICT



                    PROTECTIVE/CONFIDENTIALITY ORDER


       1.      This Protection/Confidentiality Order governs all discovery, and all

information disclosed, produced, or submitted by any party to any other party in

connection with this lawsuit during the course of discovery. “Discovery” includes all

written discovery, request for production, interrogatories, requests for admissions,

requests for disclosure, oral depositions, deposition transcripts, oral or video recording of

a deposition, depositions on written questions to third parties, and subpoenas to third

parties, and other documents exchanged between the parties for the purpose of sharing

information regarding the facts of the case. Confidential Discovery is Discovery which is

marked as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY.”

       2.      This Order is entered for purposes of this lawsuit and shall remain in full

force and effect until such time as the Parties agree otherwise or the Court enters a

different order. This Order will not be used in any manner or form, directly or indirectly,




PROTECTIVE/CONFIDENTIALITY ORDER – Page 1
                                     EXHIBIT "A"
as evidence in any trial or any hearing, other than to resolve any issue related to the

enforcement of any provisions of the Order.

       3.     All Discovery shall be confidential and shall not be used or disclosed to any

third party (except as provided herein). No Discovery shall be filed with the Court

without filing under seal. The use or disclosure of Confidential Discovery in unsealed

filings with the Court or the disclosure of Confidential Discovery to third parties shall be

considered a violation and may be considered contempt of the Court’s order punishable

by the Court’s authority to sanction the offending person.


               INSPECTION OF CONFIDENTIAL INFORMATION


       4.     Except as provided herein, each person to whom Confidential Discovery

containing confidential information is disclosed or made available shall first be advised

of the existence and the contents of this Order. Confidential Discovery may only be

inspected or revealed by the Parties to the persons listed in paragraph 11 and 12 herein,

provided that the disclosing Party is responsible to ensure that any person or entity who

receives such Confidential Discovery shall maintain the document as confidential as set

forth in this Order. Discovery can also be revealed to court reporters and videographers

at depositions. Use or disclosure of any Confidential Discovery other than pursuant to

the terms of this Order by an individual or entity provided by a disclosing Party shall be

considered a violation and may be considered contempt of the Court’s order punishable

by the Court’ authority to sanction the offending disclosing Party. Any mediator in this

case may be provided Confidential Discovery so long as the discovery is being disclosed


PROTECTIVE/CONFIDENTIALITY ORDER – Page 2
pursuant to confidential settlement negotiations and the mediator returns the Confidential

Discovery at the end of the mediation without making duplications/copies.


               FILINGS OR HEARINGS IN THE PUBLIC RECORD


       5.     In all filings, hearings, or other interaction with the Court that is part of the

public record, the Parties shall maintain the confidentiality of the Discovery and shall not

file any document disclosing confidential information.

       6.     Reference     to   Plaintiff,   Defendants,     or    the    Parties   to    this

Protective/Confidentiality Order also includes reference to any other person or entity

acting on any Party’s behalf or in concert or in participation with any Party, directly or

indirectly, to the extent that any discovery in this lawsuit requires a person or entity other

than Plaintiff or Defendants to produce documents or tangible things or give testimony.

“Producing Party” shall mean a Party to this lawsuit that produces documents,

information and/or tangible things.

       7.     Any Party or third party required to produce documents or tangible things

or give testimony or whose information is being produced may designate documents and

tangible things produced and/or exhibits as “CONFIDENTIAL” or “ATTORNEYS’

EYES ONLY.” In the event a Producing Party inadvertently fails to mark a confidential

document as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY,” that Producing

Party may: (1) notify counsel of record for every other Party in writing specifically

identifying the material, and (2) provide a replacement copy of the document(s) marked

“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY.”


PROTECTIVE/CONFIDENTIALITY ORDER – Page 3
       8.     Testimony and information disclosed at a deposition of a Party or any other

witness may be designated “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY”

during the deposition and within thirty (30) days following the depositions, any Party

may designate any information disclosed during a deposition as “CONFIDENTIAL” or

“ATTORNEYS’ EYES ONLY.” For the thirty (30) days following any deposition the

Parties must treat all of the deposition testimony and exhibits as “ATTORNEYS’ EYES

ONLY.”

       9.     Any Party may contest the designation of any document, information or

tangible things as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY” by requesting

in writing that the Producing Party change the designation. If the Parties are unable to

reach an agreement on the designation of such challenged documents within five (5)

calendar days, the Party challenging the designation may at any time thereafter seek an

order to alter the status of the challenged designation.

       10.    Until any dispute under this paragraph is ruled upon by the presiding Judge,

the designation will remain in full force and effect, and the documents, tangible things,

testimony and information will continue to be accorded the confidential treatment

required by this Protective Order.

       11.    Except as noted in this paragraph 11, any documents, tangible things,

testimony or other information designated as “CONFIDENTIAL” shall be used solely

for the purposes of this lawsuit and shall not be disclosed or made available to any

person(s) other than those persons specified herein. Persons who may have access to




PROTECTIVE/CONFIDENTIALITY ORDER – Page 4
documents or other information designated as “CONFIDENTIAL” shall include only the

following persons:


             a.    The Parties, and the Producing Party, if other than Plaintiff or
             Defendants;
             b.      Counsel of record for the Parties, and counsel for the Producing
             Party, if other than Plaintiff or Defendants;
             c.    Consultants or experts retained in connection with this lawsuit
             provided that such consultant or expert shall acknowledge and accept the
             terms of this Protective/Confidentiality Order by first signing the attached
             Exhibits “A” and “B”;
             d.      Court personnel, but only through sealed filings; and
             e.     Court reporters and videographers who first acknowledge and accept
             the terms of this Protective/Confidentiality Order by signing the attached
             Exhibit “A” and “B.”
      12.    Any documents, testimony, information or tangible things designated as

“ATTORNEYS’ EYES ONLY” shall be used solely for the purpose of this lawsuit and

shall not be disclosed or made available to any person(s) other than those persons

specified in this paragraph.    Persons who may have access to documents or other

information designated as “ATTORNEYS’ EYES ONLY” shall include only the

following persons:

       a.    Currently named Counsel of record for Plaintiff, Counsel for Defendants
and the Producing Party; and

      b.     Employees of the Parties’ counsel referenced above.


      13.    If a Party wishes to use documents designated as “CONFIDENTIAL” in

any affidavit, brief, memorandum of law, deposition transcript, or other paper filed with




PROTECTIVE/CONFIDENTIALITY ORDER – Page 5
this Court in this lawsuit, or as an exhibit to such paper, then such Party must file any

document that contains such information under seal. The Clerk of this Court shall

maintain the paper under seal pending further order from this Court.

       14.    If a Party is required (by oral questions, interrogatories, requests for

information or documents in legal proceedings, subpoena, civil investigative demand or

other similar process) to produce documents or information that have been designated

“CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY,” such Party will provide written

notice immediately to every other Party, and the Producing Party in order to allow time to

object to such production and otherwise seek protection.

       15.    This Protective/Confidentiality Order shall not be deemed a waiver of (i)

any right to object to any discovery requests on any grounds; (ii) any right to seek an

order compelling discovery with respect to any discovery request; (iii) any right at any

proceeding in this lawsuit to object to the admission of evidence on any ground; (iv) any

right of a Party to use its own documents and translate them with complete discretion

and/or (v) the right to seek a modification of this Protective/Confidential Order.

       16.    Designation of a document or other information as “CONFIDENTIAL” or

“ATTORNEYS’ EYES ONLY” is not evidence that the document, other information or

tangible thing is in fact confidential. A party’s failure to object to another Party’s

designation of any document or other information as “CONFIDENTIAL” or

“ATTORNEYS’ EYES ONLY” shall not be evidence or an admission that the designated

document, tangible things or information is in fact confidential.




PROTECTIVE/CONFIDENTIALITY ORDER – Page 6
      17.    Within thirty (30) days after the conclusion of this lawsuit including all

appeals, the Parties as well as anyone who has executed Exhibits “A” and “B” are hereby

Ordered to return to the Producing Party all testimony, including deposition transcripts,

and all other documents or information that was produced to them and designated

“CONFIDENTIAL” and all copies thereof. It will be a direct violation of this Order if

anyone retains any Confidential Discovery or any portion thereof after this thirty (30) day

period.

      18.    Persons or entities receiving any documents, tangible things or information

shall be subject to this Court’s jurisdiction and before being provided such documents,

things, testimony or information, all persons who are referenced in paragraph 11(c) and

(e) must first sign both Exhibit “A” and Exhibit “B” to this Order. All such signed

Exhibits “A” and “B” shall be immediately served on all Defendants’ and Plaintiff’s

counsel.


      SIGNED this _____ day of ________________ 2018.




                                                PRESIDING JUDGE




PROTECTIVE/CONFIDENTIALITY ORDER – Page 7
AGREED IN ACCORDANCE WITH TEXAS RULE OF CIVIL PROCEDURE 11:




                                  Mark C. Enoch
                                  State Bar No. 06630360

                                  14801 Quorum Drive, Suite 500
                                  Dallas, Texas 75254-1449
                                  Telephone:     972-419-8366
                                  Facsimile:     972-419-8329
                                  fly63rc@verizon.net

                                  ATTORNEYS FOR DEFENDANTS


                                  ____________________________________
                                  MARK D. BANKSTON
                                  State Bar No. 24071066
                                  mark@fbtrial.com
                                  KYLE W. FARRAR
                                  State Bar No. 24034828
                                  WILLIAM R. OGDEN
                                  State Bar No. 24073531
                                  KASTER LYNCH FARRAR & BALL, LLP
                                  1010 Lamar, Suite 1600
                                  Houston, Texas 77002
                                  713.221.8300 Telephone
                                  713.221.8301 Fax

                                  ATTORNEYS FOR PLAINTIFF




PROTECTIVE/CONFIDENTIALITY ORDER – Page 8
                                         EXHIBIT “A”

        I                                                          have read the attached
Protective/Confidentiality Order (hereinafter “Protective/Confidentiality Order”) entered by the
Judge in Cause No. D-1-GN-18-001835 pending in 261st District Court, Travis County, Texas)
hereinafter the “Lawsuit”).        I agree to all the terms and conditions in the
Protective/Confidentiality Order.

       I agree that any dispute regarding my alleged violation of the Protective/Confidentiality
Order shall be exclusively resolved by the 261st District Court, Travis County, Texas.

        I agree to sole and exclusive jurisdiction and venue in the 261st District Court, Travis
County, Texas for resolution of any alleged violation of the Protective/Confidentiality Order and
/or regarding any of my actions or inactions that are in dispute. I understand the serious nature
and important privacy rights of the confidential information that I will receive by virtue of me
signing this Affidavit.


                                             Affiant’s Signature:
                                             Affiant’s Printed Name:




STATE OF ______________

COUNTY OF _________________

        Before    me,    a    Notary      Public,   on     this    date    personally     appeared
________________________________ known to be the person whose name is subscribed above
on the foregoing instrument and upon his/her oath deposed and stated to me that he/she executed
the same on behalf of himself/herself for the purpose of consideration therein expressed.

         Given my hand and seal of office this ________ day of _____________________,
20___.



                                                    Notary Public in and for the State of ______
                                                    My Commission Expires:_______________




PROTECTIVE/CONFIDENTIALITY ORDER – Page 9
                                        EXHIBIT “B”



                                    NO. D-1-GN-18-001835

NEIL HESLIN,                                  §              IN THE DISTRICT COURT OF
                                              §
         Plaintiff,                           §
                                              §
v.                                            §              TRAVIS COUNTY, TEXAS
                                              §
ALEX E. JONES, INFOWARS, LLC,                 §
FREE SPEECH SYSTEMS, LLC, and                 §
OWEN SHROYER,                                 §
                                              §
         Defendants                           §              261st JUDICIAL DISTRICT



              ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND


       I,                                                , declare and state under penalty
of perjury that:
       1.    I have received a copy of the Protective/Confidentiality Order in this
lawsuit, which Order was entered on _________________________________, 2018, and
which copy is attached to this document. I have been provided with a copy of this
document.

       2.    I have carefully read and understand all of the provisions of the
Protective/Confidentiality Order.

         3.      I will comply with all of the provisions of the Protective/Confidentiality
Order.

       4.     I will hold in confidence, will not disclose to anyone not qualified under the
Protective/Confidentiality Order, and will use only for the purposes of this lawsuit, any
material designated “CONFIDENTIAL” (hereafter “Confidential Material”) as defined in
the Protective/Confidentiality Order, that is supplied to me.

      5.     I will return each item of Confidential Material to the attorney who
provided such document or tangible thing to me on the attorney’s request. Moreover, I
will deliver any copies, abstracts, summaries, notes or other records regarding the


PROTECTIVE/CONFIDENTIALITY ORDER – Page 10
contents of any Confidential Material to the attorney who provided such Confidential
Material to me on the attorney’s request. I will not thereafter retain any Confidential
Material or any portion or excerpts thereof.

       6.     I understand that if I violate the provisions of the Protective/Confidentiality
Order, I will be in violation of a Court Order and subject to sanctions, contempt or other
remedies that may be imposed by the Court and potentially liable in a civil lawsuit for
damages.

      7.    I hereby submit to the jurisdiction of the 261st Judicial District of Travis
County, Texas for the purposes of enforcement of the Protective/Confidentiality Order.


       I declare under penalty of perjury of the laws of the United States that the
foregoing is true and correct.



Dated:
                                                  Signature



                                                  Title or Position


Attachment: Copy of the Signed
Protective/Confidentiality Order




PROTECTIVE/CONFIDENTIALITY ORDER – Page 11
                                                                    10/1/2018 10:31 PM
                                                                                      Velva L. Price
                                                                                     District Clerk
                                                                                     Travis County
                                                                                  D-1-GN-18-001835
                           CAUSE NO. D-1-GN-18-001835                                Chloe Jimenez

NEIL HESLIN                               §                  IN DISTRICT COURT OF
  Plaintiff                               §
                                          §
VS.                                       §                 TRAVIS COUNTY, TEXAS
                                          §
ALEX E. JONES, INFOWARS, LLC,             §
FREE SPEECH SYSTEMS, LLC, and             §                   53rd DISTRICT COURT
OWEN SHROYER,                             §
  Defendants                              §


            PLAINTIFF’S MOTION FOR CONTEMPT UNDER RULE 215


      Comes now, Plaintiff Neil Heslin, and files this Motion for Contempt Under Rule

215, and would show the Court that Defendants have openly defied this Court’s Order

while explicitly rejecting this Court’s authority. As shown below, Defendants’ actions

amount to a naked and aggressive act of contempt of Court.

                                       FACTS
      On August 31, 2018, this Court entered an Order extending the hearing date on

Defendants’ TCPA Motion and ordered Defendants to respond to certain specified

written discovery requests. During oral argument, the Court considered each of the

individual discovery requests while hearing argument from counsel. The Court then

made rulings, striking certain requests which the Court found legally objectionable or

irrelevant for the purposes of Defendant’s TCPA Motion. The Court ordered

Defendants to respond to the remaining requests.

      Defendants served their responses on October 1, 2018, and they are troubling

to the say the least. First, Defendants’ responses begin by admitting that “prior to
                                          1
responding to these discovery requests,” none of the parties had “searched all

documents in [their] possession or control that may contain responsive

information.”1 The reason Defendants made no efforts to search their files is found in

the remaining responses, in which Defendants make clear they never had any

intention of complying with the Court’s Order.

       In response to every Interrogatory or Request for Production, Defendant

refused to answer. Rather than answer, Defendants asserted that the Court’s Order of

August 31, 2018 had been wrongly decided. For every request, Defendant pasted a

lengthy boilerplate response which claimed that “the discovery is not relevant to the

motion,” and that “the court was without authority...to order discovery information,

documents and testimony.”2 Defendants refused to produce any documents or

answer any questions. Defendants’ Responses are nothing more than a brazen act of

defiance and outright rejection of this Court’s authority.

       It is also clear that Defendants had no intention of producing parties for

deposition as ordered by the Court. Plaintiff has attempted to schedule these

depositions with Defendants’ counsel, and also tried to open a dialogue regarding

designees for the two corporate depositions,3 but Plaintiff has been ignored. Under




1 See Exhibit 1, Defendants’ Discovery Responses, at Request for Admission #1.
2 Id, at all requests.
3 See Exhibit 2, September 4, 2018 letter from Plaintiff’s counsel.


                                                2
the Court’s Order, these depositions must be completed in a matter of days, though it

is almost certain Defendants never had any intention of producing deponents. 4

       Defendants’ unilateral rejection of this Court’s Order threatens the integrity of

these proceedings. As such, Plaintiff brings this Motion under Rule 215 of the Texas

Rules of Civil Procedure.

                             ARGUMENT AND AUTHORITIES

       Under Rule 215, if a party fails to obey an Order to provide discovery, the Court

may, after notice and hearing, enter a variety of orders to address the violation. See

Tex. R. Civ. P. 215.2. Some of the relevant orders include:

           • an order that the matters regarding which the order was
             made or any other designated facts shall be taken to be
             established for the purposes of the action in accordance
             with the claim of the party obtaining the order.

           • an order refusing to allow the disobedient party to support
             or oppose designated claims or defenses, or prohibiting
             him from introducing designated matters in evidence.

           • an order treating as a contempt of court the failure to obey
             the discovery order.

       Finally, “in lieu of any of the foregoing orders or in addition thereto, the court

shall require the party failing to obey the order or the attorney advising him, or both,

to pay, at such time as ordered by the court, the reasonable expenses, including

attorney fees, caused by the failure, unless the court finds that the failure was



4It should also be noted that on September 28, 2018, without conferring with Plaintiff in any way,
Defendants filed a last-minute Motion for Protective Order. In an outrageously unconstitutional
request, the Motion seeks to seal all future discovery in this case.

                                                3
substantially justified or that other circumstances make an award of expenses

unjust.” See Tex. R. Civ. P. 215.2(b)(7) (emphasis added).

      Here, all the orders above would be appropriate. First, Defendants’

disobedience relates directly to its TCPA motion. Despite this Court’s ruling that the

Plaintiff’s requests were relevant to the motion and should be answered, Defendants

willfully withheld this discovery. Under Rule 215.2(b)(3), this Court has the

discretion to find that the matters withheld from discovery would have satisfied

Plaintiff’s burden under the TCPA.

      Alternatively, this Court could rule under Rule 215.2(b)(4) that Defendants are

simply not permitted to claim the defense of the TCPA due to their refusal to comply

with the Order. In either case, there is “a direct relationship between the offensive

conduct and the sanction imposed.” Dibco Underground, Inc. v. JCF Bridge & Concrete,

Inc., 03-09-00255-CV, 2010 WL 1413071, at *4 (Tex. App.—Austin Apr. 8, 2010, no

pet.). Beyond the mandatory award of costs, the choice of other sanctions is left to the

sound discretion of the Court. Horizon Health Corp. v. Acadia Healthcare Co., Inc., 520

S.W.3d 848, 884 (Tex. 2017).

                                     CONCLUSION

      Due to Defendants’ flagrant rejection of the Court’s order, Plaintiff prays that

this Court grant his Motion and order Defendants to appear and show cause why they

should not be held in contempt of court for failure to comply with the Court's Order

to respond to specified written discovery.


                                             4
Respectfully submitted,

FARRAR & BALL, LLP



____________________________________
MARK D. BANKSTON
State Bar No. 24071066
KYLE W. FARRAR
State Bar No. 24034828
WILLIAM R. OGDEN
State Bar No. 24073531
1010 Lamar, Suite 1600
Houston, Texas 77002
713.221.8300 Telephone
713.221.8301 Fax




   5
                                 CERTIFICATE OF SERVICE


       I hereby certify that on October 1, 2018 the forgoing document was served upon the
following in accordance to Rule 21 of the Texas Rules of Civil Procedure:


Via E-Sevice: fly63rc@verizon.net

Mark C. Enoch
Glast, Phillips & Murray, P.C.
14801 Quorum Drive, Ste. 500
Dallas, Texas 75254




                                         ____________________________________
                                         MARK D. BANKSTON




                                            6
                                 NO. D-1-GN-18-001835

NEIL HESLIN,                                $             IN THE DISTRICT COURT OF
                                            $
      Plaintffi                             $
                                            $
v                                           $              TRAVIS COLTNTY, TEXAS
                                            $
ALEX E. JONES, INFOV/ARS, LLC,              $
FREE SPEECH SYSTEMS, LLC, ANd               $
OV/EN SHROYER,                              $
                                            $
      Defendants                            $              261.t   JUDICIAL DISTRICT


     DEFENDANT FREE SPEECH SYSTEMSO LLC'S RESPONSES TO
      PLAINTIFF'S REQUESTS FOR ADMISSIONS, REQUESTS F'OR
INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS

TO:   Neil Heslin by and through his attorney of record, Mark D. Bankston, Kyle M.
      Farrar and William R. Ogden, l0l0 Lamar, Suite 1600, Houston, Texas 77002

      Pursuant to Rules 196.2, 197.2 and 198.2 of the Texas Rules of Civil Procedure,

Defendant Free Speech Systems, LLC provides the following responses to Plaintiffs

Requests for Admissions, Requests for Interrogatories and Requests for Production.




                                           I.

        RESPONSES TO FIRST SET OF REQUESTS FOR ADMISSIONS

REOUEST FOR ADMISSION NO. 1:
Admit that prior to responding to these discovery requests, you searched all documents in
your possession or control that may contain responsive information.

RESPONSE:

      Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").


                                                                                       Ex. 1
IJnder $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resourcas, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

       Subject to these objections, this request is denied.




REOUEST FOR ADMISSION NO. 2:
Admit that as of June 26,2017, Free Speech Systems, LLC knew it was possible that Neil
Heslin held his dead son and saw a bullet wound to his forehead.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.




DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page 2
        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

       Subject to these objections, this request is denied.




REOUEST F'OR ADMISSION NO. 3:
Admit that Free Speech Systems, LLC was involved in the creation, research, editing,
marketing, funding, stafflrng, distribution, or publication of the June 26,2017 video
entitled "Zero Hedge Discovers Anomaly in Alex Jones Hit Piece."

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.


DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page 3
       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that ate
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

       Subject to these objections, this request is denied.




REOUEST FOR ADMISSION NO. 4:
Admit that Free Speech Systems, LLC possesses intellectual property rights and
copyright over the June 26,2017 video entitled "Zeto Hedge Discovers Anomaly in Alex
Jones Hit Piece."

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of,or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.




DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page 4
       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

       Subject to these objections, this request is denied



                                             il.
              RESPONSES TO FIRST SET OF INTERROGATORIES

INTERROGATORY NO. 1:
Identiff all persons answering or supplying information used in answering these
discovery requests and identiff their job duties at Free Speech Systems, LLC.

ANSWER:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.




DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page 5
         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy? the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




INTERROGATORY NO.2:
Identiff every employee or agent of Free Speech Systems, LLC who was involved in the
creation, research, editing, marketing, funding, distribution, or publication of the June 26,
2017 video entitled "Zero Hedge Discovers Anomaly in Alex Jones Hit Piece," and
describe their specific role.

ANSWER:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration bef,ore the motion was to be denied by operation
of law.

       Defendants further object to this request in that it seeks confidential, private and
proprietary f,rnancial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.


DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page 6
INTERROGATORY NO.3:
For each person who had ownership interest in Free Speech Systems, LLC on          June 26,
2017, state:

       a)      their full name
       b)      the date(s) upon which the person acquired their ownership interest.
       c)      the kind of consideration paid or promised for the ownership interest and
               the date(s) on which it was paid or promised.
       d)      the percentage of that individual's ownership interest.
       e)      whether the person is related by blood or marriage to any other person who
               is or has been a shareholder, officer, or director of Free Speech Systems,
               LLC, and, if so, the identity of the other person and the nature of the
               Relationship.

ANSWER:

       Defendants object to this request because it seeks irrelevant information andlor
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Defendants further object to this request in that it seeks conf,rdential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.



DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page 7
         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




INTERROGATORY NO.4:
Identi$z each person who has served as an officer, director, or management-level
employee of Free Speech Systems, LLC at any time during the past five years.

ANSWER¡

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

      Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants fuither object to this request because the burden or expense of the
proposed discovery outweighs its likely beneflrt, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.



DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page B
                                            ilI.
  RESPONSES TO FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS


REOUEST FOR PRODUCTION NO. 1:
A copy of all documents relating to Sandy Hook which have been deleted or removed
from public availability since the inception of this lawsuit.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

      Besides    seeking irrelevant documents, this request        is overly broad and
burdensome.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST FOR PRODUCTION NO. 2:
All documents or communications which reference the following topics:

DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR TNTERROGATOzuES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page 9
       a)     Neil Heslin or his son
       b)     Dr. Wayne Carver
       c)     Zero Hedge
       d)     ZeroPointNow
       e)     iBankCoin.com
       Ð      Jim Fetzer


RESPONSE:

       Defendants object to this request because it seeks irrelevant information andlor
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under ç27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST FOR PRODUCTION NO. 3:
Transcripts of all InfoV/ars videos in which the Plaintiff is discussed.




DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page L0
RESPONSE:

       Defendants object to this request because it seeks irrelevant information andlor
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1, 2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST FOR PRODUCTION NO. 4:
A copy of all articles featuring Sandy Hook posted on a website operated under the brand
name "InfoWars" from December 14,2012 to June 25,2018.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
lJnder $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be


DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page 11
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
çontinue the hearingthx occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Besides seeking irrelevant documents, this request           IS   overly broad and
burdensome as well as vague and ambiguous.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REQUEST F'OR PRODUCTION NO. 5:
All documents or communications relating to the June 26,2017 YouTube video entitled
"Zeto Hedge Discovers Anomaly in Alex Jones Hit Piece" or the episode of InfoWars
programming it originated from.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

       Defendants further object to this request as the court was without authority to
continue the hearingthat occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony

DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page L2
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REQUEST FOR PRODUCTION NO. 6:
All documents or communications relating to the July 20,2017 video in which the June
26 video featuring Mr. Shroyer was re-published.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page L3
REOUEST F'OR        ODUCTION NO.7:
All documents or communications relating to Neil Heslin's interview with Megyn Kelly
on June 18,2017.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REQUEST FOR PRODUCTION NO. 8:
All
  document or communications relating to Neil Heslin's interview with Megyn Kelly
on   April   19, 2018.

RESPONSE:

      Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'


DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page 14
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under ç27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearingthat occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST F'OR         ODUCTION NO. 9:
All documents relating to disciplinary or corrective actions taken against any employee or
agent of InfoWars due to the publication of false or incorrect information during the past
ten years.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

       Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30


DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page L5
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REQUEST FOR PRODUCTION NO. 10:
All documents used to train or instruct InfoWars' employees of the vetting of factual
information for publication, as in effect on June 26,2017 .

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under ç27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.




DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR TNTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page 1"6
       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST FOR PRODUCTION NO. 1T:
All documents reflecting policies for the factual vetting    of information   published by
InfoWars, as in effect on June 26,2017.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under 927.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

      Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,


DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATOzuES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page L7
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST FOR           DUCTION NO. 12:
All documents setting forth InfoWars' editorial standards or guidelines, as in effect on
June 26,2017   .



RESPONSE:

       Defendants object to this request because it seeks irrelevant information andlor
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page 18
REOUEST FOR               DUCTION NO. 13:
All documents     setting  forth Info'Wars' prior or superseded editorial standards or
guidelines, as in effect between December 14,2012 and June 25,2017 .

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearingthat occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Besides seeking irrelevant documents,        this   request   IS   overly broad   and
burdensome.

       Defendants further object to this request in that it seeks confidential, private and
proprietary fînancial, personal and business information and documents that are
protected by the Texas and lJnited States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST F'O R PRODUCTION NO. 14:
All documents setting forth InfoWars' disciplinary rules or code of conduct for reporters
and editorial staff, as in effect on June 26,2417 .


DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page L9
RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1, 2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

      Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST FOR PRODUCTION NO. 15:
All documents  setting forth InfoWars' prior or superseded disciplinary rules or code of
conduct for reporters and editorial staft as in effect between December 14, 2012 and
June 25, 2017.

RESPONSE:

     Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of


DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
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DOCUMENTS- Page 20
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss lJnder the Texas Citizens Participation Act ("TCPA" or the "Act").
lJnder ç27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

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for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

      Besides    seeking irrelevant documents, this request         rS   overly broad   and
burdensome.

       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST F'OR            DIICTION NO. 16:
Owen Shroyer's employment agreement.

RESPONSE:

      Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery


DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
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DOCUMENTS- Page 2L
will not be considered by it until November 1,2018 by which time the motion will         be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST FOR PRODUCTION NO. 17:
An organizational chart for Free Speech Systems, LLC as of June 26,2017     .




RESPONSE:

       Defendants object to this request because it seeks irrelevant information andlor
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

       Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to orcler discovery of information, documents and testimony

DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page 22
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REQUEST FOR PRODUCTION NO. 18:
All documents or communications reflecting the ownership of The Alex Jones Show,
InfoWars.com, the Info'Wars' brand, and its related intellectual property from 2017 to the
present.

RESPONSE:

       Defendants object to this request because it sceks irrelevant information andlor
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.




DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page 23
       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST FOR PRODUCTION NO. 19:
All contracts in effect between Free Speech Systems, LLC and InfoWars, LLC.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November l, 2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants ftrrther object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

      Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

      Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,



DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
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the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST FOR PRODUCTION NO. 20:
All incorporating documents for Free Speech Systems, LLC, including article of
incorporation, bylaws, certificate of incorporation, and notice of incorporation.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information andlor
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Defendants further object to this request in that it seeks confidential, private and
proprietary f,rnancial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page 25
Dated: October 1, 2018.




                                      GLAST, PHILLPS & MURRAY, P.C.



                                      Mark
                                      State Bar No. 06630360

                                      14801 Quorum Drive, Suite 500
                                      Dallas, Texas 7 5254-1449
                                      Telephone: 972-419-8366
                                      Facsimile:    972-419-8329
                                      fly63rc@verizon.net

                                      ATTORNEYS FOR DEFENDANTS




DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page 26
                                CERTIFICATE OF SERVICE

       I hereby certifu that a true and correct copy of the foregoing document has been served
upon the parties listed below via efile.txcourts.gov's e-service system on October 1,2018:

Mark Bankston
Kyle Fanar
Kaster, Lynch, Farrar & Ball, LLP.
1010 Lamar, Suite 1600
Houston, Texas 77002




                                                    Mark C




DEFENDANT FREE SPEECH SYSTEMS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR
ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF
DOCUMENTS- Page27
                                 NO. D-1-GN-18-001835

NEIL HESLIN,                                $              IN THE DISTRICT COURT OF
                                            $
      PIaintffi                             $
                                            $
V                                           $              TRAVIS COUNTY, TEXAS
                                            $
ALEX E. JONES, INFOWARS, LLC,               $
FREE SPEECH SYSTEMS, LLC, ANd               $
OWEN SHROYER,                               $
                                            $
      Defendants                            $              261.1   JUDICIAL DISTRICT


DEFENDANT INFOWARS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS
FOR ADMISSIONS, REQUESTS FOR INTERROGATORIES AND REQUESTS
               F'OR PRODUCTION OF DOCUMENTS

TO    Neil Heslin by and through his attorney of record, Mark D. Bankston, Kyle M.
      Farrar and William R. Ogden, 1010 Lamar, Suite 1600, Houston, Texas 77002

      Pursuant to Rules 196.2, 197.2 and 198.2 of the Texas Rules of Civil Procedure,

Defendant Info'Wars, LLC provides the following responses to Plaintiffls Requests for

Admissions, Requests for Interrogatories and Requests for Production.

                                           I.

        RESPONSES TO FIRST SET OF REQUESTS FOR ADMISSIONS

REOUEST FOR ADMISSION NO. 1:
Admit that InfoWars, LLC was involved in the creation, research, editing, marketing,
funding, staffing, distribution, or publication of the June 26, 2017 video entitled "Zero
Hedge Discovers Anomaly in Alex Jones Hit Piece."

RESPONSE:

      Defcndants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for oonsideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

       Subject to these objections, this request is denied.




REOUEST FOR          MISSION NO. 2:
Admit that InfoV/ars, LLC possesses intellectual property rights and copyright over any
part of the June 26,2017 video entitled "Zero Hedge Discovers Anomaly in Alex Jones
Hit Piece."

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and /or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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will not be considered by it until November 1,2018 by which time the motion will be
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ruling on the motion. Accordingly, the discovery is not relevant to the motion.

       Defendants further object to this request as the court was without authority to
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for more than 30 days or to order discovery of information, documents and testimony
pursuant to g27.006 (b) of the Act that was not intended to be and that could not be

DEFENDANT INFOWARS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR TNTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- PAgCZ
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants funher object to this request because the burden or expense of the
proposed discovery outweighs its likely beneht, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

       Subject to these objections, this request is denied.




REOUEST F'OR               SION NO. 3:
Admit that InfoV/ars, LLC has the authority to remove content from Info\üars.com if
InfoWars, LLC determines that the content violates the rights of others or is not
appropriate for the website.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

       Subject to these objections, this request is denied

DEFENDANT INFOWARS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- PAgC            3
                                            il.
              RESPONSES TO FIRST SET OF INTERROGATORIES

         OGATORY NO.
Identifu all persons answering or supplying information used          in answering these
discovery requests and identiff their job duties at InfoWars, LLC.

ANSWER:

       Defendants object to this request because it seeks irrelevant information andlor
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under ç27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




INTERROGA TORY NO.2:
Describe the business purpose of InfoWars, LLC.




DEFENDANT INFOWARS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- PAgC 4
ANSWER:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




INTE            TORY NO.3:
Describe all the ways in which Info'Wars, LLC generates revenue

ANSWER:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

       Defendants further object to this request as the court was without authority to
continue the hearingthat occurred after all counsel had announced "ready "on August 30

DEFENDANT INFOWARS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REeUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page 5
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benef,rt, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




INTERROGATORY NO.4:
Identiff every employee or agent   of  InfoWars, LLC who was involved in the creation,
research, editing, marketing, funding, staffing, distribution, or publication of the June26,
2017 video entitled "Zero Hedge Discovers Anomaly in Alex Jones Hit Piece," and
describe their specific role.

ANSWER:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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        Defendants further object to this request as the court was without authority to
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DEFENDANT INFOWARS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- PAgC 6
       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         f)efendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




INTERROGATORY NO.5:
Does InfoWars, LLC share office space with any other named party?

ANSWER:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

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continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




INTERROGATORY NO.6:
Does InfoWars, LLC share common employees with any other named party?


DEFENDANT INFOWARS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page7
ANSWER:

       Defendants object to this request because it seeks irrelevant information and/or
clocuments and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




INTERROGATORY NO.7:
Has an employee or agent of InfoWars, LLC ever rendered services on behalf on any
named other party, or has an employee or agent of any named party ever rendered
services on behalf on InfoWars, LLC? Describe.

ANSWER¡

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.


DEFENDANT INFOWARS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- PAgC            B
        Defendants further object to this request as the court was without authority to
continue the hearingthat occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




INTERROGATORY NO.8:
Has InfoWars, LLC ever made an undocumented transfer of funds to any named party, or
has any named party ever made an undocumented transfer of funds to InfoV/ars, LLC?
Describe.

ANSWER:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

      Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.




DEFENDANT INFOWARS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATOzuES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page 9
         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




INTERROGATORY NO. 9:
For each person who had ownership interest in InfoWars, LLC on June 26,2017, state;

       a)     their full name

       b)     the date(s) upon which the person acquired their ownership interest

       c)     the kind of consideration paid or promised for the ownership interest and
              the date(s) on which it was paid or promised.

       d)     the percentage of that individual's ownership interest.

       e)     whether the person is related by blood or marriage to any other person who
              is or has been a shareholder, officer, or director of InfoWars, LLC, and, if
              so, the identity of the other person and the nature of the relationship.

ANSWER:

       Defendants object to this request because it seeks irrelevant information andlor
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
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of law.



DEFENDANT INFOWARS, LLC'S RESPONSES TO PLATNTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page           1.0
       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




INTERROGATORY NO. 10:
Identiff each person who has served as an officer, director, management-level employee
of InfoWars, LLC at any time during the past five years.

ANS\ilER:

       Defendants object to this request because it seeks irrelevant information andlor
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under ç27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
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for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.


DEFENDANT INFOWARS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page 11
                                            III.
  RESPONSES TO FIRST REQUESTS F'OR PRODUCTION OF DOCUMENTS


REQUEST FOR PRODUCTION NO. 1:
An organization chart for InfoWars, LLC as of June 26,2017.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information andlor
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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ruling on the motion. Accordingly, the discovery is not relevant to the motion.

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for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST FOR PRODUCTION NO. 2:
All contracts in effect between InfoWars, LLC and any other party


DEFENDANT INFOWARS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page 12
RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

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for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST FOR          DIICTION NO. 3:
All documents in the possession of InfoWars, LLC regarding                 the   ownership,
management, or administration of the InfoWars.com website.

RESPONSE:

      Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery

DEFENDANT INFOWARS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page 13
will not be considered by it until November 1,2018 by which time the motion will          be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST FOR PR ODUCTION NO. 4:
All incorporating documents for InfoWars, LLC, including article          of   incorporation,
bylaws, certificate of incorporation, and notice of incorporation.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

       Defendants further object to this request as the court was without authority to
continue the hcaring that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be


DEFENDANT INFOWARS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page L4
available to the court for consideration before the motion was to be denied by operation
of law.

       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST FOR          ODUCTION NO.5:
All documents or communication reflecting the ownership of The Alex Jones Show,
InfoWars.com, the InfoWars brand, and its related intellectual property ftom 2017 to the
present.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.




DEFENDANT INFOWARS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page L5
         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST FOR PRODUCTION NO. 6:
All contracts in effect between Free Speech Systems, LLC and InfoWars, LLC

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
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for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




DEFENDANT INFOWARS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page 16
Dated: October 1,2018.



                                     GLAST, PHILLPS & MURRAY, P.C



                                     Mark
                                     State Bar No. 06630360

                                     14801 Quorum Drive, Suite 500
                                     Dallas, Texas 7 5254-1449
                                     Telephone: 972-419-8366
                                     Facsimile: 972-419-8329
                                     fly63rc@verizon.net

                                     ATTORNEYS FOR DEFENDANTS




DEFENDANT INFOWARS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page   t7
                                CERTIFICATE OF SERVICE

       I hereby certify thata true and correct copy of the foregoing document     has been served
upon the parties listed below via efile.txcourts.gov's e-service system on October l, 2018:

Mark Bankston
Kyle Farrar
Kaster, Lynch, Farrar & Ball, LLP
1010 Lamar, Suite 1600
Houston, Texas 77002




DEFENDANT INFOWARS, LLC'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page                 1,8
                                NO. D-1-GN-18-001835

NEIL HESLIN,                               $              IN THE DISTRICT COURT OF
                                           $
      Plaintffi                             $
                                            $
V                                           $             TRAVIS COUNTY, TEXAS
                                            $
ALEX E. JONES, INFOV/ARS, LLC,              $
FREE SPEECH SYSTEMS, LLC, ANd               $
OV/EN SHROYER,                              $
                                            $
      Defendants                            $              26   I't JUDICIAL DISTRICT


       DEFENDANT ALEX E. JONES RESPONSES TO PLAINTIFF'S
    REQUESTS FOR ADMISSIONS, REQUESTS FOR INTERROGATORIES
         AND REQUESTS FOR PRODUCTION OF DOCUMENTS

TO: Neil Heslin by and through his attorney of record, Mark D. Bankston, Kyle M.
      Farrar and William R. Ogden, 1010 Lamar, Suite 1600, Houston, Texas 77002

      Pursuant to Rules 196.2, 197.2 and 198.2 of the Texas Rules of Civil Procedure,

Defendant Alex E. Jones provides the following responses to Plaintiffls Requests for

Admissions, Requests for Interrogatories and Requests for Production.

                                           L

        RESPONSES TO FIRST SET OF REQUESTS FOR ADMISSIONS

REOUEST FOR            MISSION NO. 1:
Admit that prior to responding to these discovery requests, you searched all documents in
your possession or control that may contain responsive information.

RESPONSE:

      Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will         be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

       Subject to these objections, this request is denied.




REOUEST FOR ADMISSION NO. 2:
Admit that as of June 26,2017, you had the right to direct or control the work performed
by employees of Free Speech Systems, LLC and InfoWars, LLC.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information andlor
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
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of law.

DEFENDANT ALEX E. JONES RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS, REQUESTS
FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page 2
         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

        Subject to these objections, this request is denied.




                                              il.
               RESPONSES TO F'IRST SET OF INTERROGATORIES

INTERROGATORY NO. 1:
Describe your job duties, responsibilities, and authority with Free Speech Systems, LLC
as   ofJune 26,2017.

ANSWER:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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of law.

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proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

DEFENDANT ALEX E. JONES RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS, REQUESTS
FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page 3
INTERROGATORY NO.2:
Describe your job duties, responsibilities, and authority with InfoWars, LLC as of June
26,2017.

ANS\ilER:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




INTERROGATORY NO.3:
Describe your education and training in journalism.

ANSWER:

      Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").

DEFENDANT ALEX E. JONES RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS, REQUESTS
FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page 4
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
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for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
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         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




INTERROGATORY NO.4:
Describe your process for ensuring that factual assertions made               in   InfoV/ars
programming are vetted for accuracy as of June 26,2017.

ANSWER:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

DEFENDANT ALEX E. JONES RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS, REQUESTS
FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page 5
         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




                                            ilI.
  RESPONSES TO FIRST REQUESTS F'OR PRODUCTION OF DOCUMENTS


REOUEST F'OR PRODUCTION NO. 1:
All communications, including letters, memoranda, emails, text messages, instant
messenger logs, or other electronic communications in which the follow topics are
referenced:

       a)     Neil Heslin or his son
       b)     Dr. Wayne Carver
       c)     Zero Hedge
       d)     Jim Fetzer

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27"006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.


DEFENDANT ALEX E. JONES RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS, REQUESTS
FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page 6
         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST FOR            DIICTION NO. 2:
All documents or communications relating to the June 26,2017 YouTube video entitled
"Zero Hedge Discovers Anomaly in Alex Jones Hit Piece" or the episode of InfoWars
programming it originated from.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under ç27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REQUEST FOR PRODUCTION NO. 3:
All documents or communications relating to Neil Heslin's interview with Megyn Kelly
on June 18,2017.



DEFENDANT ALEX E. JONES RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS, REQUESTS
FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- PageT
RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely beneflrt, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REQUEST FOR PRODUCTION NO. 4:
All documents or communications relating to Neil Heslin's interview with Megyn Kelly
on   April 19, 2018.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.



DEFENDANT ALEX E. JONES RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS, REQUESTS
FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page I
        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REQUEST FOR PRODUCTION NO. 5:
All communications between you and Owen Shroyer, InfoWars, LLC, or Free Speech
Systems, LLC, or anyone acting on their behalt regarding policies and procedures for the
factual vetting for reporting on InfoWars programming.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Besides seeking irrelevant documents,        this request is overly broad and
burdensome.

      Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,

DEFENDANT ALEX E. JONES RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS, REQUESTS
FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Pase9
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST F'OR PRODUCTION NO. 6:
All communications between you and Owen Shroyer, InfoWars, LLC, or Free Speech
Systems, LLC, or anyone acting on their behalt regarding Megyn Kelly.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearingthat occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

      Besides    seeking irrelevant documents, this request         is overly broad and
burdensome.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely beneflrt, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




       UEST FOR PROD
All   contracts between you, Owen Shroyer, InfoWars, LLC, or Free Speech Systems,
LLC


DEFENDANT ALEX E, JONES RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS, REQUESTS
FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page 10
RESPONSE:

       Defendants object to this request because it seeks irrelevant information andlor
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

      Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

Dated: October 1,2018.

                                          GLAST, PHILLPS & MURRAY, P.C.



                                          Mark
                                          State Bar No. 06630360

                                          14801 Quorum Drive, Suite 500
                                          Dallas, Texas 7 5254-1449
                                          Telephone: 972-419-8366
                                          Facsimile: 972-419-8329
                                          fl]¡63rc@verizon.net

                                          ATTORNEYS FOR DEFENDANTS

DEFENDANT ALEX E. JONES RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS, REQUESTS
FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page L1
                               CERTIFICATE OF SERVICE

       I hereby certify thata true and correct copy of the foregoing document has been served
upon the parties listed below via efile.txcourts.gov's e-service system on October l, 2018:

Mark Bankston
Kyle Farrar
Kaster, Lynch, Farrar & Ball, LLP.
1010 Lamar, Suite 1600
Houston, Texas 77002




                                                  Mark




DEFENDANT ALEX E. JONES RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS, REQUESTS
FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page 12
                                 NO. D-1-GN-18-001835

NEIL HESLIN,                                $              IN THE DISTRICT COURT OF
                                            $
      Plaintffi                             $
                                            $
V                                           $              TRAVIS COLINTY, TEXAS
                                            $
ALEX E. JONES, INFOWARS, LLC,               $
FREE SPEECH SYSTEMS,LLC, ANd                $
OWEN SHROYER,                               $
                                            $
      Defendants                            $              26I't JUDICIAL DISTRICT


       DEFENDANT OWEN SHROYER'S RESPONSES TO PLAINTIFF'S
     REQUESTS FOR ADMISSIONS, REQUESTS FOR INTERROGATORIES
          AND REQUESTS FOR PRODUCTION OF DOCUMENTS

TO    Neil Heslin by and through his attorney of record, Mark D. Bankston, Kyle M.
      Farrar and William R. Ogden, 1010 Lamar, Suite 1600, Houston, Texas 77002

      Pursuant to Rules 196.2, 197.2 and 198.2 of the Texas Rules of Civil Procedure,

Defendant Owen Shroyer provides the following responses to Plaintiffls Requests for

Admissions, Requests for Interrogatories and Requests for Production.

                                           L

        RESPONSES TO FIRST SET OF REQUESTS FOR ADMISSIONS

REOUEST FOR ADMISSION NO. 1:
Admit that prior to responding to these discovery requests, you searched all documents in
your possession or control that may contain responsive information.

RESPONSE:

      Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November l,    2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the'
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

       Subject to these objections, this request is denied.




REOUEST FOR ADMISSION NO. 2:
Admit that as of June 25-26, 2017, you knew it was possible that Neil Heslin held his
dead son and saw a bullet wound to his forehead.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information andlor
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November l, 2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
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for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

DEFENDANT OWEN SHROYER'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- PagE2
         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

       Subject to these objections, this request is denied.




REOUEST FOR                SION NO. 3:
Admit that on June 25-26, 2017, you had no legitimate basis to claim it was impossible
for Neil Heslin to have held his dead son and saw a bullet wound to his forehead.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under 927.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

       Subject to these objections, this request is denied.




DEFENDANT OWEN SHROYER'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page 3
REOUEST F'OR ADMIS SION NO. 4:
Admit that as of June 26,2017, you were employed by Free Speech Systems, LLC

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Defendants further object to this request in that it seeks confidential, private and
proprietary financial, personal and business information and documents that are
protected by the Texas and United States Constitutions.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

       Subject to these objections, this request is denied.




REOUEST FOR           MISSION NO. 5:
Admit that as of June 26,2017 , Alex Jones had the right to direct or control the work you
perform.




DEFENDANT OWEN SHROYER'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- PAgC 4
RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that oçcurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

       Subject to these objections, this request is denied.




REOUEST FOR ADMISSION NO. 6:
Admit that as of June 26, 2017, agent(s) of InfoWars, LLC had the right to direct or
control the work you perform.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be


DEFENDANT OV/EN SHROYER'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page 5
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

       Subject to these objections, this request is denied.




                                             il.
              RESPONSES TO FIRST SET OF INTERROGATORIES

INTERROGATORY NO. 1:
Identiff every step you took in assessing the credibility of Jim Fetzer

ANSWER:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

       Defendants further object to this request as the court was without authority to
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for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be

DEFENDANT OWEN SHROYER'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- PAgC 6
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

       Defendants further object to this request because     it   impermissibly attempts to
force Defendants to marshal their evidence.




INTERR          TORY NO.2:
Identiff every step you took in assessing the credibility of Zero Hedge

ANSWER:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under 927.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
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denied by operation of law, the discovery is not relevant to the court's consideration of or
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for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benef,rt, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.

       Defendants further object to this request because     it   impermissibly attempts to
force Defendants to marshal their evidence.


DEFENDANT OWEN SHROYER'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- PAgCT
INTERROGATORY NO.3:
Describe your education and training in journalism.

ANSWER:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




                                            ilI.
  RESPONSES TO FIRST REQUESTS FOR PRODUCTION OF DOCUMENTS


REOUEST F'OR PR ODUCTION NO. 1:
All communications, including letters, memoranda, emails, text messages, instant
messenger logs, or other electronic communications in which the follow topics are
referenced:

       a)     Neil Heslin or his son
       b)     Dr. Wayne Carver

DEFENDANT OWEN SHROYER'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- PAgC            B
       c)     Zero Hedge
       d)     Jim Fetzer

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to g27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

       Besides seeking irrelevant documents,        this   request   IS   overly broad   and
burdensome.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benef,rt, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST FOR PR ODUCTION NO.2:
All documents or communications relating to the June 26,2017 YouTube video entitled
"ZeÍo Hedge Discovers Anomaly in Alex Jones Hit Piece" or the episode of Info\Mars
programming it originated from.

RESPONSE:

      Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").

DEFENDANT OWEN SHROYER'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATOzuES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page 9
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

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for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUEST FOR PRODUCTION NO. 3:
All documents or communications relating to Neil Heslin's interview with Megyn Kelly
on June 18,2017.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information andlor
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearing that occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

DEFENDANT OWEN SHROYER'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page L0
         Defendants funher object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
ih. utnount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the imponance of the proposed discovery in resolving the issues.




             F'OR PROD                4
All documents or communications relating to Neil Heslin's interview with Megyn Kelly
on April 19, 2018.

RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
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for more than 30 days or to order discovery of information, documents and testimony
pursuant to g27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REOUE         F'OR PRODUCTI N NO. 5:
All communications between you and Alex Jones, InfoWars, LLC, or Free Speech
Systems, LLC, or anyone acting on their behalf, regarding policies and procedures for the
factual vetting for reporting on InfoWars programming.


DEFENDANT OWEN SHROYER'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page 11
RESPONSE:

       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
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        Defendants further object to this request as the court was without authority to
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for more than 30 days or to order discovery of information, documents and testimony
pursuant to g27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

      Besides    seeking irrelevant documents, this request         ls   overly broad   and
burdensome.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely benefit, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




REQUEST FOR PRODUCTION NO. 6:
All communications between you and Alex Jones, InfoWars, LLC, or Free Speech
Systems, LLC, or anyone acting on their behalf, regarding Megyn Kelly.

RESPONSE:


       Defendants object to this request because it seeks irrelevant information and/or
documents and the request, as timed, is not calculated to lead to the discovery of
admissible evidence in connection with this Court's consideration of the Defendants'
Motion to Dismiss Under the Texas Citizens Participation Act ("TCPA" or the "Act").
Under $27.006 (b) of the TCPA, only limited discovery relevant to the motion may be
ordered. Because the court has previously determined that any documents and discovery
will not be considered by it until November 1,2018 by which time the motion will be

DEFENDANT OWEN SHROYER'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Pagel?
denied by operation of law, the discovery is not relevant to the court's consideration of or
ruling on the motion. Accordingly, the discovery is not relevant to the motion.

        Defendants further object to this request as the court was without authority to
continue the hearingthat occurred after all counsel had announced "ready "on August 30
for more than 30 days or to order discovery of information, documents and testimony
pursuant to $27.006 (b) of the Act that was not intended to be and that could not be
available to the court for consideration before the motion was to be denied by operation
of law.

      Besides    seeking irrelevant documents, this request         is overly broad and
burdensome.

         Defendants further object to this request because the burden or expense of the
proposed discovery outweighs its likely beneflrt, taking into account the needs of the case,
the amount in controversy, the parties' resources, the importance of the issues at stake in
the litigation, and the importance of the proposed discovery in resolving the issues.




Dated: October 1, 2018




                                          GLAST, PHILLPS & MURRAY, P.C



                                          Mark C.
                                          State Bar No. 06630360

                                          14801 Quorum Drive, Suite 500
                                          Dallas, Texas  5254-1449
                                                          7
                                          Telephone:     972-419-8366
                                          Facsimile: 972-419-8329
                                          fly_63rc@verizon.net

                                          ATTORNEYS FOR DEFENDANTS




DEFENDANT OWEN SHROYER'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page L3
                                CERTIFICATE OF SERVICE

       I hereby certifu that a true and correct copy of the foregoing document    has been served
upon the parties listed below via efile.txcourts.gov's e-service system on October 1, 2018:

Mark Bankston
Kyle Farrar
Kaster, Lynch, Farrar & Ball, LLP
1010 Lamar, Suite 1600
Houston, Texas 77002




                                                     Mark C.




DEFENDANT OWEN SHROYER'S RESPONSES TO PLAINTIFF'S REQUESTS FOR ADMISSIONS,
REQUESTS FOR INTERROGATORIES AND REQUESTS FOR PRODUCTION OF DOCUMENTS- Page 74
Ex. 2
                           CAUSE NO. D-1-GN-18-001835

NEIL HESLIN                               §                  IN DISTRICT COURT OF
  Plaintiff                               §
                                          §
VS.                                       §                 TRAVIS COUNTY, TEXAS
                                          §
ALEX E. JONES, INFOWARS, LLC,             §
FREE SPEECH SYSTEMS, LLC, and             §                   53rd DISTRICT COURT
OWEN SHROYER,                             §
  Defendants                              §


                     PROPOSED ORDER ON PLAINTIFF’S
                   MOTION FOR CONTEMPT UNDER RULE 215


      Having considered Plaintiff’s Motion for Contempt Under Rule 215, the Court

finds that the Motion should be granted, and hereby ORDERS that:

      ( )    Pursuant to Rule 215.2, this Court finds that Defendants’ failure to obey

the Court’s discovery order shall be treated as a contempt of court.

      ( )    Defendants shall pay a sanction of $__________ per day until they have

complied with the Court’s Order.

      ( )    Pursuant to Rule 215.2, the matters regarding which the order was

made -- discovery in aid of Plaintiff’s burden under TCPA -- shall be taken to be

established for the purposes of the action in accordance with the claim of the party

obtaining the order.

      ( )    Pursuant to Rule 215.2, the Court orders that Defendants are not

permitted to support or oppose designated claims or defenses. For the purposes of



                                          1
this Order, Defendants are not permitted to claim a defense under the TCPA, having

disobeyed the court’s previous discovery order regarding their Motion.

       ( )    Pursuant to Rule 215.2, the Court shall require the party failing to obey

the order or the attorney advising him, or both, to pay, at such time as ordered by the

Court, the reasonable expenses, including attorney fees, caused by the failure. Here,

the Court does not find that the failure was substantially justified or that other

circumstances make an award of expenses unjust. As such, the Court orders the

following costs and expenses to be paid:

              • By Defendants: $____________________

              • By Counsel:            $____________________

       ( )    Pursuant to Rule 215.2, the Court orders that the costs assessed in this

Order shall be paid within 30 days.


       So ORDERED this _____ day of ______________________, 2018.




                                                     ________________________________________
                                                     Scott Jenkins
                                                     Travis County District Judge

Respectfully submitted and entry requested,

FARRAR & BALL, LLP



____________________________________
MARK D. BANKSTON

                                                 2
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KYLE W. FARRAR
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